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          APPENDIX TO BUREAU’S FEBRUARY 18, 2019 LETTER

Exhibit      Date of               Description of exhibit           Beginning
             exhibit                                                  page
                                                                     number

  1        December       SLM Corporation form 10-K for 2012           A1
           31, 2012       (excerpts)

  2        July 9, 2015   Moody’s Investors Service, “Moody's          A6
                          proposes changes to approach to rating
                          US ABS FFELP securitizations”

  3        October 19,    Navient’s letter to Moody’s Investors       A11
           2015           Service

  4        December       Navient Corporation form 10-K for 2015      A83
           31, 2015       (excerpts)

  5        August 21,     Defendants Navient Corporation’s            A87
           2017           Objections and Responses to Plaintiff’s
                          First Set of Requests for Production

  6        August 21,     Defendant Navient Solutions, LLC’s          A114
           2017           Objections and Responses to Plaintiff’s
                          First Set of Requests for Production

  7        May 16,        Letter from Bureau’s counsel to             A162
           2018           Defendants’ counsel
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                  Exhibit 1




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                                       UNITED STATES
                           SECURITIES AND EXCHANGE COMMISSION
                                                       Washington, D.C. 20549

                                                            Form 10-K
(Mark One)
    Í      ANNUAL REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES EXCHANGE
           ACT OF 1934
               For the fiscal year ended December 31, 2012
                                                                        or
       ‘       TRANSITION REPORT PURSUANT TO SECTION 13 or 15(d) OF THE SECURITIES
               EXCHANGE ACT OF 1934
               For the transition period from          to
                                            Commission file numbers 001-13251


                                             SLM Corporation
                                               (Exact Name of Registrant as Specified in Its Charter)
                             Delaware                                                                     XX-XXXXXXX
                     (State of Other Jurisdiction of                                                     (I.R.S. Employer
                    Incorporation or Organization)                                                      Identification No.)

           300 Continental Drive, Newark, Delaware                                                           19713
               (Address of Principal Executive Offices)                                                    (Zip Code)
                                                                 (302) 283-8000
                                              (Registrant’s Telephone Number, Including Area Code)
                                       Securities registered pursuant to Section 12(b) of the Act
                                               Common Stock, par value $.20 per share.
                                                  Name of Exchange on which Listed:
                                                  The NASDAQ Global Select Market
                           6.97% Cumulative Redeemable Preferred Stock, Series A, par value $.20 per share
                           Floating Rate Non-Cumulative Preferred Stock, Series B, par value $.20 per share
                                                  Name of Exchange on which Listed:
                                                  The NASDAQ Global Select Market
                                      Medium Term Notes, Series A, CPI-Linked Notes due 2017
                                      Medium Term Notes, Series A, CPI-Linked Notes due 2018
                                                6% Senior Notes due December 15, 2043
                                                  Name of Exchange on which Listed:
                                                  The NASDAQ Global Select Market
                                       Securities registered pursuant to Section 12(g) of the Act:
                                                                 None.

     Indicate by check mark if the registrant is a well-known seasoned issuer, as defined in Rule 405 of the Securities
Act.   Yes Í        No ‘
     Indicate by check mark if the registrant is not required to file reports pursuant to Section 13 or 15(d) of the Act. Yes ‘           No Í
     Indicate by check mark whether the registrant: (1) has filed all reports required to be filed by Section 13 or 15(d) of the Securities
Exchange Act of 1934 during the preceding 12 months (or for such shorter period that the registrant was required to file such reports), and
(2) has been subject to such filing requirements for the past 90 days. Yes Í           No ‘
     Indicate by check mark whether the registrant has submitted electronically and posted on its corporate Web site, if any, every
Interactive Data File required to be submitted and posted pursuant to Rule 405 of Regulation S-T during the preceding 12 months (or for
such shorter period that the registrant was required to submit and post such files). Yes Í          No ‘
     Indicate by check mark if disclosure of delinquent filers pursuant to Item 405 of Regulation S-K is not contained herein, and will not be
contained, to the best of registrant’s knowledge, in definitive proxy or information statements incorporated by reference in Part III of this
Form 10-K or any amendment to this Form 10-K. ‘
     Indicate by check mark whether the registrant is a large accelerated filer, an accelerated filer, a non-accelerated filer, or a smaller
reporting company. See the definitions of “large accelerated filer,” “accelerated filer” and “smaller reporting company” in Rule 12b-2 of the
Exchange Act. (Check one):
Large accelerated filer Í                                                                                                     Accelerated filer ‘
Non-accelerated filer ‘                                                                                            Smaller reporting company ‘
(Do not check if a smaller reporting company)
     Indicate by check mark whether the registrant is a shell company (as defined in Rule 12b-2 of the Exchange Act). Yes ‘                 No Í
     The aggregate market value of voting stock held by non-affiliates of the registrant as of June 30, 2012 was $7.3 billion (based on
closing sale price of $15.71 per share as reported for the NASDAQ Global Select Market).
     As of January 31, 2013, there were 453,341,352 shares of common stock outstanding.

                                            DOCUMENTS INCORPORATED BY REFERENCE
     Portions of the Proxy Statement relating to the registrant’s Annual Meeting of Shareholders scheduled to be held on May 30, 2013 are
incorporated by reference into Part III of this Report.

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     The Bank’s ability to pay dividends is subject to the laws of Utah and the regulations of the FDIC.
Generally, under Utah’s industrial bank laws and regulations as well as FDIC regulations, the Bank may pay
dividends from its net profits without regulatory approval if, following the payment of the dividend, the Bank’s
capital and surplus would not be impaired. While applicable Utah and FDIC regulations differ in approach as to
determinations of impairment of capital and surplus, neither method of determination has historically required
the Bank to obtain consent to the payment of dividends. For the years ended December 31, 2012, 2011 and 2010,
the Bank paid dividends of $420 million, $100 million and $400 million, respectively.

     For further discussion of our various sources of liquidity, such as the ED Conduit Program, the Bank, our
continued access to the ABS market, our asset-backed financing facilities, the lending agreement we entered into
with the FHLB-DM and our issuance of unsecured debt, see “Note 6 — Borrowings.”

     The following table reconciles encumbered and unencumbered assets and their net impact on total tangible
equity.
                                                                                                                         December 31,
          (Dollars in billions)                                                                                         2012      2011

          Net assets of consolidated variable interest entities (encumbered assets)
            — FFELP Loans . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         $ 6.6    $ 7.4
          Net assets of consolidated variable interest entities (encumbered assets)
            — Private Education Loans . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 6.6       5.5
          Tangible unencumbered assets(1) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                21.2      20.2
          Unsecured debt . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    (26.7)    (24.1)
          Mark-to-market on unsecured hedged debt(2) . . . . . . . . . . . . . . . . . . . . . . .                       (1.7)     (1.9)
          Other liabilities, net . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     (1.4)     (2.3)
                Total tangible equity . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   $ 4.6    $ 4.8

          (1)    Excludes goodwill and acquired intangible assets.
          (2)    At December 31, 2012 and 2011, there were $1.4 billion and $1.6 billion, respectively, of net gains on derivatives hedging
                 this debt in unencumbered assets, which partially offset these losses.

  2012 Transactions

      On January 13, 2012, the FFELP ABCP Facility was amended to increase the amount available to $7.5
billion, reflecting an increase of $2.5 billion over the previously scheduled facility reduction. In addition, the
amendment extends the final maturity date by one year to January 9, 2015 and increases the amount available at
future step-down dates.

    In 2012, we issued $9.7 billion of FFELP ABS in eight separate transactions and $4.2 billion of Private
Education Loan ABS in five separate transactions.

     Unsecured Financings:
     • January 27, 2012 — issued $1.5 billion senior unsecured debt, consisting of a $750 million five-year term
       bond and a $750 million ten-year term bond.
     • June 18, 2012 — issued $350 million unsecured debt with an average life of 4.5 years.
     • September 12, 2012 — issued an $800 million senior unsecured bond, consisting of a $300 million three-
       year term bond and $500 million five-year term bond.

  Shareholder Distributions

     On January 26, 2012, we increased our quarterly dividend on our common stock to $0.125 per common
share. We paid our quarterly dividend on March 16, 2012, June 15, 2012, September 12, 2012 and December 21,

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                                               SLM CORPORATION
                  NOTES TO CONSOLIDATED FINANCIAL STATEMENTS (Continued)

6. Borrowings (Continued)
  ED Funding Programs
  ED Purchase and Participation Programs

     In August 2008, ED implemented the Purchase Program and the Participation Program pursuant to The
Ensuring Continued Access to Student Loans Act of 2008 (“ECASLA”). Under the Purchase Program, ED
purchased eligible FFELP Loans at a price equal to the sum of (i) par value, (ii) accrued interest, (iii) the one
percent origination fee paid to ED, and (iv) a fixed amount of $75 per loan. Under the Participation Program, ED
provided short-term liquidity to FFELP lenders by purchasing participation interests in pools of FFELP Loans.
FFELP lenders were charged a rate equal to the preceding quarter commercial paper rate plus 0.50 percent on the
principal amount of participation interests outstanding. Loans eligible for the Participation or Purchase Programs
were limited to FFELP Stafford or PLUS Loans, first disbursed on or after May 1, 2008 but no later than July 1,
2010, with no ongoing borrower benefits other than permitted rate reductions of 0.25 percent for automatic
payment processing. In October 2010, we sold $20.4 billion of loans to ED and paid off $20.3 billion of advances
outstanding under the Participation Program. This program is no longer in effect and is not available as a source
of funding.


  ED Conduit Program

      Pursuant to ECASLA, on January 15, 2009, ED announced they would purchase eligible FFELP Stafford
and PLUS Loans from a conduit vehicle established to provide funding for eligible student lenders (the “ED
Conduit Program”). Loans eligible for the ED Conduit Program must be first disbursed on or after October 1,
2003, but not later than July 1, 2009, and fully disbursed before September 30, 2009, and meet certain other
requirements, including those relating to borrower benefits. The ED Conduit Program was launched on May 11,
2009 and accepted eligible loans through July 1, 2010. The ED Conduit Program expires on January 19, 2014.
Funding for the ED Conduit Program is provided by the capital markets at a cost based on market rates, with us
being advanced 97 percent of the student loan face amount. If the conduit does not have sufficient funds to make
the required payments on the notes issued by the conduit, then the notes will be repaid with funds from the
Federal Financing Bank (“FFB”). The FFB will hold the notes for a short period of time and, if at the end of that
time, the notes still cannot be paid off, the underlying FFELP Loans that serve as collateral to the ED Conduit
will be sold to ED through a put agreement at a price of 97 percent of the face amount of the loans. Our intent is
to term securitize the loans in the facility before the facility expires. Any loans that remain in the facility as of the
expiration date will be sold to ED at a price of 97 percent of the face amount of the loans. At December 31, 2012
and 2011, we had $9.5 billion and $21.2 billion, respectively, in principal amount of FFELP Loans remaining in
the ED Conduit Program.


  Asset-Backed Financing Facilities
  FFELP ABCP Facility

     The maximum facility amount is $7.5 billion. The scheduled maturity date of the facility is January 9, 2015.
The usage fee for the facility is 0.50 percent over the applicable funding rate. The amended facility features two
contractual step-down reductions on the amount available for borrowing. The first reduction was on January 11,
2013, to $6.5 billion. The second reduction is on January 10, 2014, to $5.5 billion.

     Our borrowings under the FFELP ABCP Facility are non-recourse. The maximum amount we may borrow
under the FFELP ABCP Facility is limited based on certain factors, including market conditions and the fair
value of student loans in the facility. In addition to the funding limits described above, funding under the FFELP

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                                              SLM CORPORATION
                 NOTES TO CONSOLIDATED FINANCIAL STATEMENTS (Continued)

6. Borrowings (Continued)
ABCP Facility is subject to usual and customary conditions. The FFELP ABCP Facility is subject to termination
under certain circumstances. In addition, the facility has financial covenants that if not maintained, will cause the
facility to become an amortizing facility. The covenants are, however, curable. The principal financial covenants
require us to maintain consolidated tangible net worth of at least $1.38 billion at all times. Consolidated tangible
net worth as calculated for purposes of this covenant was $3.4 billion as of December 31, 2012. The covenants
also require us to meet either a minimum interest coverage ratio or a minimum net adjusted revenue test based on
the four preceding quarters’ adjusted “Core Earnings” financial performance. We were compliant with both of
the minimum interest coverage ratio and the minimum net adjusted revenue tests as of the quarter ended
December 31, 2012. Increases in the borrowing rate of up to LIBOR plus 4.50 percent could occur if certain asset
coverage ratio thresholds are not met. If liquidity agreements are not renewed on the trigger dates, the usage fee
increases to 1.00 percent over the applicable funding rate on January 10, 2014. Failure to pay off the FFELP
ABCP Facility on the maturity date or to reduce amounts outstanding below the annual maximum step downs
will result in a 90-day extension of the facility with the interest rate increasing from LIBOR plus 1.00 percent to
LIBOR plus 2.00 percent over that period. If, at the end of the 90-day extension, these required paydown
amounts have not been made, the collateral can be foreclosed upon. As of December 31, 2012, there was
approximately $4.2 billion outstanding in this facility. The book basis of the assets securing this facility at
December 31, 2012 was $4.5 billion.


  Private Education Loan ABCP Facility
      On October 5, 2011, we closed on a $3.4 billion asset-backed commercial paper facility, which matures in
January 2014, to fund the call of certain Private Education Loan trust securities issued under the TALF program.
The cost of borrowing under the facility is commercial paper issuance cost plus 1.10 percent, excluding up-front
commitment and unused fees. The maximum amount that can be financed steps down to $2.5 billion on July 25,
2012, $1.7 billion on January 25, 2013 and $0.8 billion on July 25, 2013 with final maturity on January 27, 2014.
If the amount outstanding is greater than the maximum amount at any step down, the cost increases to
commercial paper issuance cost plus 1.95 percent. Our borrowings under the facility are non-recourse. On
November 15, 2011, the facility provided the financing to call the outstanding securities issued by SLM Private
Education Loan Trust 2009-B ($2.5 billion principal) at its call price of 93 percent of par. On January 17, 2012
the facility was also used to call the outstanding securities issued by SLM Private Education Loan Trust 2009-C
($1.0 billion principal) at its call price of 94 percent of par. At December 31, 2012, there was $1.1 billion
outstanding in this facility. The book basis of the assets securing the facility at December 31, 2012 was $1.8
billion.


  SLC Acquisition Financing
     On December 31, 2010, we closed on our agreement to purchase an interest in $26.1 billion of securitized
federal student loans and related assets from the Student Loan Corporation (“SLC”), a subsidiary of Citibank, N.A.
The purchase price was approximately $1.1 billion. The transaction was funded by a 5-year term loan provided by
Citibank in an amount equal to the purchase price. The loan is secured by the purchased assets and guaranteed by
us. The loan bears interest at a rate of LIBOR plus 4.50 percent, and is subject to scheduled quarterly principal
payments of the lesser of (i) 2.5 percent of the original principal amount of the term loan or (ii) the residual cash
flow derived from the assets securing the loan. In addition, the remaining balance is due on December 31, 2015.
Residual cash flow in excess of that needed to make quarterly principal payments is restricted but we are permitted,
at our option, to prepay the obligation, in whole or in part, at any time without penalty.




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                  Exhibit 2




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Announcement: Moody's proposes changes to approach to rating US ABS
FFELP securitizations
09 Jul 2015
New York, July 09, 2015 -- Moody's Investors Service has published a Request for Comment (RFC) proposing
changes to the cash flow assumptions the agency uses in its approach to rating US Federal Family Education
Loan Program (FFELP) securitizations.
Moody's proposals to adjust its current assumptions regarding defaults, voluntary prepayments, deferment and
forbearance, and to introduce a new assumption to address the Income-based Repayment program (IBR), are
detailed in "Request for Comment: Proposed Changes to Moody's Approach to Rating Securities Backed by
FFELP Student Loans."
"Low prepayment rates, persistently high rates of deferment and forbearance, and the growing use of IBR and
other similar programs have increased the risk that some tranches will not pay off by their final maturity dates,
which would trigger an event of default for the securitizations," says Irina Faynzilberg, a Moody's Vice
President and Senior Credit Officer.
Since the recession, many student loan borrowers have struggled to make their monthly payments. This has
resulted in historically low rates of voluntary prepayments, high volumes of loans in deferment and
forbearance, and the growing popularity of IBR and other similar programs.
"These trends have persisted despite the economic recovery and improving employment picture, and some
levels of deferment, forbearance and IBR will be sustained through the life of the FFELP loan pools," according
to Faynzilberg "Some repayment plans can extend loan repayment periods significantly, from the standard 10-
year term for non-consolidation loans."
In April and June of this year, Moody's placed approximately $37 billion of FFELP asset-backed securities on
review for downgrade. These rating actions are available at https://www.moodys.com/research/Moodys-
reviews-for-downgrade-several-tranches-in-FFELP-student-loan--PR_322642 and
https://www.moodys.com/research/Moodys-reviews-for-downgrade-106-tranches-from-57-FFELP-student--
PR_328361.
The agency identified those tranches based on the low paydown rates on the securitized pools. If Moody's
adopts the proposed assumptions, their implementation might also affect the ratings of additional tranches not
currently on review. "If we adopt the proposed cash flow assumptions, we expect that the ratings of
downgraded tranches will range between low investment grade and non-investment grade," says Moody's
Managing Director Debash Chatterjee.
The extent of the downgrades will depend on the composition of the underlying loan pools (non-consolidation
loan pools versus consolidation loan pools), the position of the securities within the capital structure (senior
versus subordinated), the remaining time to maturity of a tranche, and a tranche's expected repayment date
relative to the final maturity date under different stress scenarios. "We will also consider the ability and
willingness of transaction sponsors to accelerate pool amortization rates by optionally repurchasing loans from
the underlying collateral pools," says Chatterjee.
Moody's invites market participants to comment on the RFC by September 7, 2015, by submitting their
comments on the Request for Comment Page on www.moodys.com.
The rating agency will finalize the ratings of the tranches currently on review, and potentially the ratings of
other tranches not currently on review, after finalizing changes to the methodology.
In addition, Moody's will be hosting a teleconference on this RFC on July 15, 2015 at 10:00 am EST. The
agency invites market participants to register for the event at http://www.cvent.com/d/trq41h/4W.
This press release is not intended to provide a summary of the proposed methodology. For a full explanation




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of the proposed methodology, please consult the RFC, now available at
http://www.moodys.com/viewresearchdoc.aspx?docid=PBS_SF412194 .
***
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                  Exhibit 3




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123 Justison Street
Wilmington, Delaware 19801




October 19, 2015

VIA ELECTRONIC MAIL

Moody’s Investors Service, Inc.
7 World Trade Center
At 250 Greenwich Street
New York, New York 10007

       Re:    Proposed Changes to Moody’s Approach to Rating Securities
              Backed by FFELP Student Loans

Ladies and Gentlemen:

Navient is pleased to have the opportunity to submit this comment letter in response to
Moody’s Investors Service, Inc.’s “Proposed Changes to Moody’s Approach to Rating
Securities Backed by FFELP Student Loans,” which was published on July 9, 2015 (the
“Request for Comments”). In the Request for Comments, Moody’s proposes
comprehensive changes to its current methodology for rating asset-backed securities
backed by student loans made under the Federal Family Education Loan Program
(such program, the “FFELP” and such securities, “FFELP ABS”). We welcome Moody’s
request for comments to the proposed methodology and we are encouraged that
Moody’s seeks to develop its revised methodology for rating FFELP ABS by
incorporating perspectives of industry participants through this comment process.

                                   INTRODUCTION

The repayment activity of FFELP loans in the recent past was slower than historical
norms as a result of (a) an increase in use of deferment and forbearance and a
decrease in voluntary prepayments during the economic recession, (b) the introduction
of various plans under the Income-Driven Repayment (“IDR”) program, and (c) leading
servicers, such as Navient, helping to reduce borrower defaults through the successful
implementation of default prevention programs. In response to this reduction in
repayment activity, Moody’s has proposed to make comprehensive changes to its rating
methodology for evaluating FFELP ABS. While we agree with Moody’s that there have
been some periods in the recent past in which repayment activity was at levels below
historical norms, based on a robust analysis of segmented views of our FFELP portfolio,
we believe that Moody’s proposed methodology reflects a disproportionate response to
the overall degree of extension risk in pools of FFELP loans.

In the Request for Comments, Moody’s assumes that selected repayment trends from
the period of 2008 through 2013 will continue unchanged far into the future. However,



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we believe that the lower level of repayment activity experienced during that period is an
historical outlier and is not indicative of future activity for at least three reasons.

First, repayment rates began to increase in 2014, they remain on that increased
trajectory today, and we expect that they will continue to increase as: (a) the economic
recovery continues to gain traction, (b) payment programs, such as IDR and Pay As
You Earn (“PAYE”), reach equilibrium levels, and (c) new programs, such as Revised
Pay As You Earn (“RePAYE”), are implemented.

Second, rates of the use of deferment and forbearance have been declining since 2008.
On a combined basis, Stafford loan deferment and forbearance use rates are at their
lowest levels since early 2008. Consolidation loan deferment and forbearance use
rates are at their lowest levels since we began to track Consolidation vintage
performance in 2000.

Third, data on the impacts of IDR program enrollment on long-term repayment activity is
not yet mature. In 2009, the Income-Based Repayment (“IBR”) plan was introduced as
a new repayment plan under the IDR program. 1 Some of the borrowers who likely
would have used deferment or forbearance statuses in periods prior to 2009 have been
enrolling in the IBR plan instead. FFELP loans enrolled in an IBR plan have materially
different performance characteristics than FFELP loans in a deferment or forbearance
status for several reasons, including the fact that IBR loans amortize over time.
Because the IBR plan was introduced relatively recently and during a period of
economic recession, it is difficult to know how many FFELP borrowers are enrolling in
an IBR plan to ease the transition from school until they reach their earning potential
and how many are enrolling in response to higher levels of economic hardship
experienced during the period of 2008 through 2013. As a result, mature data does not
yet exist regarding the impact that IBR plan enrollment will have on FFELP loan
extension.

Because repayment rates have been increasing since 2014, deferment and forbearance
usage has been declining since 2008, and FFELP loans enrolled in the IBR plan pay
down over time, we urge Moody’s not to use repayment trends from the period of 2008
through 2013 as the expected base case scenario in the revised methodology.

As a result of Moody’s proposal to project selected repayment trends from the period of
2008 through 2013, the proposed methodology would assume significant extension in
the term of FFELP loans and, therefore, in the lives of FFELP ABS. However, the
proposed methodology does not take into account the relationships among default,
prepayment and extension performance that mitigate overall extension risk. For
example, based on our experience with FFELP loans, default risk is greater among
loans that use long periods of deferment and forbearance statuses, among older loans
enrolled in an IBR plan, and among aging borrowers who struggle to make loan
payments over an extended period of time or whose loans are eventually paid through a

1
  As discussed more fully in Appendix A to this comment letter, the IBR plan is one of two plans available
to FFELP borrowers under the Income-Driven Repayment (“IDR”) program.

                                                    2

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death or disability claim. As a result of the federal guarantee inherent in FFELP loans, a
default on a FFELP loan results in a payment of at least 97% of principal and interest to
the FFELP ABS trust that owns the loan.

Further, the proposed methodology does not take into account the structural limitations
on the duration of FFELP loans that make impossible the levels of loan extension
assumed under the proposed methodology. Under the FFELP, there are no cumulative
use limits to borrowers’ use of school or military deferment or of certain types of
forbearance. 2 However, other types of deferment and forbearance statuses are subject
to regulatory limits on cumulative use under the FFELP or under servicing policies.

As a result of several factors, including the loan forgiveness aspect of the IBR plan, the
regulatory limits under the FFELP on the cumulative use of deferments other than
school-related deferments (“hardship deferment”), the servicing policy limits on the
cumulative use of discretionary forbearance, and portfolio performance dynamics, there
is an outside date by which the entire FFELP loan portfolio must have paid off, defaulted
or been forgiven. Each of those events results in a reduction of the principal balance of
the FFELP loan to zero and a corresponding payment of 97% to 100% of principal and
interest either by the borrower or through the guarantee process to the FFELP ABS
trust that owns the loan.

In considering its revised methodology, Moody’s should adopt a balanced, long-term
and sustainable approach to rating FFELP ABS that mitigates the risk of unnecessary
ratings volatility. With a stated term of up to 30 years, FFELP loans – and, therefore,
FFELP ABS – have very long lives that can span multiple economic cycles. Also, the
overall FFELP portfolio is mature and seasoned and retains its government guarantee.
Recognizing the fact that economic, social, regulatory and political conditions impacting
FFELP loan performance have evolved, and will likely continue to evolve over the life of
a FFELP loan, Moody’s should adopt an approach to rating FFELP ABS that is stable
through changing conditions.

Further, Moody’s approach to rating FFELP ABS should not overreact to short-term
variances in FFELP loan performance. Moody’s should recognize that, over time, loan
performance tends to revert to historically typical levels despite short-term variances
from the mean. In our view, it is not possible to have sufficient clarity about FFELP ABS
performance to take actions outside of a five-year window.

As the largest issuer of FFELP ABS with the longest history of issuing such securities,
we take our leadership role seriously. We look forward to continuing to work with
Moody’s and other securitization industry participants to develop appropriate,
sustainable approaches to properly evaluating risks associated with FFELP ABS.




2
 A more detailed description of the types of deferment and forbearance statuses and their respective
cumulative use limits is provided in Appendix A to this comment letter

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                            OVERVIEW OF FFELP LOANS

Throughout this comment letter, we refer to a number of key features of FFELP loans,
including the nature of the government guarantee applicable to FFELP loans and the
various types of FFELP loans (e.g., Stafford, Consolidation and Non-Consolidation).
We also refer to FFELP loans on the basis of their loan status (e.g., in-school, grace,
repayment, deferment and forbearance) or their participation in income-driven
repayment plans (e.g., IDR). In Appendix A to this comment letter, we provide a high-
level overview of the key features of the FFELP relevant to the concepts in this
comment letter and in Moody’s proposed methodology.

                                DATA METHODOLOGY

Throughout this letter, we provide data to support our comments. The methodology for
presenting this data is described in Appendix B to this comment letter.




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Appendices

Appendix A: Overview of FFELP Loans
Appendix B: Data Methodology




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I. EXECUTIVE SUMMARY OF NAVIENT COMMENTS

We believe that Moody’s proposed methodology reflects a disproportionate response to
the overall degree of extension risk in pools of FFELP loans. In this letter, we
respectfully submit both (a) general comments regarding the proposed methodology
and (b) specific comments to the loan performance assumptions in the proposed
methodology.

   A. General Comments to Proposed Methodology

Our general comments to Moody’s proposed methodology include:


      1. Reactivity to Short-Term Variances in Loan Performance

Under the proposed methodology, Moody’s proposes to project selected repayment
trends from the period of 2008 through 2013 unchanged far into the future. However,
repayment activity has been increasing since the beginning of 2014 and we expect that
repayment activity will continue to increase. In the revised methodology, repayment
rates for the period of 2008 through 2013 should not be used as the expected base
case assumptions.

      2. Projection of Dynamic Trends

Under the proposed methodology, Moody’s proposes to use different data periods and
trend methods for each of the assumptions used to estimate future FFELP loan
performance. However, mixing these periods and methods leads to inappropriate
results and does not lead to a stable rating methodology. For every loan performance
assumption, the revised methodology should either: (a) establish constant loan
performance assumptions based on a true, long-term average of FFELP loan
performance, with deviations from the average recognized through the use of stress
case scenarios, or (b) establish dynamic loan performance assumptions that are flexible
enough to recognize variations across economic cycles.

      3. Existence of Loan Performance Backstops to Extension

The proposed methodology does not recognize the relationships among defaults,
prepayments and reduced payments that mitigate overall extension risk. The revised
methodology should: (a) consider the increased risk of default associated with high
levels of assumed FFELP loan extension and (b) consider the inverse relationships
among FFELP loan performance measures (i.e., default activity and prepayment activity
typically move in opposite directions).

      4. Existence of Inherent FFEL Program Backstops to Extension

The proposed methodology also does not recognize the structural limitations on the
overall duration of FFELP loans. As a result of several factors, including the loan

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forgiveness aspect of the IBR plan, regulatory limits under the FFELP on the cumulative
use of hardship deferment, servicing policy limits on the cumulative use of discretionary
forbearance, and portfolio dynamics, there is an outside date by which the entire FFELP
loan portfolio will have paid off, defaulted or been forgiven.

       5. Clean-up Calls and Turbo Features Limit Extension

The proposed methodology does not recognize two structural features in FFELP ABS
transactions that increase the likelihood that a FFELP ABS will be paid off once the
outstanding principal balance of the related trust student loans falls below 10% of the
initial principal balance: (a) turbo features and (b) optional servicer clean-up calls. The
revised methodology should recognize the economic realities associated with turbo
features and optional servicer clean-up calls and should incorporate them as mitigating
factors against long extension of FFELP ABS.

       6. Tier Responses Based on Precision of Estimates for Distant Outcomes

The revised methodology should tier Moody’s ratings response to loan performance
trends based on the precision of its loan performance outcome predictions. More
simply, the revised methodology should recognize that the certainty of an outcome
diminishes as the occurrence of that outcome becomes more distant in time. The
revised methodology should also recognize that, over time, loan performance tends to
revert to historically typical levels despite short-term variances from the mean. In our
view, it is not possible to have sufficient clarity about FFELP ABS performance to take
ratings actions outside of a five-year window.

       7. Transparency Regarding Granular Ratings Actions

In the Request for Comments, Moody’s acknowledges that there are many factors that
influence whether a FFELP ABS will be paid in full by its legal final maturity date.
However, each of those many factors has a range of possible performance outcomes,
each of which, in turn, has a corresponding degree of likelihood of occurrence. The
revised methodology should provide more detailed guidance regarding how it will weigh
the many different factors that influence whether a FFELP ABS will be paid in full by its
legal final maturity date, including how it will measure various types of sponsor support.

       8. Stable Ratings Approach

Moody’s should adopt a balanced, long-term and sustainable approach to rating FFELP
ABS. FFELP loans have very long stated terms that can span multiple economic cycles
with significantly different effects on the payment behavior of FFELP loans. Also, the
overall FFELP portfolio is mature and seasoned and retains its government guarantee.
Therefore, Moody’s should adopt an approach to rating FFELP ABS that does not
overreact to short-term variances in FFELP loan performance.




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      B. Specific Comments to Proposed Loan Performance Assumptions

Our specific comments to Moody’s proposed methodology’s loan performance
assumptions include:

          1. Default Assumptions

(a)       We agree that Moody’s proposed application of defaults to the repayment
          balance would more appropriately capture the ongoing default risk that exists in a
          Stafford loan pool as it amortizes.

(b)       The revised methodology’s default assumption should acknowledge that the
          default rates applied to a FFELP ABS trust’s remaining FFELP loans may need
          to be adjusted over time to reflect changing future expectations for default
          activity.

(c)       The revised methodology should retain the existing life-of-loan approach to
          determine default risk for Consolidation loan pools.

(d)       The default assumptions in the revised methodology should take into account
          additional factors that impact default rates in extension scenarios, including the
          association of higher default rates with (i) FFELP loans that use long periods of
          deferment and forbearance, (ii) older loans enrolled in the IDR program, and
          (iii) aging borrowers who struggle to make payments over a long period of time or
          whose loans are eventually paid through a death or disability claim.

          2. Voluntary Prepayment Assumptions

(a)       The revised methodology should use the CPR1 methodology 3 to calculate
          voluntary prepayments and should clarify how repayment dollars will be
          calculated.

(b)       The voluntary prepayment assumptions in the revised methodology should be
          increased from the levels in the proposed methodology given that: (i) improving
          economic conditions are likely to increase voluntary prepayment rates, (ii) loan
          refinancing levels have been increasing in FFELP ABS trusts since the beginning
          of 2014, and (iii) the new RePAYE program could potentially increase FFELP
          loan refinancing activity for certain borrowers in the near term.

          3. Deferment and Forbearance Assumptions

(a)       The rates of deferment and forbearance usage prescribed by the proposed
          methodology give a distorted view of FFELP ABS pool performance expectations
          when the remaining outstanding principal balance of trust student loans is low.


3
    A detailed explanation of the CPR1 methodology is included in Section III.B.1 of this comment letter.

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(b)    Administrative forbearance should be excluded when deriving the slope of
       forbearance usage projections.

(c)    The revised methodology should use more sophisticated means of analyzing the
       likelihood of borrowers’ future use of deferment and forbearance statuses based
       on: (i) regulatory and servicing policy limits on the cumulative use of hardship
       deferment and discretionary forbearance, (ii) the progression of older FFELP
       loans towards those regulatory and servicing policy limits, (iii) predictions of
       future use of deferment and forbearance in light of borrowers’ past deferment
       and forbearance use, and (iv) the propensity and ability of FFELP borrowers to
       use additional forbearance, which create a mathematical limit on the amount of
       extension that can occur.

(d)    The revised methodology should recognize that the likelihood of additional future
       use of deferment and forbearance decreases as FFELP loans within the pool pay
       off, default or meet other criteria for a guarantee claim payment under the
       FFELP.

       4. Income-Driven Repayment Plan Assumptions

(a)    We agree with Moody’s that it is appropriate to adjust the ratings methodology to
       consider the usage of IDR programs. However, IDR usage should be modeled
       separately from other loan performance assumptions rather than as an
       adjustment factor to forbearance assumptions.

(b)    The IDR assumptions in the revised methodology should recognize the loan
       forgiveness aspect of the IBR plan.

(c)    In developing the new IDR assumption for the revised methodology, Moody’s
       should consider the following technical aspects of the IDR program: (i) interest
       payments are made on certain IDR loans, (ii) IBR loans only capitalize interest
       upon exit from the Partial Financial Hardship (“PFH”) period of the IBR plan, and
       (iii) IDR loans can be in a deferment or forbearance status.

(d)    The IDR assumptions in the revised methodology should recognize that IBR
       loans amortize over time.

(e)    The IDR assumptions in the revised methodology should recognize that older
       FFELP loans using IBR have higher default risk because the borrowers of those
       older FFELP loans enroll in the IBR plan as a result of financial struggle.

       5. Application of Assumptions in Cash Flow Modeling

(a)    The revised methodology should clarify how certain loan performance
       assumptions will be established for new FFELP ABS transactions.



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(b)    The cash flow model for the revised methodology should rely on issuer-specific
       data and transaction-specific data rather than aggregate industry data when
       evaluating a particular FFELP ABS transaction.



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II. GENERAL COMMENTS TO PROPOSED METHODOLOGY

We believe that Moody’s proposed methodology reflects a disproportionate response to
the overall degree of extension risk in pools of FFELP loans.

    A. Repayment rates for the period of 2008 through 2013 should not be used as
       the expected base case assumption.

Under the proposed methodology, Moody’s assumes that selected repayment trends
from the period of 2008 through 2013 will continue unchanged far into the future.
However, repayment activity for the period of 2008 through 2013 was an historical
outlier. Looking at historical repayment trends, the period of 2008 through 2013 was
significantly different from prior periods: by more than one standard deviation in the
early part of 2008 (Chart 1). While repayment speeds have been low over the last six
years, repayment speeds have been increasing since the beginning of 2014.

                                      Chart 1
                   FFELP Non-Consolidation ABS Trust CPR History 4




The social, regulatory, political and economic conditions giving rise to lower repayment
rates during the period of 2008 through 2013 developed relatively quickly and we do not
believe those conditions represent the norm. We expect that repayment rates will

4
  CPR is the constant prepayment rate used to measure prepayment activities in a pool of FFELP loans.
Data in Chart 1 includes loans in all Navient issued Non-Consolidation loan securitization trusts,
regardless of loan servicer. Prior to the company’s separation from SLM Corporation in 2014, Navient
sponsored FFELP securitizations under the name SLM.

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increase as: (i) the economic recovery continues to gain traction, (ii) payment programs,
such as IBR and PAYE, reach equilibrium levels, and (iii) new programs, such as
RePAYE, are implemented. In fact, repayment trends are already changing: loan
refinancings and prepayments are increasing while deferments, forbearances and
defaults are declining.

Further, data on the impacts of IDR program enrollment on long-term repayment activity
is not yet mature enough to accurately predict future repayment activity. In 2009, the
IBR plan was introduced as a new IDR repayment plan under the IDR program. Some
of the borrowers who likely would have used deferment or forbearance statuses in
periods prior to 2009 have been enrolling in the IBR plan instead. FFELP loans enrolled
in an IBR plan have materially different performance characteristics than FFELP loans
in a deferment or forbearance status for several reasons, including the fact that IBR
loans amortize over time. Because the IBR plan was introduced relatively recently and
during a period of economic recession, it is difficult to know how many FFELP
borrowers are enrolling in an IBR plan to ease the transition from the school until they
reach their earning potential and how many are enrolling in response to higher levels of
economic hardship experienced during the period of 2008 through 2013. As a result,
mature data does not yet exist regarding the impact that IBR plan enrollment will have
on FFELP loan extension.

With a stated loan term of up to 30 years, FFELP loans – and, therefore, FFELP ABS -
have very long lives that can span multiple economic cycles. Also, the overall FFELP
portfolio is mature and seasoned and retains its government guarantee. In considering
the revised methodology, Moody’s should recognize that repayment rates from the
period of 2008 through 2013 reflect a stress scenario. Moody’s should adopt a
balanced, long-term approach to rating FFELP ABS that reflects those multiple
economic cycles and mitigates the risk of unnecessary ratings volatility in the context of
short-term variances in FFELP loan performance.

   B. The revised methodology should be flexible enough to recognize dynamic
      trends in FFELP loan performance.

In the Request for Comments, Moody’s proposed to revise its assumptions regarding
rates of default, voluntary prepayments, deferment and forbearance and to add an
assumption to address the growing use of the IBR plan and similar income-driven
repayment programs. However, as detailed in Moody’s “Cash Flow Modeling Guide for
FFELP Student Loan ABS Using Proposed Assumptions,” Moody’s proposed
methodology uses different data periods and trend methods for each of the performance
assumptions it uses to estimate future FFELP loan performance. The revised
methodology should incorporate a more consistent approach to selecting data periods
and trend methods used to develop loan performance assumptions.

Under the proposed methodology, the expected base case assumptions for deferment
and forbearance performance are set by taking the observed slope over the prior two
years of performance and extrapolating that slope forward on a dynamic basis into the

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future, subject to a floor that increases with higher ratings stresses. However, all
assumptions other than the deferment and forbearance assumptions are set by taking
the average levels experienced over the most recent one-year performance period and
projecting that level on a constant basis into the future. It is unclear why Moody’s uses
a dynamic method to set deferment and forbearance assumptions but uses a constant
method to set other performance assumptions.

Using a mixture of trends and fixed estimates to establish loan performance
assumptions leads to inappropriate results. For example, even though recent default
rates have been falling, the default assumptions in the proposed methodology project
that default rates will remain constant. Also, notwithstanding the fact that recent
prepayment rates have been rising and are still below their historical mean, the
voluntary prepayment assumptions in the proposed methodology project that
prepayments will not increase. There is no reason to believe that these current trends
in defaults and prepayments will not persist into the future. As a result, it is unclear why
Moody’s would select a constant method for determining default and prepayment
assumptions.

Moody’s proposed approach to mixing a constant method and a dynamic method for its
loan performance assumptions will not lead to a stable rating methodology. Instead, for
every loan performance assumption, the revised methodology should either
(1) establish constant loan performance assumptions based on a true, long-term
average of FFELP loan performance, with deviations from the average recognized
through the use of stress case scenarios, or (2) establish dynamic loan performance
assumptions that are flexible enough to recognize variations across economic cycles.

   C. The revised methodology should properly acknowledge the relationships
      among defaults, prepayments and reduced payments that mitigate overall
      extension risk.

Under the proposed methodology, Moody’s assumes that selected repayment trends
from the period of 2008 through 2013 will continue unchanged far into the future.
Therefore, its proposed methodology simultaneously incorporates low prepayment and
default assumptions and above trend deferment and forbearance assumptions. These
proposed assumptions would improperly predict the extension of portfolios of FFELP
loans far into the future. The revised methodology should (1) consider the increased
risk of default associated with high levels of assumed FFELP loan extension and
(2) consider the long-term inverse relationships among FFELP loan performance
measures.

The proposed methodology does not acknowledge the relationships among defaults,
prepayments and reduced payments that mitigate overall extension risk. For example,
as discussed in Section III.A.2 below, based on our experience with FFELP loans,
default risk is greater among loans that use long periods of deferment and forbearance,
among older FFELP loans enrolled in an IBR plan, and among aging borrowers who
struggle to make loan payments over a long period of time or whose loans are

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eventually paid through a death or disability claim. Because of the government
guarantee of at least 97% of principal and interest, FFELP loan defaults accelerate the
repayment rate of FFELP loan pools. Therefore, the revised methodology should
properly consider the increased risk of default associated with high levels of assumed
FFELP loan extension.

Further, the proposed methodology does not recognize the typical inverse relationships
among FFELP loan performance measures. Defaults and prepayments typically move
in opposite directions. In a stressed economic environment, some borrowers encounter
hardships that cause them to default while other borrowers tend to conserve their cash
as a buffer against economic hardship instead of making voluntary prepayments. Then,
as the economy improves, defaults tend to decline and prepayments increase as
borrowers who were conserving cash regain willingness to use their cash to retire debt.

Under the proposed methodology, Moody’s assumes that the typical relationships
among these FFELP loan performance measures will break down. However, that view
is not supported by historical activity. We agree that short-term scenarios could
conceivably cause distortion of the typical inverse relationships among loan
performance measures. However, those distortions are not sufficiently likely to occur to
justify their inclusion in Moody’s expected base case assumptions. Even in stress
scenarios, it is not likely that those distortions, should they occur, would persist across
the very long lives of FFELP loans. Therefore, the revised methodology should
recognize the typical long-term inverse relationships among FFELP loan performance
measures.

   D. The revised methodology should recognize the structural limitations on the
      duration of FFELP loans.

Moody’s proposed methodology ignores the structural limitations on the duration of
FFELP loans that make impossible the levels of assumed loan extension in the
proposed methodology. As a result several factors, including the loan forgiveness
aspect of the IBR plan, regulatory limits under the FFELP on the cumulative use of
hardship deferment, servicing policy limits on the cumulative use of discretionary
forbearance, and portfolio performance dynamics, there is an outside date by which the
entire FFELP loan portfolio will have paid off, defaulted or been forgiven. Each of those
events results in a reduction of the principal balance of the FFELP loan to zero and a
corresponding payment of at least 97% of principal and interest to the FFELP ABS trust
that owns the FFELP loan.

       1. Loan Forgiveness

The proposed methodology does not consider the loan performance implications of the
loan forgiveness aspect of the IBR plan. As discussed more fully in Appendix A to this
comment letter, FFELP loans that have been enrolled in an IBR plan at any point in their
lifetime are eligible for loan forgiveness on the later of 25 years following the
qualification date and 25 years of qualifying payments made (including periods where

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the calculated payment was zero). When a FFELP loan is forgiven, the principal
balance of the loan is reduced to zero and a corresponding payment equal to 100% of
principal and interest is made to the FFELP ABS trust that owns the FFELP loan.

Generally, borrowers with low incomes relative to their debt are likely to become eligible
for loan forgiveness. Given the distribution of the current IBR loan portfolio by current
aggregate outstanding principal balance, we project that, depending on borrowers’
future salaries, between 22% and 76% of FFELP loans that are currently in the PFH
period of an IBR plan will become eligible for loan forgiveness.

        2. Limits on the Cumulative Use of Hardship Deferment and Discretionary
           Forbearance

The proposed methodology does not properly consider regulatory and servicing policy
limits on the cumulative use of hardship deferment and discretionary forbearance
statuses. While school-related deferments do not have a cumulative use limit in the
FFELP, hardship deferment (which includes all deferments other than school-related
deferments) is limited under the FFELP to a cumulative maximum use of 36 months.
Also, as described more fully in Section III.C.3(b)(ii) below, Navient’s servicing policy is
to give no more than 60 months of cumulative discretionary forbearance with only
limited exceptions.

        3. How Loan Forgiveness and Deferment and Forbearance Limits Provide
           Structural Back-Stop to Duration

A FFELP borrower’s use of deferment and forbearance statuses and enrollment in the
IDR program individually or in various combinations can generate extension risk.
Except in rare instances or where a borrower remains in school for extended periods of
time, the final payoff date for any FFELP loan will not extend past the year 2048. 5
Further, FFELP loans (other than those that have used in-school deferment) that are
eligible for loan forgiveness will be paid off between the years 2034 and 2039.

Approximately 5.4% of our FFELP ABS trusts’ loans are currently using in-school
deferment. On a relative basis, the usage of in-school deferment has declined by 10%
over the last year and is down to half the peak level experienced at the end of 2006.
Given this downward trajectory and the fact that there is no other way for a FFELP loan
to be outstanding past the year 2048, Moody’s projected legal final maturity dates for
outstanding FFELP ABS transactions in the 2050s and later are not supportable.




5
 Stafford loans cannot extend past the year 2048. Consolidation loans may extend past the year 2048
only if they (a) enroll in the IBR plan in the future, (b) have not used hardship deferment or IBR in the
past, (c) do not elect Expedited Standard option, and (d) do not otherwise pay off.

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    E. The revised methodology should recognize the economic realities
       associated with turbo features and optional servicer clean-up calls.

The proposed methodology does not recognize two economic realities that impact the
likelihood that a FFELP ABS will be paid off once the outstanding principal balance of
the trust student loans falls below 10% of the initial principal balance.

First, all of Navient’s FFELP ABS transaction structures incorporate a turbo feature that
requires that, after the outstanding principal balance of the trust student loans falls
below 10% of the initial principal balance, cash collections that otherwise would have
been released to the holder of the residual interest in the FFELP ABS trust instead will
be applied to make principal payments on the outstanding FFELP ABS until they are
reduced to zero. This turbo feature is an inherent structural feature of the FFELP ABS
trust that obligates the trust to make bond payments rather than an option on the part of
the servicer or any other party. As a result, the cash flow model under the revised
methodology should assume that this turbo of the FFELP ABS will occur pursuant to the
terms of the transaction documents and should use reasonable assumptions based on
historical experience regarding the amount of trustee fees and other trust payment
obligations that could disrupt payments to the FFELP ABS in a turbo scenario.

Second, Navient’s FFELP ABS transaction structures typically give the servicer the right
to exercise an optional purchase of all remaining trust student loans once the
outstanding principal balance of the trust student loans falls below 10% of the initial
principal balance (an “optional servicer clean-up call”).6 Because the call is an option
rather than an obligation of the servicer, Moody’s has not historically assumed that the
optional servicer clean-up call will occur in the A and AAA cases to which recent FFELP
ABS transactions have been rated. However, in the new extension scenarios proposed
by Moody’s, each FFELP ABS transaction now has a point in time after which the
amount of cash collections coming into the trust with respect to the underlying FFELP
loans will be less than the fixed costs of the trust (including servicing fees,
administration fees and trustee fees), but the servicer’s cost of conducting an optional
servicer clean-up could be minimal.

Under Moody’s proposed assumptions, FFELP ABS transactions experience significant
loan extension in later simulation periods where the remaining outstanding principal
balance of the trust student loans is very low. For example, in Moody’s expected base
case for the SLM Student Loan Trust 2006-1, there are more than eight years during
which the FFELP ABS trust’s quarterly cash flows are projected to be less than the
trust’s administration fee alone. The remaining pool balance when the quarterly cash
flows are less than the quarterly administration fee is less than $200,000. During that
time, as a result of the turbo feature, cash collections will be applied to make payments
on the FFELP ABS instead of being released to the holder of the residual interest in the


6
  The SLM Student Loan Trust 2004-10 transaction includes a turbo feature but it is triggered only once
the outstanding principal balance of the trust student loans falls below 5% (instead of 10%) of the initial
principal balance.

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trust. In that case, the servicer would have a clear economic incentive to exercise the
optional servicer clean-up call.

The revised methodology should assume the exercise of the optional servicer clean-up
call when the economics become compelling (i.e., when the amount of cash collections
are less than the fixed costs of the trust) and the liquidity required to do so is minimal.

    F. The revised methodology should tier Moody’s ratings response to loan
       performance trends based on the precision of its loan performance
       outcome prediction.

The revised methodology should recognize that the certainty of an outcome diminishes
as the occurrence of that outcome becomes more distant in time. The revised
methodology should also recognize that, over time, loan performance tends to revert to
historically typical levels despite short-term variances from the mean. When developing
the rating methodology for a long-term asset like FFELP ABS, Moody’s should tier its
ratings response to loan performance trends based on the precision of its loan
performance prediction in light of the duration.

For example, assume that the rating methodology predicts that one FFELP ABS (“Bond
A”) will miss payment on its legal final maturity date by one calendar quarter one year
from now and also predicts that a different FFELP ABS (“Bond B”) will miss payment on
its legal final maturity date by one calendar quarter ten years from now. The rating
methodology should accommodate Moody’s taking action with respect to Bond A but
not Bond B because of the lack of certainty of the Bond B estimate in light of historical
variability.

In our view, it is not possible to have sufficient clarity about FFELP ABS performance to
take ratings actions in surveillance activities outside of a five-year window. As Moody’s
itself noted in its April 2015 Ratings Action 7:

       “the ratings actions are focusing on tranches that mature in the next five
       years because they are at most risk of breaching legal final maturity dates.
       Tranches that mature after that could benefit from higher voluntary
       repayments and lower deferment and forbearance rates as economic
       conditions continue to improve” (emphasis added).

    G. The revised methodology should provide more detailed guidance regarding
       how it will weigh the many different factors that influence whether a FFELP
       ABS will be paid in full by its legal final maturity date.

As Moody’s acknowledges in its Request for Comments, there are many factors that
influence whether a FFELP ABS will be paid by its legal final maturity date, including the
underlying pool composition, the position of the ABS in the trust’s capital structure, the

7
 Moody’s Rating Action, “Moody’s reviews for downgrade several tranches in FFELP student loan
securitizations as a result of the risk of default at maturity” (April 8, 2015).

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time remaining to maturity, the expected payment date relative to the current legal final
maturity date, and the aggregate outstanding principal balance at the current legal final
maturity date. Each of those many factors has a range of possible performance
outcomes, each of which, in turn, has a corresponding range of degree of likelihood of
occurrence. To provide stability and transparency in the ratings process, Moody’s
should provide additional guidance on how the granular ratings levels will be determined
under the revised methodology, including greater clarity regarding the nature and
relative importance of these factors and the positive or negative ratings impact of each.

In the Request for Comments, Moody’s identified several key factors to be considered
under the proposed methodology relating to sponsor support, including the level of loan
purchases permitted under the relevant transaction documents (including the legal
impact of those purchase levels on true sale or non-consolidation opinions), the
demonstrated willingness of the sponsor to exercise those support mechanisms, the
sponsor’s creditworthiness and liquidity position, and the sponsor’s reliance on the
securitization markets. We respectfully request that Moody’s revise the proposed
methodology to (a) provide clarity and detail on the relative importance of these factors
and how the factors would combine to impact granular ratings levels and (b) to take into
account other types of sponsor support that reduce the likelihood of non-payment of a
FFELP ABS, including, without limitation, subordinated lending arrangements made
available to the FFELP ABS trust or optional servicer clean-up calls.

In response to the recent trends in repayment rates of FFELP loans, Moody’s has
placed 51 Navient-sponsored FFELP ABS trusts on watch for downgrade. Of the trusts
on watch for downgrade, six will have been paid in full through the exercise of the
optional servicer clean-up call by the end of October 2015.

As the largest issuer of FFELP ABS with the longest history of issuing such securities,
we take our leadership role seriously and we are working with rating agencies, trustees
and investors to create and deploy means of addressing concerns relating to repayment
activity. Examples include:

          (1)    Exercise Optional Servicer Clean-Up Calls: As of the end of October
2015, we will have exercised our 10% optional servicer clean-up call with respect to
eight Navient-sponsored FFELP ABS trusts in 2015.

           (2)     Exercise Optional Servicer Purchases: We have amended the
servicing agreements for 33 Navient-sponsored FFELP ABS trusts to incorporate a
servicer right to purchase trust student loans aggregating up to 10% of the trust’s initial
pool balance. As demonstrated in our trust reports, we have been exercising our
optional servicer purchase rights.

          (3)    Amend to Add Revolving Credit Agreements: We have amended the
administration agreements and indentures for 16 Navient-sponsored FFELP ABS trusts
to incorporate a subordinated revolving credit agreement pursuant to which Navient
Corporation can provide liquidity financing to the trust.

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            (4)    Disclosure of Loan Performance Data: In response to requests for
information from investors, rating agencies and other market participants, we:
(a) enhanced our quarterly reporting spreadsheets to provide additional information on
(i) the level of enrollment in the IDR program, (ii) the payments owed by FFELP loans
enrolled in the IDR program, (iii) the distribution of FFELP loans in a deferment status
between school deferment and hardship deferment; and (iv) the distribution of FFELP
loans in a forbearance status between discretionary forbearance and other types of
forbearance; and (b) released a FFELP loan repayment data package disclosing
performance trends in deferment, forbearance, defaults, prepayments and income-
driven repayment.

           (5)    Enhanced Means for Investor Communication: We launched a new
online investor forum designed to facilitate communication with investors in Navient-
sponsored FFELP ABS. Through this online forum, investors can register to receive
notifications regarding their FFELP ABS and can also communicate with Navient and
directly with other investors through identity-protected messages.

Through these activities, Navient has already taken actions that counteract some of
Moody’s concerns. For example, in October 2015, we released performance reports
with respect to 81 FFELP ABS trusts disclosing new performance and cash flow data.
This data shows the observable effects of exercise of additional optional servicer loan
purchases and additional optional servicer clean-up calls. We believe that data over the
coming months will further demonstrate the beneficial impact of sponsor support.
Moody’s should review the impact of these and similar actions by sponsors and other
market participants before finalizing the revised methodology.

   H. Moody’s should adopt a balanced, long-term and sustainable approach to
      rating FFELP ABS.

In considering its revised methodology, Moody’s should adopt a balanced, long-term
and sustainable approach to rating FFELP ABS that mitigates the risk of unnecessary
ratings volatility. As noted above, FFELP loans have very long stated terms that can
span multiple economic cycles with significantly different effects on the payment
behavior of FFELP loans. Further, FFELP loans are subject to a variety of economic,
social, regulatory and political conditions that can change quickly and can impact the
timing of payments on the loans. Despite those changing conditions, Moody’s should
not lose sight of the fact that FFELP loans will ultimately be repaid either by the
borrowers themselves, through loan forgiveness or through the guarantee process.
Therefore, Moody’s should adopt an approach to rating FFELP ABS that accurately
reflects those changing conditions.

In Moody’s most recent FFELP ABS methodology revision, released in 2012, the most
significant stresses on prepayment involved stresses on the higher end (i.e., as high as
18%). However, under the proposed methodology, Moody’s is now focused on stresses
on the lower end (i.e., as low as 0%). If Moody’s continues with this approach to

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developing the FFELP ABS rating methodology and if, repayment activity levels
increase in the near term as we expect, then it is foreseeable that Moody’s would further
revise its methodology to account for that improvement. However, in the case of each
revision, Moody’s actions would be reactive to short term trends in FFELP loan
performance rather than long-term averages and would not necessarily truly reflect the
likelihood of payment in full of a FFELP ABS by its legal final maturity date.

While the ratings methodology must be routinely evaluated to recognize long-term shifts
in FFELP loan performance, Moody’s must not overreact to short-term variances in
FFELP loan performance in a manner that establishes an expected base case scenario
that is actually a stress scenario. Revising the rating methodology to react to short-term
variances that ideally would be accommodated within Moody’s stress scenarios does
not help investors identify risks associated but instead creates additional risks and
market disruption.

In considering whether to project selected repayment trends from the period of 2008
through 2013 period unchanged far into the future, Moody’s placed 61 FFELP ABS
trusts on watch for downgrade. This has created significant disruption in a historically
stable market.

III. COMMENTS TO MOODY’S PROPOSED LOAN PERFORMANCE ASSUMPTIONS

In the Request for Comments, Moody’s proposes to revise its loan performance
assumptions regarding rates of default, voluntary prepayments, deferment and
forbearance and to add an assumption to address the growing use of the IBR plan and
similar programs. In this Section III, we provide comments to each of the loan
performance assumptions in the proposed methodology. We also provide comments
regarding certain cash flow modeling implications under the proposed loan performance
assumptions.

   A. Default Assumptions

Because of the government guarantee of at least 97%, FFELP loan defaults accelerate
the repayment rate of FFELP loan pools. In the Request for Comments, Moody’s
proposes to alter its default assumption to a single constant rate of default of
outstanding loans in repayment during the entire life of the FFELP ABS transaction. As
Moody’s points out, the slowdown of repayment rates and the resulting lengthened lives
of securitized loan pools have caused a material amount of defaults to occur after the
tenth year in many FFELP ABS transactions. We agree that the mechanics of Moody’s
default rate methodology that apply to outstanding balances rather than the original
balances would more appropriately capture the ongoing default risk in a Stafford loan
pool as it amortizes. However, the revised methodology should acknowledge that
default rates applied to a FFELP ABS trust’s remaining FFELP loans may need to be
adjusted over time. We believe that the proposed methodology should be modified
(1) to recognize trends in default performance in the Stafford loan portfolio, (2) to retain



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the existing life-of-loan approach to evaluating default risk for pools of Consolidation
loans, and (3) to account for additional factors that may impact default rates.

        1. Default Assumption Should Incorporate Changing Future Expectations for
           Non-Consolidation Loans

Moody’s existing rating methodology for FFELP ABS approaches default assumptions
by estimating a cumulative default percentage over the life of the FFELP ABS
transaction (the “life-of-loan approach”). While we agree with Moody’s that, strictly
mechanically, application of a default rate against the remaining repayment balance is
appropriate for non-Consolidation loans as they amortize, default rates are not constant.
Recent non-Consolidation loan default rates have been declining (Chart 2).

                                      Chart 2 8
                  Non-Consolidation ABS Trust Constant Default Rates




In addition, as we will discuss further, in scenarios that assume significant future
portfolio extension, we believe that Stafford loan portfolios have back end default risks
that a constant default rate does not address. Moody’s should address these potentially
offsetting trends in the revised methodology.




8
  Data includes Navient serviced loans in all Navient sponsored Non-Consolidation loan ABS trusts. Prior
to the company’s separation from SLM Corporation in 2014, Navient sponsored FFELP securitizations
under the name SLM.

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      2. Default Assumptions Should Retain Life-of-Loan Approach for Pools of
         Consolidation Loans

We believe that the proposed constant default rate approach does not accurately
portray the performance trend for Consolidation loans and we request that Moody’s
retain the existing life-of-loan approach for Consolidation loan pools. When analyzed
under the life-of-loan approach, as a percentage of original principal balance,
Consolidation loans have a long and low steady rate of defaults, which have also been
declining recently (Chart 3).

                                    Chart 3
           Consolidation ABS Trust Periodic Defaults by Trust Vintage




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Expressed as a percentage of the repayment balance, Consolidation loan ABS trust
performance data demonstrate that annualized default rates increase for the first six
years of FFELP ABS transaction performance before they stabilize (Chart 4).

                                     Chart 4 9
            Consolidation ABS Trust Annualized Defaults by Trust Vintage




The slope of default trends in the early performance periods of Consolidation loan ABS
trusts suggests an increase of 0.2% to 0.3% per year in the constant default rate. At
these rates, Moody’s proposed steady constant default rate assumption, when applied
to a Consolidation loan pool, is at risk of understating the actual defaults occurring by
25-30% on a relative basis after five years.

Given the predictability and less front-loaded nature of the life of loan curves for
Consolidation loans, we believe Moody’s would achieve more accurate cash flow
expectations by continuing to use a life-of-loan approach to evaluate default rates for
Consolidation loans.

        3. Default Assumption Should Account for Additional Factors At Play in
           Extension Scenarios

In longer FFELP loan extension scenarios, additional factors may impact default rates,
including the association of higher default rates with (a) FFELP loans that use long
periods of deferment and forbearance, (b) older FFELP loans enrolled in the IDR

9
  Data includes all Navient-sponsored Consolidation loan ABS trusts. Prior to the company’s separation
from SLM Corporation in 2014, Navient sponsored FFELP securitizations under the name SLM.

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program, and (c) aging borrowers who struggle to make loan payments over a longer
period of time or whose loans are eventually paid through a death or disability claim.

          (a) Default Risk Associated with Loans With Long Periods in Deferment and
              Forbearance Statuses

FFELP borrowers who utilize lengthy deferment and forbearance statuses likely do so
as a result of credit stress. As a FFELP loan pool continues to age, a meaningful
number of the loans that are at a heightened risk for additional use of deferment and
forbearance statuses are also at an increased risk for default. Therefore, the revised
methodology should incorporate an appropriate default assumption for FFELP loans
that remain in a deferment or forbearance status for long periods of time.



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Table 1 below demonstrates average annualized default performance over a four-year
period.

                                        Table 1
                 Risk Profile of Loans in Deferment and Forbearance




In Table 1:

   •    The left-hand axis shows the number of years since loans first entered
        repayment, and the top axis shows the number of years of payments made on
        the loans.
   •    The diagonal from left to right represents default performance for loans that have
        made the same number of payments as they have spent time since entering
        repayment. These loans are the lowest risk, with average annualized default
        rates for the segments with the largest portfolio volume generally around 0.3-
        0.4% per year.
   •    Reading down the left-hand axis of the matrix gives the average annualized
        default rate for loans that have never made a payment. The longer the time a
        borrower has been in repayment without payment demonstration, the higher
        potential for some loans to default.
   •    Reading from left to right on the chart, the more payments a loan has made in
        any given category of time since repayment began, the lower the risk of the loan.

The use of deferment and forbearance causes divergence between the amount of time
since borrowers entered repayment and the number of payments they have made. The
larger this divergence, the longer borrowers have been struggling to make payments
and the higher the risk that some of those borrowers will default.

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Tables 2 through 4 below show the distribution of the repayment, deferment and
forbearance portfolios across time in repayment and payments made. Darker shaded
segments show the highest concentrations of volume. Whereas 24% of the repayment
portfolio has made the same number of payments as they have time since entering
repayment, only 1% of the current deferment and forbearance populations are part of
this segment. On the other hand, while only 9% of the loans currently in repayment
have never made a payment, approximately 37% of loans in deferment and forbearance
have never made a payment.

                                      Table 2
                       Distribution of Loans in Repayment
                     Time in Repayment vs. Payments Made




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                               Table 3
                 Distribution of Loans in Deferment
               Time in Repayment vs. Payments Made




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                                         Table 4
                         Distribution of Loans in Forbearance
                        Time in Repayment vs. Payments Made




Multiplying the portfolio distribution in Tables 2 through 4 by the risk expectations in
Table 1 results in different weighted average implied annualized default rates for the
portfolio by loan status. The weighted average annualized default rate for loans in a
repayment status is 2.2%. The weighted average annualized default rate for the loans
in a deferment status is 3.7% and for loans in a forbearance status is 3.8%.

In short, a longer degree of extension means that borrowers have been struggling to
make payments for long periods of time. Such long duration of payment difficulty
results in a higher degree of default risk, suggesting that higher levels of defaults should
be expected in portfolios that experience significant extension. However, Moody’s
constant default rate approach, in which projected defaults are based on current default
levels, does not adequately match the increased risk of default associated with long
FFELP loan durations.

Any scenario with significant assumed extension must also consider the attendant non-
payment risk of the extended portfolio and the likelihood of back-end default and
reimbursements through the guarantee process.




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          (b) Default Risk Associated with Older Loans Enrolled in the IDR Program

Delinquency and default rates for FFELP loans that are in the Permanent Standard
period of the IBR plan are higher than the delinquency and default rates of FFELP loans
that are in a PFH period of the IBR plan or in the seasoned loan population. As a result,
Moody’s should modify the default assumption in the proposed methodology to properly
account for these increased default rates.

The IBR plan, which accounts for 95% of current IDR program usage, requires that
FFELP borrowers qualify for reduced payments based on their income, geography and
family size. Under the IBR plan, as a FFELP borrower’s discretionary income
increases, the required loan payments may also increase. As a result of the IBR
payment formula, there is a risk that borrowers could realize a relatively small increase
in income that would cause them to no longer be eligible for the PFH period. As a
result, the borrowers’ FFELP loans would transition from the PFH period to the
Permanent Standard period but the borrowers’ increased income might not be sufficient
to support an increase in payments.

Indeed, for the oldest FFELP loans in the IDR program, the delinquency and default
rates for FFELP loans that have exited the reduced payment phase are higher than the
delinquency and default rates for FFELP loans that are making reduced payments or
otherwise are not in an IDR plan (Chart 5).

                                       Chart 5
                               Annualized Default Rate
                           IDR Statuses vs. Rest of Vintage
                              2004 Repayment Vintage




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In contrast, borrowers that are newer to repayment show fewer defaults upon transition
out of the reduced payment phase of the IDR program (Chart 6). One reason to explain
this is that borrowers are typically enrolled in the IDR program to provide relief during
the transition between school and employment.

                                       Chart 6
                               Annualized Default Rate
                           IDR Statuses vs. Rest of Vintage
                                2010 Repayment Vintage




          (c) Default Risks Associated With Aging Borrowers Who Struggle to Make
              Payments for a Long Period of Time or Whose Loans are Eventually Paid
              Through a Death or Disability Claim

In the FFELP, death and disability claims are guaranteed at 100% of principal and
interest balances. In the universe of FFELP claims, death and disability are small in
overall terms because the number of aging borrowers in the program is relatively low.
Currently, fewer than 10% of all FFELP loan balances are owed by borrowers older than
age 60. As a result, a borrower’s age and mortality has not historically been a
significant consideration in evaluating FFELP loan defaults. However, in light of
Moody’s proposed assumptions regarding the long duration of FFELP loans, Moody’s
should consider an increasing amount of FFELP loan balances being owed by aging
borrowers who struggle to make payments for a long period of time or whose loans are
eventually paid through a death or disability claim, and incorporate these factors in
developing the revised methodology.



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The latest legal final maturity date of a Navient-sponsored FFELP ABS trust that is on
watch for downgrade by Moody’s is 2043. The average current age of Stafford loan
borrowers and Grad Plus loan borrowers is 37 years old, the average current age of
Consolidation loan borrowers is 43 years old and the average current age of parent
PLUS loan borrowers is 58 years old. As of a legal final maturity date in 2043, the
average age of Stafford loan borrowers and Grad Plus loan borrowers will be 65 years
old, the average age of Consolidation loan borrowers will be 71 years old and the
average age of parent PLUS loan borrowers will be 86 years old.

Grouping historical default claims by borrower age demonstrates that the oldest
borrowers generate a higher default rate than all other borrowers (Chart 7). The oldest
borrowers represented in this data were older when their loans were originated than
younger borrowers who experienced payment difficulty at an earlier age. However,
under the proposed methodology, Moody’s assumes that high volumes of borrowers will
struggle to make payments and, therefore, enroll in a deferment or forbearance status
or in the IDR program at earlier stages in the lives of their FFELP loans. If that were to
occur, even those younger borrowers would be subject to higher default risks as they
are assumed to remain in the portfolio for long periods of time.

                                      Chart 7
                           Cumulative Amount Defaulted
                   June 2011 through June 2015 by Borrower Age
                                 All Default Types




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Further, as borrowers age, death and disability claims will increase as a proportion of
total claims (Chart 8).

                                      Chart 8
                   Claims Filed by Claim Type and Borrower Age




Because Moody’s proposed methodology predicts that FFELP loans will be outstanding
for a significant portion of borrowers’ lives, we urge Moody’s to give additional
consideration in the revised methodology to (i) the correlation between borrower age
and the likelihood of default and (ii) the increase in death and disability claims that
would occur in very long extension scenarios. We do not suggest that significant future
defaults will occur because borrowers are aging. Instead, we suggest that the long
FFELP loan extensions projected under Moody’s stressed assumptions are unlikely to
occur because the assumptions do not appropriately consider the logical implications of
assumed long durations.

   B. Voluntary Prepayment Assumptions

In the Request for Comments, Moody’s proposes to adjust its assumptions regarding
voluntary prepayments. However, it is unclear whether Moody’s proposed methodology
accurately forecasts voluntary prepayments for FFELP loans in the repayment status.
The revised methodology should (1) use the CPR1 approach to calculating voluntary
prepayment rates and (2) should take into account additional factors that influence
default rates in extension scenarios.




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      1. Use CPR1 Methodology for Calculating Voluntary Prepayments

It is unclear whether Moody’s is using the correct methodology to calculate the constant
prepayment rate (“CPR”). We respectfully request that Moody’s confirm (a) that it is
using the CPR1 methodology (defined below) when calculating CPR for loans that are
in repayment status and (b) how the voluntary prepayment rate will be calculated under
the revised methodology.

          (a) Confirm Use of CPR1 Methodology

Navient discloses information regarding voluntary prepayment rates each calendar
quarter in the form of CPRs, which are calculated using two different methodologies.
Under both methodologies, the CPR is an annualized amount by which the actual pool
amortization exceeds the expected pool amortization as a percentage of the total pool
balance.

However, the two methodologies differ regarding the categories of loan statuses that
are included in determining the expected amount of pool amortization. The CPR1
methodology expects payments only from FFELP loans in a repayment status. FFELP
loans that are in a deferment or forbearance status are not expected to make payments
under the CPR1 methodology and, thus, are neutral to the CPR determined using that
methodology. On the other hand, the CPR2 methodology expects payments from
FFELP loans that are in repayment, deferment and forbearance statuses. Under the
CPR2 methodology, FFELP loans that are in a deferment or forbearance status have
CPRs less than zero.

Under the proposed methodology, each loan status bucket will be modeled separately.
The appropriate CPR methodology to apply is the CPR1 methodology because, when
determining the CPR for FFELP loans that are in a repayment status, the CPR1
methodology prevents double-counting the impacts of deferment and forbearance
status on the cash flows.

However, because Moody’s proposes to model CPR for Consolidation loan transactions
and because Navient does not currently report CPR for Consolidation loan transactions
using the CPR1 methodology, we are concerned that Moody’s may be inappropriately
applying the CPR2 methodology when calculating voluntary prepayments. We
respectfully request that Moody’s clarify that the CPR1 methodology is being used to
calculate voluntary repayment rates under the proposed methodology. We note and
agree with Moody’s use of the repayment balance as the denominator for the
prepayment rate.

          (b) Confirm How Voluntary Prepayment Dollars are Calculated

As demonstrated by Moody’s sample cash flow released in connection with the Request
for Comments, the proposed methodology appropriately relies on prepayment dollars to
calculate the numerator of the CPR methodology. However, we respectfully request

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that Moody’s clarify how prepayment dollars will be calculated under the revised
methodology. 10

        2. Proposed Assumptions for Prepayment Levels Are Too Conservative

In the Request for Comments, Moody’s indicates that it will assume an annual voluntary
prepayment rate of 0% CPR in certain circumstances, including in the expected base
case for Consolidation loans. However, we believe that a 0% CPR is too conservative
an assumption because (a) improving economic conditions are likely to increase
voluntary prepayment rates, (b) loan refinancing levels have been increasing in FFELP
ABS trusts since the beginning of 2014, and (c) the new RePAYE program could
potentially further increase FFELP loan refinancing activity for certain borrowers in the
near term.

            (a) Improving Economic Conditions Likely to Increase Voluntary Payment
                Rates

Economic conditions have a significant impact on prepayment rates. During periods of
economic recession, borrowers were more likely to conserve cash and, therefore, less
likely to make voluntary prepayments on their FFELP loans. However, we are currently
in a period of economic recovery during which the labor market, housing market and
overall economy are transitioning to a more stable footing. We are seeing relatively
high correlation of higher prepayment rates to positive trends in economic variables.



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10
  To determine CPR for voluntary repayments, we believe that is possible to derive the voluntary
payment rate used in the proposed methodology by deducting the constant default rate from the
aggregate CPR. We request that Moody’s clarify whether the assumptions in the proposed methodology
were created on this basis and, if so, that Moody’s provide more detailed guidance on this in the final
revised methodology.

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For example, when we normalize for loan refinancing activity, we see that interest rates
and consumer sentiment explain 80% of the variation in historical prepayment activity
(Table 5 and Chart 9 11). Apart from consumer sentiment, which is more difficult to
forecast and can be expected to vary around a base line index level, the expected
positive direction of all economic variables identified will tend to increase prepayment
activity.

                                           Table 5
                                  Variables Impacting CPR1

        Variable                 Relationship                    Rationale                 Expectations

Consolidation Principal    Higher consolidation          Normalizes for the impact       Rising
                           associated with higher        of different levels of loan
                           CPRs                          refinancing over time

Federal Funds Rate         Higher fed funds              Reflects expectations of        Rising
                           associated with higher        economic improvement,
                           CPRs                          borrowers more likely to
                                                         retire debt than conserve
                                                         cash; as Fed Funds rises,
                                                         variable rate borrowers
                                                         may consolidate to lock in
                                                         lower fixed rates

Consumer Sentiment         Improving consumer            Favorable outlook for           Improved from
                           sentiment associated with     economic prospects              recession, variable
                           higher CPRs                   makes borrowers more            around base of 100
                                                         willing to retire debt rather
                                                         than focus on cash
                                                         conservation




11
  Data includes loans in all Navient-sponsored Non-Consolidation loan ABS trusts, regardless of
servicer. Prior to the company’s separation from SLM Corporation in 2014, Navient sponsored FFELP
securitizations under the name SLM.

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                                     Chart 9
                       Non-Consolidation Loan Prepayments,
              Performance Compared to Macroeconomic Forecast Model




            (b) Loan Refinancing Activity Is Increasing

Loan refinancing levels have been increasing in our FFELP ABS trusts since the
beginning of 2014 (Chart 10 and Chart 11 12) for at least two reasons.

First, the Department of Education’s Direct Loan program has provided a loan
refinancing option for some FFELP borrowers. In addition to the FFELP, the
Department of Education has a separate student loan program called the Direct Loan
program under which FFELP borrowers are able to refinance their FFELP loans in
certain circumstances. The Direct Loan program’s repayment plans allow borrowers to
become eligible for income-driven repayment plans at higher income levels and also
provides for earlier loan forgiveness. We believe that increased public awareness of the
Direct Loan program’s plans has spurred loan refinancing activity among FFELP
borrowers who qualify for the Direct Loan program’s income-driven repayment and loan
forgiveness plans.




12
   Data includes Navient serviced loans in all Navient-sponsored issued Non-Consolidation and
Consolidation loan ABS trusts for Chart 9 and Chart 10, respectively. Prior to the company’s separation
from SLM Corporation in 2014, Navient sponsored FFELP securitizations under the name SLM.

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Second, in light of expectations that interest rates will begin to rise in the future, some
borrowers of older FFELP loans who still have variable rate loans may be seeking to
lock in current low interest rates through loan refinancing. This would lead to higher
prepayment rates.


                                       Chart 10
                         CPR Attributable to Loan Refinancing
                         FFELP Non-Consolidation ABS Trusts
                                   By Trust Vintage




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                                      Chart 11
                        CPR Attributable to Loan Refinancing
                             Consolidation ABS Trusts
                                  By Trust Vintage




          (c) RePAYE Program Likely to Further Increase Refinancing Activity for
              Certain Borrowers in Future

The anticipated RePAYE program could potentially further increase FFELP loan
refinancing activity for certain borrowers in the future. Under the existing PAYE
program, certain borrowers who were “new borrowers” as of October 1, 2007 are
eligible to refinance their FFELP loans into a refinancing loan under the Direct Loan
program that ties loan repayment to income and family size and provides benefits that
are not available under the FFELP.

On July 9, 2015, the Department of Education released a notice of proposed rulemaking
detailing the proposed RePAYE program. It is expected that the final RePAYE rule will
be issued before the end of 2015 and that borrowers will be able to refinance their
FFELP loans to enroll in the RePAYE program soon after the final rule is issued.

If adopted as proposed, the RePAYE program would (i) cap loan payments at 10% of
the borrower’s discretionary income, (ii) make loans eligible for forgiveness after 20
years (for borrowers who only took out undergraduate loans), and (iii) forgive half of the
unpaid interest accrued during the reduced payment period. These provisions of the
RePAYE program may be attractive to eligible FFELP borrowers who have been
struggling to make their existing payments for an extended period of time. In contrast to

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the RePAYE program, the existing FFELP IDR program (x) caps loan payments at 15%
of the borrower’s discretionary income, (y) make loans eligible for forgiveness after 25
years, and (z) does not provide forgiveness of any portion of unpaid interest associated
with the reduced payment period.

   C. DEFERMENT AND FORBEARANCE ASSUMPTIONS

In the Request for Comments, Moody’s proposes to apply its deferment and
forbearance assumptions in both the expected base case and stress case scenarios
throughout the life of a FFELP ABS transaction. While Moody’s recognizes that, in
dollar terms, the levels of deferment and forbearance usage decrease over time,
Moody’s indicates that the trend of deferment and forbearance usage remains flat when
expressed as a percentage of the aggregate outstanding principal balance of the
FFELP loans underlying the FFELP ABS trust. We disagree with Moody’s
interpretations of the data showing constant percentages of deferment and forbearance
usage.

       1. Rates of Deferment and Forbearance Usage Give Distorted View of FFELP
          ABS Pool Performance Expectation When the Remaining Outstanding
          Principal Balance of the Trust Student Loans is Low

Moody’s indicates that constant usage rates of deferment and forbearance will result in
longer weighted-average remaining terms for FFELP ABS trusts. This assertion seems
to be based on a mathematical calculation that ignores the fact that the FFELP loan
pools are amortizing on a net basis (Chart 12). For example, if there are only ten
FFELP loans left in a FFELP ABS trust and one is in a deferment status, Moody’s
proposed methodology would indicate that there is a 10% deferment usage rate. If 100
FFELP loans had originally been in the FFELP ABS trust, that one remaining loan in a
deferment status would represent only 1% of the original pool. So, this 10% deferment
usage rate used under the proposed methodology gives an inflated view of the
expected overall FFELP ABS performance.

For seasoned pools, Moody’s proposed deferment and forbearance usage rates would
be applied against a very small aggregate outstanding principal balance of FFELP
loans. For example, in the 2001 vintage shown in Chart 12, 1.8% of the aggregate
principal balance of the FFELP loans at the beginning of repayment remains
outstanding and, of that outstanding principal balance, approximately 32% is in a
deferment or a forbearance status. This 32% of loan volume that is currently in a
deferment or forbearance status represent only $32 million of outstanding principal
balance and only 0.6% of the initial principal balance of the 2001 vintage. Therefore,
the 32% usage rate, in and of itself, is not indicative of the overall extension experience
of the 2001 vintage.

When analyzing extension risk, Moody’s should recognize that the weight given to
deferment and forbearance usage rates should decline as the pool balance amortizes.
In addition, Moody’s should recognize that, as a FFELP ABS trust’s loan pool seasons

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further into repayment, only a small volume of remaining loans will exist even if
deferment and forbearance persist. Once the pool factor reaches a very low level, the
servicer’s execution of the optional servicer clean-up call is economically compelling,
given the magnitude of a trust’s fixed costs compared to the loans’ balances, and does
not require significant liquidity to execute. Therefore, the revised methodology should
assume the exercise of the optional servicer clean-up call in this case. 13

Chart 12 below illustrates that deferment and forbearance usage rates have fallen as a
percentage of the original pool balance for the 2001 vintage.

                                      Chart 12
                  Managed Stafford Loans Entering Repayment in 2001




        2. Administrative Forbearance Should Be Excluded When Deriving the Slope of
           Forbearance Usage Projections

As described more fully in Appendix A to this comment letter, there are four different
types of forbearance statuses available under the FFELP: (a) administrative,
(b) discretionary, (c) mandatory administrative and (d) mandatory forbearance. 14 To
more accurately analyze the FFELP ABS extension risk associated with forbearance
usage rates, Moody’s should analyze the impact of administrative forbearance


13
   A more detailed discussion of the optional servicer clean-up call can be found in Section II.E. of this
comment letter.
14
   A more detailed description of the types of forbearance statuses available under the FFELP is provided
in Appendix A to this comment letter.

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separately from the impact of forbearance relating to the economic hardship of the
borrower.

One type of forbearance permitted under the FFELP is a short-term administrative
forbearance (which we call “FORM”) that provides a borrower a period of up to 60 days
of nonpayment while that borrower applies and submits documentation for a requested
change in repayment plans. Beginning in 2014, Navient began to utilize FORM
forbearance at higher rates as borrowers needed additional time to enroll in the IDR
program or a deferment status.

Without normalizing for the use of FORM, forbearance rates appear to be at steady or
increased levels compared to historical usage (Chart 13 and Chart 14).

                                    Chart 13
             Stafford Loan Forbearance Usage by Repayment Vintage




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                             Chart 14
    Consolidation Loan Forbearance Usage by Repayment Vintage




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However, when impact of FORM is removed, the normalized trend shows declining
forbearance usage (Chart 15).

                                   Chart 15
                  Impact of FORM Status on Forbearance Usage




FFELP loans in a FORM status are in forbearance given that no payments are due
during that short transition period. Navient expects to continue to process borrower
transitions among payment plans through the use of the FORM status. As a result, we
do not propose that the FORM status be ignored when setting the absolute level of
forbearance usage in modeling Moody’s assumptions.




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However, when extrapolating the last two years of forbearance performance to derive a
slope for Moody’s proposed cash flow assumptions, the beginning of the use of FORM
distorts the historical trend for administrative forbearance and, therefore, for overall
forbearance. For example, as shown in Chart 16, without normalizing for administrative
forbearance in the last two years of history, the slope for future forbearance would
suggest an increase of 0.5% in the forbearance rate each calendar quarter. In fact, the
hardship forbearance levels have been decreasing by 0.1% per calendar quarter.

                                    Chart 16
       Impact of Administrative Forbearance Usage on Forbearance Trend
                        SLM Student Loan Trust 2006-1




We also note that the duration of FORM status is limited to 60 days, and only two
FORM statuses may be given consecutively. Given its short duration, we do not expect
the use of FORM to increase overall portfolio extension meaningfully.

To address the issue that changes in the application of administrative forbearance are
obscuring the declining usage of hardship-related forbearance, we propose that
Moody’s final revised methodology derive the current forbearance level from all FFELP
loans in any type of a forbearance status (i.e., including FFELP loans in an
administrative forbearance status) but derive the slope of the forbearance usage
projection based only on FFELP loans in a discretionary forbearance status (i.e., not
including FFELP loans in an administrative forbearance status).




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      3. Deferment and Forbearance Policies and Previous Usage Limit Amount of
         Future Deferment and Forbearance that Can Occur

The proposed methodology applies a forbearance and deferment usage assumption
across the entire lives of borrowers. However, based on historical activity, we urge
Moody’s to use more sophisticated means of analyzing the likelihood of borrowers’
future use of forbearance and deferment statuses based on: (a) regulatory and servicing
policy limits on the cumulative use of hardship deferment and discretionary forbearance,
(b) the progression of older FFELP loans towards those regulatory and servicing policy
limits, (c) predictions of future use of deferment and forbearance in light of borrowers’
past deferment and forbearance, and (d) the propensity and ability of FFELP borrowers
to use additional forbearance, which create a mathematical limit on the amount of
extension that can occur.

             (a) Limits on the Cumulative Use of Hardship Deferment and Discretionary
                 Forbearance

Deferment and forbearance policies limit the cumulative use of hardship deferment and
discretionary forbearance. School-related deferments on average account for 57% of
total deferment usage and school-related deferments do not have a cumulative use limit
under the FFELP so long as the borrower provides the proper enrollment
documentation. However, deferments other than school-related deferments (“hardship
deferments”) do have regulatory policies under the FFELP that limit the cumulative
length of time that a borrower may use those types of deferment to 36 months. Further,
as described more fully in Section III.C.3(b)(ii) below, Navient’s servicing policy is to
give no more than 60 months of cumulative discretionary forbearance with limited
exceptions.

             (b) Older FFELP Loans are Progressing Towards Regulatory and
                 Servicing Policy Limits

Cumulative usage of deferment and forbearance to date by older FFELP loans reflects
a decrease in borrowers’ future ability to use additional deferment and forbearance.




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                        (i) Deferment

Charts 17 and 18 below demonstrate the distribution of deferment used by repayment
vintage for Stafford and Consolidation loans, respectively. Among the remaining
Stafford loans that entered repayment prior to 2006, approximately 20% of those loans
have never used deferment. While 30% of remaining Stafford loans that entered
repayment prior to 2006 have used more than 60 months of deferment, the average
pool factor of these vintages is 3% and these loans are likely to have reached or be
near the limit on future hardship deferment usage. 15


                                        Chart 17
                         Outstanding Stafford Loans by Vintage
                       Loans Remaining in Portfolio (Not Paid Off)
                   Distribution of Cumulative Deferment Months Used




15
   The pool factor is defined as the aggregate remaining outstanding principal balance of the FFELP loans
in a repayment vintage, expressed as a percentage of the aggregate principal balance of the FFELP in
that repayment vintage at the beginning of repayment.

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                                     Chart 18
                   Outstanding Consolidation Loans by Vintage
                    Loans Remaining in Portfolio (Not Paid Off)
                Distribution of Cumulative Deferment Months Used




Consolidation loans are less likely than Stafford loans to have used deferment and
usage is more consistent across vintages of Consolidation loans. Across all
Consolidation loan vintages, 43% of loans remaining have never used deferment and
7% have used more than 60 months of deferment. However, the older Consolidation
loans are still progressing towards the cumulative use limit for hardship deferment.




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                       (ii) Forbearance

Charts 19 and 20 below demonstrate the distribution of forbearance usage by
repayment vintage for Stafford and Consolidation loans, respectively. Similar to
deferment, loans remaining in older vintages are more likely to have used forbearance
than newer vintages. Remaining Consolidation loans are less likely to have used
forbearance than remaining Stafford loans.


                                     Chart 19
                      Outstanding Stafford Loans by Vintage
                    Loans Remaining in Portfolio (Not Paid Off)
          Distribution of Cumulative Hardship Forbearance Months Used




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                                      Chart 20
                     Outstanding Consolidation Loans by Vintage
                     Loans Remaining in Portfolio (Not Paid Off)
         Distribution of Cumulative Discretionary Forbearance Months Used




Navient’s servicing policy is to limit one type of forbearance - discretionary forbearance -
to no more than 60 months on a cumulative basis. 16 Exceptions are limited and are
applied on a case by case basis. Charts 19 and 20 above demonstrate that
approximately 1.2% of the loans remaining in the Stafford and Consolidation loan
portfolios have used more than 60 months of discretionary forbearance. Of that 1.2% of
loans, nearly 60% had a cumulative discretionary forbearance usage of 61 months and
97% had a cumulative discretionary forbearance usage of 72 or fewer months. As a
result, even though a small number of FFELP loans may receive discretionary
forbearance past Navient’s 60-month servicing policy limit, the cumulative discretionary
forbearance usage still has an upper limit, with only a very small number of FFELP
loans exceeding the servicing policy limit and with those exceptions providing only a
short period of additional discretionary forbearance.

                (c) Use Borrowers’ Past Deferment and Forbearance Activity to Predict
                    Future Deferment and Forbearance Activity

Cumulative usage of deferment and forbearance to date within a pool of FFELP loans is
important because prior usage of deferment and forbearance is predictive of future
usage. Simply stated, FFELP borrowers who have never used deferment or

16
  A more detailed description of the various types of forbearance statuses available under the FFELP is
provided in Appendix A to this comment letter.

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forbearance in the past are significantly less likely to enter deferment or forbearance in
the future.

The tables below reflect the performance of a population of FFELP loans based on their
cumulative prior deferment usage or forbearance usage, as applicable, as of June 2010.
The percentages in each table reflect the percentage of FFELP loans that used, or did
not use, deferment or forbearance, as applicable, between July 2010 and June 2015
(the “review period”).

                 (i) Deferment

Table 6 demonstrates that, of the Stafford loans that had never used a deferment prior
to the review period, approximately 40% used a first deferment by June 2015 and 60%
did not use deferment at all during the review period. Conversely, 68-72% of Stafford
loans that had used deferment prior to the review period used additional deferment
during the review period, suggesting high repeat usage of deferment. The cumulative
amount of deferment used by these Stafford loans prior to the review period did not
have a significant impact on the likelihood of those Stafford loans to use additional
deferment during the review period. Rather, mere usage of deferment in the past was a
significant indicator of future usage.

                                      Table 6
             Propensity of Stafford Loans to Use Additional Deferment

                                       % of Loans Using        % of Loans That Did Not Use
Cumulative Deferment Used As of      Additional Deferment      Additional Deferment through
           June 2010                  through June 2015                 June 2015

           Never Used                        40%                           60%

          1-12 Months                        68%                           32%

          13-24 Months                       68%                           32%

          25-36 Months                       68%                           32%

          37-48 Months                       70%                           30%

          49-60 Months                       72%                           28%




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Table 7 demonstrates the trends in repeat deferment usage for Consolidation loans. At
all levels of prior deferment usage, Consolidation loans are less likely to use additional
deferment than are Stafford loans. In particular, 84% of Consolidation loans that never
used deferment prior to the review period did not use deferment within the review
period. Once again, the usage of deferment in the past seems is a significant indicator
of future usage.

                                     Table 7
          Propensity of Consolidation Loans to Use Additional Deferment

                                       % of Loans Using       % of Loans That Did Not Use
   Cumulative Deferment Used         Additional Deferment     Additional Deferment through
       As of June 2010                through June 2015                June 2015

          Never Used                         16%                          84%

          1-12 Months                        44%                          56%

          13-24 Months                       48%                          52%

          25-36 Months                       42%                          58%

          37-48 Months                       49%                          51%

          49-60 Months                       54%                          46%




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                 (ii) Forbearance

Tables 8 and 9 demonstrate the likelihood that a Stafford or Consolidation loan would
use additional forbearance during the review period. Stafford loans have the lowest
likelihood of using additional forbearance where they have never used forbearance in
the past (i.e., where 47% of loans used forbearance within the review period) and as
they approach Navient’s 60-month servicing policy limit (i.e., where only 40% of the
loans used forbearance during the review period). As with deferment, Consolidation
loans have a lower likelihood of using forbearance across all categories of previous
usage and, like for Stafford loans, they have the lowest likelihood of using forbearance if
they have never used it before and as they approach the servicing policy limit.

                                      Table 8
            Propensity of Stafford Loans to Use Additional Forbearance

                                       % of Loans Using        % of Loans That Did Not Use
  Cumulative Forbearance Used       Additional Forbearance       Additional Forbearance
        As of June 2010               through June 2015             through June 2015

          Never Used                         47%                          53%

          1-12 Months                        81%                          19%

          13-24 Months                       89%                          11%

          25-36 Months                       89%                          11%

          37-48 Months                       81%                          19%

          49-60 Months                       40%                          60%


                                     Table 9
        Propensity of Consolidation Loans to Use Additional Forbearance

                                       % of Loans Using        % of Loans That Did Not Use
  Cumulative Forbearance Use        Additional Forbearance       Additional Forbearance
       As of June 2010                through June 2015             through June 2015

          Never Used                         15%                          85%

          1-12 Months                        57%                          43%

          13-24 Months                       75%                          25%

          25-36 Months                       82%                          18%

          37-48 Months                       71%                          29%

          49-60 Months                       32%                          68%


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              (d) Propensity and Ability of FFELP Borrowers to Use Additional
                  Forbearance Create a Mathematical Limit on Extension

The propensity and ability of FFELP borrowers to use additional forbearance create a
mathematical limit on the amount of extension that can occur.

Table 10 demonstrates how the usage to date and usage expectations combine to
generate an overall limit on future use of the forbearance status. To best explore the
ability of forbearance to persist as FFELP loans age, we conducted the analysis on
vintages that already have a significant performance history; that is, Stafford loans that
entered repayment prior to 2006.

                                     Table 10
         Distribution of Cumulative Forbearance Used Among Remaining
             Stafford Loans That Entered Repayment Before 2006 and
                     Propensity to Use Additional Forbearance

                                                  (B) % Use Additional     (C) Number of
                            (A) Portfolio         Forbearance in Next 5   Additional Forb
Cumulative Forb Used        Distribution                 Years            Months Available

      Never Used                14%                       35%                    60

     1-12 Months                10%                       64%                    54

     13-24 Months               9%                        68%                    41

     25-36 Months               10%                       66%                    29

     37-48 Months               12%                       70%                    18

     49-60 Months               41%                       72%                     3

     > 60 Months                4%                         n/a                    0


Based on the distribution of prior forbearance usage in column (A) of Table 10,
multiplied by the likelihood that Stafford loans in each category use additional
forbearance in column (B) of Table 10, 62% of the overall portfolio would be expected to
use additional forbearance. Within this portion of the portfolio, Stafford borrowers may
use variable amounts up to a total of 60 months of discretionary forbearance. The
product of columns (A) and (C) of Table 10 suggests that the weighted average
remaining duration of discretionary forbearance that can be used in the portfolio would
only be approximately 24 months.

If the remaining expected forbearance assumption is that 10% of the FFELP loans in
the portfolio remain in a forbearance status, the facts above can be used to determine
how long 10% of the seasoned portfolio can remain in a forbearance status without
exceeding the cumulative use servicing policy limit on discretionary forbearance.

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Table 11 demonstrates the calculation for Stafford loans that entered repayment before
2006.

                                    Table 11
          Derivation of Maximum Expected Duration of Forbearance Use
        For Remaining Stafford Loans that Entered Repayment Prior to 2006

(A) Assumed Forbearance Rate                                                        10%

(B) Proportion of Portfolio Expected to Use Forbearance in the Future               62%



(C) Percentage of Portfolio Expected to Eventually Use Forbearance that is in       16%
Forbearance at Any Given Time (C = A / B)



(D) Number of Remaining Months Eligible for Forbearance                              24

(E) Number of Remaining Years Eligible for Forbearance (E = D / 12)                   2



(F) Remaining Possible Years of Forbearance Usage (F = E / C)                        12


Given that only approximately 62% of the population is likely to use additional
forbearance in the future, to keep the portfolio forbearance rate at 10% of the
population, at any given time approximately 16% of those likely to use forbearance must
be in a forbearance status (or 10% divided by the 62% who are likely to use
forbearance). This 16% can only remain in a forbearance status for approximately 24
months before they exceed the servicing policy limit. Most simply, assume that 16% of
those likely to use forbearance remain in a forbearance status for 24 months and then
the next 16% take their place. In that case, the total duration that forbearance can
logically persist is for an additional two years for each 16% of the portfolio, or
approximately 12 years.

While 12 years is a significant period of time, it is significantly shorter than the proposed
methodology’s assumption projecting ongoing forbearance usage through legal final
maturity dates of outstanding FFELP ABS trusts into the 2030s and 2040s.

Under Moody’s proposed methodology, the AAA assumption is that no less than 20% of
the Stafford loan portfolio is in a forbearance status. However, that 20% level is only
mathematically possible for six years.

In addition, as the portfolio continues to age, both prepayments out of the FFELP loan
pool and increased use of the IDR program reduce the propensity of the remaining


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FFELP loans to use deferment and forbearance. As a result, the estimate in Table 11 is
most likely conservative.

Table 12 demonstrates the population distribution and likelihood that Consolidation
loans will use additional forbearance. As demonstrated in Chart 20 and Table 9,
Consolidation loans are less likely to have used forbearance than Stafford loans, and
are less likely to begin to use forbearance if they have not done so before. On a net
basis, the lower expected usage of forbearance, even for longer periods of time, leads
to a logical limit of an additional 10 years of forbearance for the most seasoned
Consolidation loans.


                                  Table 12
               Distribution of Cumulative Forbearance Among
    Remaining Consolidation Loans that Entered Repayment Before 2006 and
                 Propensity to Use Additional Forbearance

                                                 (B) % Use Additional     (C) Number of
                           (A) Portfolio         Forbearance in Next 5   Additional Forb
Cumulative Forb Used       Distribution                 Years            Months Available

     Never Used                38%                       11%                   60

     1-12 Months               13%                       47%                   53

     13-24 Months              8%                        64%                   41

     25-36 Months              7%                        74%                   29

     37-48 Months              7%                        66%                   17

     49-60 Months              26%                       32%                    2

     > 60 Months               2%                         n/a                   0




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Table 13 demonstrates the forbearance limit calculation for Consolidation loans.
Consolidation loans have lower repeat usage of forbearance, but they also have used
less forbearance to date, meaning those Consolidation loan borrowers who use
additional forbearance in the future can remain in such status for longer. On a net
basis, the lower expected usage of forbearance, even for longer periods of time, leads
to a logical limit of an additional 10 years of forbearance for the most seasoned
Consolidation loans, assuming a forbearance usage rate of 10%. Under Moody’s
proposed methodology, the AAA assumption is that not less than 15% of the
Consolidation loan portfolio is in a forbearance status. However, that 15% level is only
mathematically possible for seven years.

                                   Table 13
         Derivation of Maximum Expected Duration of Forbearance Use for
       Remaining Consolidation Loans That Entered Repayment Prior to 2006

(A) Assumed Forbearance Rate                                                     10%

(B) Proportion of Portfolio Expected to Use Forbearance in the Future            33%



(C) Percentage of Portfolio Expected to Eventually Use Forbearance that is in    30%
Forbearance at Any Given Time (C = A / B)



(D) Number of Remaining Months Eligible for Forbearance                           36

(E) Number of Remaining Years Eligible for Forbearance (E = D / 12)               3



(F) Remaining Possible Years of Forbearance Usage (F = E / C)                     10


Given regulatory limits on hardship deferment, servicing policy limits on discretionary
forbearance, and seasoning benefits, we submit, therefore, that indefinite extension of
deferment and forbearance is not realistic.

        4. Pool-Wide Usage of Deferment and Forbearance Decreases as FFELP
           Loans Pay off, Default or Meet Criteria for Guarantee Claim Payments

As discussed more fully in Section III.A.2(b) above, FFELP borrowers who use lengthy
deferment and forbearance statuses do so as a result of credit stress. So, as a FFELP
loan pool continues to season, a meaningful number of the loans that are at a
heightened risk for additional use of deferment and forbearance will instead default and
be removed from the loan pool.



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Further, to the extent high defaults have already occurred within a loan pool and the
defaulted loans have been removed from the pool, higher levels of deferment and
forbearance usage are not as likely to occur with respect to the remaining higher credit-
quality loans.

   D. Income-Driven Repayment Assumptions

In the Request for Comments, Moody’s proposes to adjust the existing methodology to
account for the growing use of the IBR plan or other similar plans by adding an IBR
adjustment factor to forbearance assumptions. While we agree with Moody’s that it is
appropriate to adjust the ratings model to consider the usage of IDR programs, such as
IBR, we believe the impacts of IDR usage should be modeled separately from other
loan performance assumptions to more precisely account for the parameters of the IDR
program and to more accurately reflect the historical performance of IDR loans.

The new IDR assumption in the revised methodology should reflect (1) the loan
forgiveness aspect of the IBR plan, (2) the technical aspects of IDR loans, (3) the
amortization of IBR loans over time, and (4) the higher default risk of older FFELP loans
using IDR.

       1. Loan Forgiveness Aspect of IBR Plan

In developing the new IDR assumption, Moody’s should appropriately account for the
loan forgiveness aspect of the IDR program. As described more fully in Section II.D.1 of
this comment letter and in Appendix A to this comment letter, FFELP loans that have
been enrolled in an IBR plan at any point in their lifetime are eligible for loan forgiveness
on the later of 25 years following the qualification date and 25 years of qualifying
payments made (including periods where the calculated payment was zero). When a
FFELP loan is forgiven, the principal balance of the loan is reduced to zero and a
corresponding payment equal to 100% of principal and interest is made to the FFELP
ABS trust that owns the FFELP loan.

Generally, borrowers with low incomes relative to their debt burdens are likely to
become eligible for loan forgiveness. Given the distribution of the current IBR loan
portfolio by current aggregate outstanding principal balance, we project that between
22% and 76% of FFELP loans that are currently in the PFH period of an IBR plan will
become eligible for loan forgiveness.

       2. Technical Considerations Relating to IDR Loans

In developing the new IDR assumption, Moody’s should consider the following technical
aspects of the IDR program: (a) interest payments are made on certain IDR loans,
(b) IBR loans only capitalize interest upon exit from the PFH period, and (c) IDR loans
can be in a deferment or forbearance status.




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          (a) Interest Payments are Made on Certain IDR Loans

The proposed methodology does not take into account the interest payments made on
certain IDR loans. The Department of Education pays the unpaid accrued interest on
subsidized loans that are in the IBR plan. Among loans in the IDR plan that do not owe
a monthly payment, 46% of Stafford loans and 44% of Consolidation loans are
subsidized loans. This is similar to the interest subsidy payments that are paid on
FFELP loans in the deferment status. Therefore, to the extent that the revised
methodology does not create a new, separate IDR assumption, it should model IDR
loans as additions to FFELP loans in a deferment status to more accurately reflect the
mechanisms of trust payments and borrower interest balances.

          (b) IBR Loans Only Capitalize Interest Upon Exit from PFH Period

The proposed methodology assumes that IBR loans will capitalize interest annually.
This assumption is incorrect. In reality, IBR loans will capitalize interest only once upon
exiting the income-driven, reduced payment PFH period of the IBR plan.

          (c) IDR Loans Can Be in a Deferment or Forbearance Status

A FFELP loan’s participation in an IDR program is a separate concept from that loan’s
status. Under the FFELP, each loan is characterized to be in one of five statuses:
(i) in-school, (ii) grace, (iii) repayment, (iv) deferment, and (iv) forbearance. IDR
describes the payment amount that is due regardless of the status. Borrowers typically
enroll in an IDR program while in a repayment status. However, IDR borrowers can
place their FFELP loans in a deferment or forbearance status if those borrowers return
to school or if the IDR payments pose a hardship.



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As demonstrated in Chart 21, on average over time, approximately 13% of IDR loans
are in a deferment or forbearance status.

                                    Chart 21
            Repayment Status of Loans in IDR Reduced Payment Period




Moody’s should ensure that the assumptions in the revised methodology do not double-
count IDR loans that are in deferment or forbearance.

       3. IBR Loans Amortize Over Time

The IBR assumptions in the revised methodology should recognize that IBR loans do, in
fact, amortize over time. When considering the pool factors of Stafford loans from the
time of IBR entry, Stafford loans pay down 30-40% of the initial loan balance over
approximately five years (Chart 22). Consolidation loans also amortize between 10%
and 20% over the same period (Chart 23). The payments on the IBR loans come
primarily through either (a) partial prepayments made opportunistically by the borrower
(for example, some borrowers elect to make extra principal payments on their IBR loans
upon receipt of their tax refunds) and (b) payments in full through loan refinancing to the
Direct Loan program. This amortization should not be ignored in Moody’s revised
methodology.




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                               Chart 22
    Stafford Pool Factors Since PFH Enrollment by Month Enrolled




                              Chart 23
 Consolidation Pool Factors Since PFH Enrollment by Month Enrolled




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Chart 24 demonstrates the change in the pool balance of PFH loans, net of negative
amortization that occurs as PFH loans capitalize interest upon exiting the income-driven
reduced payment portion to a Permanent Standard period or to a deferment or
forbearance status. IBR loans amortize through a combination of partial prepayments
and payments in full, many of which are payments through loan refinancing.

                                    Chart 24
        Sources of Pool Amortization, Loans Entering PFH in January 2010




       4. Older FFELP Loans Using IDR Have Higher Default Risk

As discussed more fully in Section III.A.2(c) above, the final default assumptions should
properly account for the default risk of older FFELP loans enrolled in the IDR program.

   E. Cash Flow Modeling Implications of Proposed Loan Performance
      Assumptions

When applying the revised methodology’s loan performance assumptions in connection
with ratings activity, Moody’s should (1) clarify how loan performance assumptions will
be established for new transactions and (2) confirm that it will rely on issuer-specific and
transaction-specific data.

       1. Revised Methodology Should Clarify How Certain Loan Performance
          Assumptions Will Be Established for New Transactions

The proposed methodology primarily refers to how assumptions will be set for existing
FFELP ABS transactions where historical performance data can be used to project

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                                             Appendix A

                                 OVERVIEW OF FFELP LOANS

Throughout our comment letter, we refer to a number of key features of FFELP loans,
including the nature of the government guarantee and the various types of FFELP
loans. We also refer to FFELP loans on the basis of their loan status or their
participation in income-driven repayment plans. In this Appendix A, we provide a high-
level overview of the key features of the FFELP relevant to this comment letter and to
the proposed methodology. For additional information about the FFELP, please refer to
the Common Manual. 17

     A. Federal Guaranty

A FFELP loan is a loan originated under the Federal Family Education Program (the
“FFELP”), which was established under Title IV of the Higher Education Act of 1965.
Under the FFELP, loans were extended to students enrolled in eligible institutions, or to
parents of dependent students, to finance their education costs. In addition to the
FFELP, the Department of Education has a separate student loan program called the
Direct Loan program but loans originated under that program are not FFELP loans and
they are never included in FFELP ABS.

Under the FFELP, student loans originated by eligible private lenders were guaranteed
by designated state agencies and other not-for-profit organizations and reinsured by the
federal government.

Notwithstanding the fact that the FFELP was terminated as of July 1, 2010 and no
FFELP loans have been originated since that time, outstanding FFELP loans retain their
federal guarantee.

Payment of principal and interest on the FFELP loans is guaranteed against: (a) default
of the borrower; (b) death, bankruptcy or permanent, total disability of the borrower;
(c) closing of the borrower’s school prior to the end of the academic period; (d) false
certification by the borrower’s school of his eligibility for the loan; and (e) an unpaid
school refund.

FFELP loans are insured as to 100% of principal and accrued interest against death or
discharge. FFELP loans are also insured against default at a percentage of 97% to
100% based on the date of disbursement of the FFELP loan.




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   First published in December 1995, the Common Manual is a cooperative effort of the nation’s
guarantors that participate in the FFELP. The manual is a resource created and maintained by
guarantors to simplify and streamline the federal rules and regulations for the FFELP, and provides
single, standardized policy guidance for schools and lenders.

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   B. Types of FFELP Loans

Five types of FFELP loans were authorized under the Higher Education Act:
(1) subsidized Stafford Loans to students who demonstrate requisite financial need;
(2) unsubsidized Stafford Loans to students who either do not demonstrate financial
need or require additional loans to supplement their Subsidized Stafford Loans;
(3) loans to parents of dependent undergraduate students whose estimated costs of
attending school exceed other available financial aid; (4) loans to parents of dependent
graduate students whose estimated costs of attending school exceed other available
financial aid; and (5) Consolidation Loans, which consolidate into a single loan a
borrower’s obligations under various federally authorized student loan programs.

In this comment letter, (a) the loans identified in clause (1) and (2) above are collectively
referred to as “Stafford loans”; (b) Stafford loans and the loans identified in clauses (3)
and (4) above are collectively referred to as “Non-Consolidation loans”; and (c) the
loans identified in clause (5) above are referred to as “Consolidation loans.”

99% of Stafford Loans will have entered repayment by the end of 2015 and all
Consolidation loans entered repayment before or during 2008.

   C. FFELP Loan Statuses

Under the FFELP, each loan is characterized in one of five loan statuses: (1) in-school,
(2) grace, (3) repayment, (4) deferment or (5) forbearance.

       1.     In-School: The in-school status applies to a FFELP borrower for the initial
period during which the borrower is enrolled in school at least half-time. During this
time, the borrower is not obligated to make payments with respect to the FFELP loan.

       2.     Grace: The grace status is a period during which the FFELP borrower is
not obligated to make payment on the FFELP loan. The grace status is intended to
provide the student borrower with time after school to find employment and prepare to
repay the FFELP loan.

      3.     Repayment: The repayment status is a period during which the FFELP
borrower is obligated to make scheduled loan payments.

        4.    Deferment: Deferment is a status available to FFELP borrowers to help
them meet their loan repayment obligations. Once the repayment period has begun,
the borrower is entitled to defer payments on a FFELP loan when applicable eligibility
criteria are met.

The circumstances that establish a FFELP borrower’s eligibility for a deferment status
are when the borrower is: (a) enrolled in school at least half-time; (b) enrolled in an
approved graduate fellowship program or rehabilitation program; (c) seeking, but unable



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to find, full-time employment; (e) experiencing economic hardship; or (e) in active or
post-active military service.

The cumulative use limit for a deferment status depends on the type of deferment.
There is no limit for school or military service deferments. However, under the FFELP,
all other deferments are considered hardship deferments and are limited to 36 months
of cumulative use.

       5.    Forbearance: Forbearance is a status available to FFELP borrowers to
help them meet their loan repayment obligations. By granting a forbearance status, a
servicer permits a temporary cessation of payments, allows an extension of time for
making payments, or temporarily accepts smaller payments than were previously
scheduled.

Today, a forbearance status is most often granted when a deferment status or
participation in an Income-Driven Repayment (IDR) program is not available to the
borrower, the borrower’s hardship is considered temporary, or when IDR payments still
pose a financial hardship for the borrower.

There are four types of forbearance available to FFELP borrowers:

   1. Administrative Forbearance: Administrative forbearance is granted for payments
      of principal and interest that are overdue or would be due in circumstances
      including, but not limited to, a bankruptcy filing, closed school or false
      certification, identity theft, or to cover periods of delinquency before or after an
      authorized deferment or forbearance status.

   2. Discretionary Forbearance: Discretionary forbearance is given where the
      borrower intends to repay the FFELP loan but cannot make payments in the
      short term as a result of economic hardship, health concerns or other acceptable
      reasons. As the name suggestions, this type of forbearance status is granted at
      the discretion of the servicer.

   3. Mandatory Administrative Forbearance: Under the FFELP, a servicer must grant
      a mandatory administrative forbearance in cases such as in a national
      emergency, for military mobilization, or for borrowers in a designated disaster
      area. Mandatory administrative forbearance does not require a request from the
      borrower.

   4. Mandatory Forbearance: Upon receiving a FFELP borrower’s request and
      documentation required to support the borrower’s eligibility, a servicer must grant
      a mandatory forbearance status in situations including, but not limited to, medical
      or dental internship or residency, active military state duty as a member of the
      National Guard, or the Department of Defense Student Loan Repayment
      Program. The servicer must grant a mandatory forbearance upon the borrower’s
      request.

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Like for deferments, the cumulative use limits for forbearance depends on the
forbearance type. Under the FFELP, there is no cumulative use limit for discretionary
forbearance or for most mandatory forbearance statuses. The cumulative use limit for
most types of administrative forbearance varies between 60 and 120 days. Other types
of administrative forbearance, such as internship or residency forbearance, extend for
the entire duration that the borrower is experiencing the eligible condition. As described
more fully in Section III.C.3(b)(ii) of the comment letter, Navient’s servicing policy is to
limit the cumulative use of discretionary forbearance to 60 months with limited
exceptions.

   D. Income-Driven Repayment Programs

The Income-Driven Repayment (IDR) program are available to assist FFELP borrowers
by setting their monthly loan payment at an amount that is intended to be affordable
based on the borrower’s income and family size. A FFELP borrower’s enrollment in the
IDR program determines the amount of the borrower’s monthly loan payment regardless
of loan status. In other words, IDR is not a loan status but instead is a repayment
program that a FFELP loan of any loan status can enroll in.

There are two IDR plans available in the FFELP: (1) Income-Sensitive Repayment
(ISR); and (2) Income-Based Repayment (IBR).

       1. Income-Sensitive Repayment

ISR has been available under the FFELP since 1995. Where the FFELP borrower’s
income is insufficient to repay the FFELP loan over a maximum repayment period, the
borrower can designate a monthly payment amount between 4% and 25% of his or her
monthly income, so long as the payment is sufficient to cover interest payments. If this
payment amount does not amortize the FFELP loan over its maximum term, the
servicer can grant up to five years of reduced payment forbearance in order to amortize
the FFELP loan fully. The borrower must re-certify income annually to continue to make
reduced payments under the ISR plan, and there is no loan forgiveness associated with
the ISR plan. ISR comprises approximately 5% of current IDR program usage.

       2. Income-Based Repayment

The remaining 95% of current IDR program usage is made up of FFELP loans in the
IBR plan. The IBR plan has been available to FFELP borrowers since July 1, 2009 and
provides for payments to be capped based on the borrower’s adjusted gross income.

       (a) Partial Financial Hardship

Loans enter IBR based on the presence of a Partial Financial Hardship (“PFH”). A PFH
is present when the loan payment calculated under the IBR formula is lower than the
loan’s stated payment amount. The IBR payment is set at 15% of the difference

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between the borrower’s adjusted gross income and one-and-a-half times the poverty
guideline for the borrower’s family size and state; with the preceding quantity divided by
12. Borrowers must reapply annually to certify that they still meet the criteria for
reduced payments under the PFH period of the IBR plan. Parent PLUS loans are not
eligible for an IBR plan.

During the PFH period of the IBR plan, subsidized loans will receive subsidy payments
for up to three consecutive calendar years of PFH enrollment. Interest capitalization
occurs when FFELP loans transition out of the PFH period; there is no interest
capitalization during the PFH period.

       (b) IBR Repayment Plans

FFELP borrowers who are no longer eligible for the PFH period may transition to one of
two repayment alternatives. If borrowers do not elect otherwise, their FFELP loans will
transition to the “Permanent Standard” repayment period. When a loan exits the PFH
period and enters the Permanent Standard period, interest capitalizes and a new
payment is determined. The payment is equal to an amortizing payment based on (i)
the balance that originally entered the PFH period, (ii) the loan’s interest rate, and (iii) a
120-month term. Once the payment amount has been determined, the remaining term
will equal the number of months required to fully amortize the FFELP loan at the
determined payment amount. Because the balance exiting the PFH period could
exceed the balance that originally entered in the PFH period, the term required to
amortize the FFELP loan could exceed 120 months.

The other possible repayment option under IBR is called the “Expedited Standard”
repayment period. A FFELP borrower can enter an Expedited Standard phase at any
time after the PFH period, including from a Permanent Standard phase. Under the
Expedited Standard phase, the borrower leaves the IBR plan altogether. When the
borrower opts for Expedited Standard, the remaining term of the FFELP loan is reset to
the original contractual term, minus payments made to date (including payments made
during the PFH and any Permanent Standard periods).

       (c) Loan Forgiveness

FFELP loans that have been enrolled in an IBR plan at any point in their lifetime are
eligible for loan forgiveness after the later of 25 years following the qualification date
and 25 years of qualifying payments made. When a FFELP loan is forgiven, the
principal balance of the FFELP loan is reduced to zero and the guarantor provides
reimbursement of 100% of outstanding principal and interest on the FFELP loan.

Qualification Date: The qualification date for measuring whether 25 years has passed
under the loan forgiveness program is: (a) the date of the first payment (based on 120-
month amortization) or the date of economic hardship since July 1, 2009; or (b) for
loans with no payments or deferments, the date of first enrollment in the IDR plan.



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Qualifying Payments: Payments that accrue toward loan forgiveness include: (a) all
payments made while the FFELP loan was in a PFH period or a Permanent Standard
period of the IBR plan; (b) any other payments made under a 10-year repayment term;
(c) payment dates that occur while the FFELP loan is in a hardship deferment status
(i.e., including periods where the calculated payment is zero).




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                                       Appendix B

                                DATA METHODOLOGY

Throughout our comment letter, we provide data to support our comments. The
methodology for presenting this data is described in this Appendix B.

Unless otherwise noted, the data reflect Navient-serviced FFELP loans that are owned
by Navient or by a Navient-sponsored securitization trust. The data are presented as of
June 30, 2015. The data do not include Navient-owned FFELP loans that are serviced
by third parties, even where Navient acts as the master servicer for those FFELP loans
in connection with a securitization trust.

The FFELP loans included in this data were originated prior to the end of the FFELP
program on June 30, 2010 and most were originated prior to June 2008. Since July 1,
2010, all federal student loans are made directly by the Department of Education and
serviced by companies including Navient. Loans serviced under Navient’s contract with
the Department of Education are not included in this data.

Vintage refers to the year in which FFELP loans entered repayment for the first time.
Vintage-based amortization analysis included in the data presented in this comment
letter is limited to FFELP loans that were present in the Navient-serviced portfolio for
their full repayment lives and exclude loans that were acquired by Navient after initially
entering repayment.

Each FFELP ABS trust sponsored by Navient is backed by a discrete pool of FFELP
loans. The data in this comment letter may not necessarily be reflective of the
performance of the FFELP loans owned by a particular FFELP ABS trust.




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                  Exhibit 4




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                                         UNITED STATES
                             SECURITIES AND EXCHANGE COMMISSION
                                                         Washington, D.C. 20549

                                                              Form 10-K
(Mark One)
    Í      ANNUAL REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES EXCHANGE
           ACT OF 1934
                 For the fiscal year ended December 31, 2015
                                                                          or
        ‘        TRANSITION REPORT PURSUANT TO SECTION 13 or 15(d) OF THE SECURITIES
                 EXCHANGE ACT OF 1934
                 For the transition period from                      to
                                                     Commission file numbers 001-36228


                                          Navient Corporation
                                                 (Exact Name of Registrant as Specified in Its Charter)

                               Delaware                                                                      XX-XXXXXXX
                       (State or Other Jurisdiction of                                                      (I.R.S. Employer
                      Incorporation or Organization)                                                       Identification No.)

       123 Justison Street, Wilmington, Delaware 19801                                                    (302) 283-8000
                 (Address of Principal Executive Offices)                                                 (Telephone Number)
                                            Securities registered pursuant to Section 12(b) of the Act
                           Title of Each Class                                               Name of Exchange on which Listed
Common stock, par value $.01 per share                                                      The NASDAQ Global Select Market
Medium Term Notes, Series A, CPI-Linked Notes due 2017                                      The NASDAQ Global Select Market
Medium Term Notes, Series A, CPI-Linked Notes due 2018                                      The NASDAQ Global Select Market
6% Senior Notes due December 15, 2043                                                       The NASDAQ Global Select Market
                                           Securities registered pursuant to Section 12(g) of the Act:
                                                                     None.

       Indicate by check mark if the registrant is a well-known seasoned issuer, as defined in Rule 405 of the Securities
Act.     Yes Í       No ‘
       Indicate by check mark if the registrant is not required to file reports pursuant to Section 13 or 15(d) of the Act.      Yes ‘       No Í
     Indicate by check mark whether the registrant: (1) has filed all reports required to be filed by Section 13 or 15(d) of the Securities
Exchange Act of 1934 during the preceding 12 months (or for such shorter period that the registrant was required to file such reports), and
(2) has been subject to such filing requirements for the past 90 days. Yes Í          No ‘
     Indicate by check mark whether the registrant has submitted electronically and posted on its corporate Web site, if any, every
Interactive Data File required to be submitted and posted pursuant to Rule 405 of Regulation S-T during the preceding 12 months (or for
such shorter period that the registrant was required to submit and post such files). Yes Í       No ‘
     Indicate by check mark if disclosure of delinquent filers pursuant to Item 405 of Regulation S-K is not contained herein, and will not be
contained, to the best of registrant’s knowledge, in definitive proxy or information statements incorporated by reference in Part III of this
Form 10-K or any amendment to this Form 10-K ‘
     Indicate by check mark whether the registrant is a large accelerated filer, an accelerated filer, a non-accelerated filer, or a smaller
reporting company. See the definitions of “large accelerated filer,” “accelerated filer” and “smaller reporting company” in Rule 12b-2 of the
Exchange Act. (Check one):

Large accelerated filer Í                                                                                                          Accelerated filer ‘
Non-accelerated filer ‘                                                                                                  Smaller reporting company ‘
(Do not check if a smaller reporting company)
       Indicate by check mark whether the registrant is a shell company (as defined in Rule 12b-2 of the Exchange Act).            Yes ‘       No Í
     The aggregate market value of voting stock held by non-affiliates of the registrant as of June 30, 2015 was $6.8 billion (based on
closing sale price of $18.21 per share as reported for the NASDAQ Global Select Market).
       As of January 31, 2016, there were 342,817,020 shares of common stock outstanding.

                                             DOCUMENTS INCORPORATED BY REFERENCE
    Portions of the proxy statement relating to the Registrant’s 2016 Annual Meeting of Stockholders, currently scheduled to be held on
May 26, 2016, are incorporated by reference into Part III of this Annual Report on Form 10-K.

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      The occurrences or conditions described above could affect not only Navient’s business with the particular
government entities involved, but also its business or potential future business with other entities of the same or
other governmental bodies or with commercial clients, and could have a material adverse effect on its business or
its results of operations.

If Navient is unable to attract and retain professionals with strong leadership skills, its business, results of
operations and financial condition may be materially adversely affected.

     Navient’s success is dependent, in large part, on its ability to attract and retain personnel with the
knowledge and skills to lead its business. Experienced personnel in its industry are in high demand, and
competition for talent is very high. Navient must hire, retain and motivate appropriate numbers of talented people
with diverse skills in order to serve its clients, respond quickly to rapid and ongoing technology, industry and
macroeconomic developments, and grow and manage its business. As Navient expands its services and solutions,
it must also hire and retain an increasing number of professionals with different skills and professional
expectations than those of the professionals it has historically hired and retained. If Navient is unable to
successfully integrate, motivate and retain these professionals, its ability to continue to secure work in those
industries and for its services and solutions may suffer.

MARKET, FUNDING & LIQUIDITY RISK. Market risk is the risk to earnings or capital resulting from
changes in market conditions, such as interest rates, index mismatches or credit spreads. Navient is
exposed to various types of market risk, in particular the risk of loss resulting in a mismatch between the
maturity/duration of assets and liabilities, interest rate risk and other risks that arise through the
management of our investment, debt and education loan portfolios. Funding and liquidity risk is the risk
to earnings, capital or the conduct of our business arising from the inability to meet our obligations when
they become due, such as the ability to access the unsecured or asset backed securities credit markets to
fund liability maturities or invest in future asset growth and business operations at reasonable market
rates.

Navient’s business is affected by the cost and availability of funding in the capital markets.

     The capital markets are now and have from time to time experienced periods of significant volatility. This
volatility can dramatically and adversely affect financing costs when compared to historical norms or make
funding unavailable at any costs. Additional factors that could make financing more expensive or unavailable to
Navient include, but are not limited to, financial losses, events that have an adverse impact on Navient’s
reputation, changes in the activities of Navient’s business partners, events that have an adverse impact on the
financial services industry generally, counterparty availability, changes affecting Navient’s assets, corporate and
regulatory actions, absolute and comparative interest rate changes, general economic conditions and the legal,
regulatory and tax environments governing funding transactions. If financing is difficult, expensive or
unavailable, Navient’s results of operations, cash flow or financial condition could be materially and adversely
affected.

Higher or lower than expected prepayments of loans could change the expected net interest income the
Company receives as the holder of the Residual Interests of securitization trusts holding education loans or
cause the bonds issued by the securitization trust to be paid at a different speed than originally anticipated.
These factors could materially alter our net interest margin or the value of our Residual Interests.

     The rate at which borrowers prepay their loans can have a material impact on our net interest margin or the
value of our Residual Interests. Prepayment rates and levels are subject to a variety of economic, social,
competitive and other factors, including changes in interest rates, availability of alternative financings, regulatory
changes affecting the education loan market and the general economy.

    FFELP Loans and Private Education Loans may be voluntarily prepaid without penalty by the borrower or
consolidated with the borrower’s other education loans through refinancing. FFELP Loans may also be repaid

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after default by the Guarantors of FFELP Loans. On the other hand, borrowers might not choose to prepay their
education loans or the education loans may be extended as a result of grace periods, deferment periods, income-
driven repayment plans or other repayment term or monthly payment amount modifications agreed to by the
servicer, for example. FFELP Loan borrowers may be eligible for various existing income-based repayment
programs under which borrowers can qualify for reduced or zero monthly payment or even debt forgiveness after
a certain number of years of repayment.

     Future initiatives by ED or by Congress to encourage or force consolidation, create additional income-based
repayment or debt forgiveness programs or establish other factors affecting borrowers’ repayment of their loans,
could also affect prepayments on education loans. Additionally, several recent entrants into the student loan
refinancing market may increase the rate at which borrowers prepay their loans. These companies specialize in
refinancing student loans and may have certain advantages including lower cost structures, fewer regulatory
constraints and the ability to be highly selective in choosing borrowers who are eligible to refinance. The ability
to focus on borrowers with high incomes, high credit scores or other credit indices may adversely impact our
remaining portfolio.

     While we anticipate some variability in prepayment levels, extraordinary or extended increases or decreases
in prepayment rates could materially affect our liquidity, interest income, net interest margin and the value of
those Residual Interests. When, as a result of unanticipated prepayment levels, education loans within a
securitization trust amortize faster than originally contracted, the trust’s pool balance may decline at a rate faster
than the prepayment rate assumed when the trust’s bonds were originally issued. If the trust’s pool balance
declines faster than originally anticipated, in most of our securitization structures, the bonds issued by that trust
will also be repaid faster than originally anticipated. In such cases, the Company’s net interest income may
decrease and the value of any retained Residual Interest in the trust may similarly decline.

     Conversely, when education loans within a securitization trust amortize more slowly than originally
contracted, the trust’s pool balance may decline more slowly than the prepayment rate assumed when the trust’s
bonds were originally issued and the bonds may be repaid more slowly than originally anticipated. In these cases,
the Company’s net interest income increases and the value of any retained Residual Interest in the trust may
increase. In addition, if the prepayment rate is especially slow and certain rights of the sellers or the servicer are
not exercised or are insufficient or other action is not taken to counter the slower prepayment rate, the trust’s
bonds may not be repaid by their legal final maturity date(s), which could result in an event of default under the
underlying securitization agreements.

      Finally, rating agencies may place bonds on watch or change their ratings on (or their ratings methodology
for) the bonds issued by a securitization trust, possibly raising or lowering their ratings, based upon these
prepayment rates and their perception of the risk posed by those rates to the timing of the trust cash flows.
Placing bonds on watch, or changing ratings negatively or proposing or making changes to ratings methodology
could: (i) affect our liquidity; (ii) impede our access to the securitization markets; (iii) make us change our
securitization structures; (iv) impact our net interest margins; and/or (v) raise or lower the value of our Residual
Interests of our future securitization transactions.

High or increasing interest rate environments may cause Navient’s Floor Income to decline, which may
adversely affect its earnings.

      FFELP Loans disbursed before April 1, 2006, generally earn interest at the higher of either the borrower
rate, which is fixed over a period of time, or a floating rate based on a SAP formula set by ED. Navient has
generally financed its FFELP Loans with floating rate debt whose interest is matched closely to the floating
nature of the applicable SAP formula. If a decline in interest rates causes the borrower rate to exceed the SAP
formula rate, Navient will continue to earn interest on the loan at the fixed borrower rate while the floating rate
interest on Navient debt will continue to decline. The additional spread earned between the fixed borrower rate
and the SAP formula rate is referred to as “Floor Income.”

      Depending on the type of FFELP Loan and when it was originated, the borrower rate is either fixed to term
or is reset to a market rate on July 1 of each year. For loans where the borrower rate is fixed to term, Navient may

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                  Exhibit 5




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                  THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

Consumer Financial Protection Bureau,        )
                                             )
                      Plaintiff,             )
                                             )
         v.                                  )     Civil Action No. 3:CV-17-00101
                                             )     (Hon. Robert D. Mariani)
Navient Corporation, et al.,                 )
                                             )
                       Defendants            )

     DEFENDANT NAVIENT CORPORATION’S OBJECTIONS AND
     RESPONSES TO PLAINTIFF’S FIRST SET OF REQUESTS FOR
                       PRODUCTION

      Pursuant to Rule 34 of the Federal Rules of Civil Procedure (“FRCP”),

Defendant Navient Corporation (“Navient Corp.”), by and through its undersigned

attorneys, responds and objects to Plaintiff Consumer Financial Protection Bureau

(“CFPB”)’s First Set of Requests for Production, dated May 19, 2017 (the

“Requests”). These objections and responses are based on information reasonably

available and known as of the current date. Navient Corp. reserves the right to

supplement, amend, modify, or correct its objections and responses should further

investigation or discovery disclose additional information.

      Navient Corp. further states that the vast majority of documents responsive

to these Requests are maintained on computer systems in electronic format. The

process for identifying, gathering, uploading, reviewing, and producing responsive
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documents is underway, but as of the date of these responses is not completed.

Navient Corp. states that it will produce its documents on a rolling basis at a

mutually agreeable date and location.

                            GENERAL OBJECTIONS

      The general objections apply to each specific Request, whether or not they

are specifically referenced in response to a particular Request. By making any

general or specific objection, Navient Corp. expressly does not waive or prejudice

any further objections it may later assert in response to a specific Request or any

other discovery.

      1.     Navient Corp. objects to the extent a Request seeks documents that

are unreasonably cumulative or duplicative with those already in the possession of

CFPB. In response to multiple administrative subpoenas and informal requests

during the investigation preceding this lawsuit, Defendants collectively provided

more than 450,000 pages of documents, answered dozens of interrogatories,

prepared over 30 written reports containing complex analyses of borrower data and

information, and produced nine witnesses for testimony. Navient Corp. has

identified Bates numbers for responsive materials previously produced where it is

reasonably able to do so.



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      2.     Navient Corp. also objects on burdensomeness grounds to the

extraordinary number of Requests, including subparts, served by CFPB on

Defendants, both in its numerous administrative subpoenas and in the discovery

served in this action.

      3.     Navient Corp. objects to the extent a Request purports to impose on

Navient Corp. a duty to search for documents beyond a reasonable search of the

locations and files where potentially responsive materials would reasonably be

found. To the extent electronically stored information is necessary to answer a

Request, Navient Corp. will search for responsive electronically stored documents

in a manner that balances the desire to identify responsive documents with the

avoidance of undue burden or expense. Navient Corp. objects to the extent that

each Request requires it to search for electronically stored information on back-up

or legacy systems or to the extent that the Request calls for the restoration of any

systems, programs, or media. Navient Corp. further objects to the extent that a

Request seeks voluminous information which can be located and copied only at

tremendous expense of money and/or personnel resources and/or that will create a

significant delay that would be disproportionate to the probative value or relevance

of the material sought.


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      4.     Navient Corp. objects to the extent a Request purports to seek

discovery of documents that are not in its immediate and present possession,

including documents that are maintained in the files of subsidiaries and/or

affiliates. CFPB sought permission to serve specific discovery on each separate

Defendant, and it has served such discovery. Thus, unless otherwise stated,

Navient Corp. interprets the discovery directed to a particular Defendant to be

seeking documents and information that is in the immediate possession of that

particular Defendant (and not its subsidiaries and/or affiliates that are also

Defendants).

      5.     Navient Corp. will produce confidential, proprietary, or personal

information subject to the terms of a mutually agreeable protective order. Navient

Corp. notes that the U.S. Department of Education (“Education Department”)

mandates that Navient Corp. seek approval for the production of protected

borrower information accompanied by a letter from the requesting party, here,

CFPB. To the extent any of the Requests seek documents for which the Education

Department requires such approval, Navient Corp. will produce responsive

documents, should any exist, consistent with those requirements and pursuant to a

process agreed upon with CFPB.


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      6.     Navient Corp. objects to the extent a Request seeks documents

protected under the attorney-client privilege, the work product doctrine,

examination, or other applicable privileges. If any protected information or

material is produced, such disclosure is not intentional and shall not be deemed a

waiver of any privilege or protection. To the extent Navient Corp. identifies

privileged materials responsive to a Request, it will produce a log of those

documents in a format consistent with the requirements of FRCP 26(b)(5).

Navient Corp. will not undertake a search of the files of in-house counsel (or

produce a log) unless it has reason to believe that non-duplicative, non-privileged

materials can be located in those files.

      7.     Navient Corp. objects to the extent a Request is vague, ambiguous,

indefinite, overbroad, or otherwise unclear as to the information sought. As a

general matter, Navient Corp. will interpret the Requests as not seeking documents

that are not relevant to the specific practices relating to the servicing and collection

of student loans alleged in the Complaint. In addition, Navient Corp. does not

adopt by responding to these Requests any definition of words or phrases or any

express or implied characterizations of fact or law contained in the Requests.

      8.     The responses below are made without waiver of, and with

preservation of:
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      a.     all objections as to competency, relevancy, materiality, privilege, and
             admissibility of the responses and the subject matter thereof as
             evidence for any purposes in any further proceeding in this action
             (including the trial of this action) and any other action;

      b.     Navient Corp.’s right to object on any ground and at any time to a
             demand or request for additional documents or other discovery
             procedures related to the subject matter of this case; and

      c.     Navient Corp.’s right, at any time, to revise, correct, add to or clarify
             any of the documents produced by Navient Corp.

                      OBJECTIONS TO INSTRUCTIONS

      1.     Navient Corp. objects to Instruction No. 3(b) to the extent it requires

Navient Corp. to produce a log other than for documents withheld on the basis that

they are “privileged or subject to protection as trial-preparation material.” FRCP

26(b)(5). Navient Corp. will produce a privilege log at a mutually agreeable date

and time after a production is made from which privileged documents were

withheld.

      2.     Navient Corp. objects to Instruction No. 6 on the grounds that the

timeframe specified for all of the Requests (January 1, 2009 to the present) seeks

information beyond the scope of the Complaint, which alleges conduct occurring

no earlier than January 1, 2010. See Compl. ¶¶ 50–61, 67–69, 86. Unless

otherwise specified, Navient Corp. will provide documents responsive to each

request from January 1, 2010 to the present.

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      3.     Navient Corp. objects to Instruction No. 9 to the extent it purports to

require Navient Corp. to call CFPB should any materials responsive to the

Requests contain the sensitive personally identifiable information of any

individual. As noted above in General Objection No. 2, Navient Corp. will

produce such documents pursuant to a mutually agreeable protective order and

consistent with applicable Education Department requirements.

                 SPECIFIC OBJECTIONS AND RESPONSES
DOCUMENT REQUEST NO. 1: All documents reflecting or discussing any
potential or actual terms, provisions, or requirements of any contract or
agreement between (a) the U.S. Department of Education or any guaranty
agency, and (b) Navient Corporation or any subsidiary or affiliate of Navient
Corporation (including Navient Solutions or Pioneer) relating to the servicing
or collection of student loans, including the contracts and agreements
themselves; all amendments or modifications thereto; all documents reflecting
any proposal or request to alter, modify, or waive the terms, provisions, or
requirements of any such contract or agreement (including all change orders
or requests for equitable adjustment); and all documents reflecting any
response to any proposal or request to alter, modify, or waive the terms,
provisions, or requirements of any such contract or agreement.

Response:

      In addition to the general objections, Request No. 1 is overbroad and unduly

burdensome to the extent that it seeks documents (a) unrelated to the claims in this

action and/or the types of loans at issue, (b) regarding contract terms that were

never implemented, and (c) “[a]ll documents reflecting or discussing” contract


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terms. Navient Corp. also objects that this Request is duplicative of previous

requests for information, and that CFPB is already in possession of documents that

appear to be responsive to this Request. Specifically:

      • On December 31, 2014, Navient Solutions, Inc. and Pioneer produced
        documents responsive to Document Request 5 of the November 24, 2014
        Civil Investigative Demand “CID” issued by CFPB to Pioneer, which
        sought “contracts and agreements including notes and records of oral
        contracts and agreements, entered into between [Pioneer] and a. the U.S.
        Department of Education; b. any Guaranty Agency.” CFPB CID to
        Pioneer, Nov. 24, 2014. These documents are located at the Bates
        Ranges detailed in Appendix 1(A) to these responses.

      • On August 8, 2014, Navient Corp. produced to the Attorney General of
        Illinois documents responsive to a request for “all contracts related to
        loan servicing and collection between [Sallie Mae, Inc.] and the U.S.
        Department of Education.” CID by the Attorney General of Illinois to
        SLM Corporation, Dec. 4, 2013. On May 30, 2014, June 27, 2014, and
        August 15, 2014, Navient Solutions, Inc. produced these documents to
        CFPB. These documents are located at the Bates Ranges detailed in
        Appendix 1(B) to these responses.

      • On August 8, 2014, Navient Corp. produced to the Attorney General of
        Illinois documents responsive to a request for “any and all agreements…
        between Sallie Mae and any Guaranty Agency, including but not limited
        to USA Group.” CID by the Attorney General of Illinois to SLM
        Corporation, Dec. 4, 2013. On May 30, 2014, June 27, 2014, and August
        15, 2014, Navient Solutions, Inc. produced these documents to CFPB.
        These documents are located at the Bates Ranges detailed in Appendix
        1(C) to these responses.

      • On June 27, 2014, Navient Solutions, Inc. produced documents
        responsive to Document Request 2 of the April 29, 2014 CID issued by
        CFPB to Sallie Mae, Inc., which sought “copies of all servicing manuals,
        pooling and servicing agreements, and other documentation governing
                                      8




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          the servicing of loans held in trust that are serviced by you.” CFPB CID
          to Sallie Mae, Inc., Apr. 29, 2014. These documents are located at the
          Bates Ranges detailed in Appendix 1(D) to these responses.
      Defendants generally maintain centralized files for documents related to

contracts with the Education Department and guaranty agencies. Although this

request was served only on Navient Corp., Navient Corp., Navient Solutions, and

Pioneer will undertake a search of those files, and produce responsive documents,

which they expect will include contracts, change requests, associated impact

analyses and cost proposals, modifications, and external communications with the

contracting officers.

DOCUMENT REQUEST NO. 2: All documents reflecting any discussion,
evaluation, analysis, or dispute relating to any party’s performance or failure
to perform under any contract or agreement produced in response to Request
for Production No. 1, including all documents reflecting any instruction,
guidance, or advice from the U.S. Department of Education relating to any
party’s performance; any notices of breach; any response to any notice of
breach; all documents reflecting any belief that a party has violated or failed
to comply with any term, provision, or requirement of any such contract or
agreement; and all documents reflecting any dispute regarding payment
under any such contract or agreement.

Response:

      In addition to the general objections, Request No. 2 is overbroad and unduly

burdensome to the extent that it seeks documents (a) unrelated to the claims in this

action and/or the types of loans at issue, and (b) “[a]ll documents reflecting any


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discussion.” Although this request was served only on Navient Corp., Navient

Corp., Navient Solutions, and Pioneer will apply reasonable search terms to the

files of the custodians with principal responsibility for communicating with the

Education Department and guaranty agencies regarding contractual performance

during the relevant timeframe and will produce non-privileged communications

exchanged with the Education Department that are related to the claims in this

lawsuit.

DOCUMENT REQUEST NO. 3: All documents reflecting any invoice or
request for payment submitted by Navient Corporation or any subsidiary or
affiliate of Navient Corporation (including Navient Solutions or Pioneer)
under any contract or agreement produced in response to Request for
Production No. 1.

Response:

       In addition to the general objections, Request No. 3 is unduly burdensome

to the extent that it seeks “[a]ll documents” “reflecting” invoices and requests for

payment. Navient Corp. will undertake a reasonable search for and produce

invoices and requests for payment submitted under any contract produced in

response to Request No. 1.

DOCUMENT REQUEST NO. 4: All documents reflecting any discussion,
evaluation, or analysis of the actual or anticipated profitability, costs, or losses




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relating to any aspect of performance under any contract or agreement
produced in response to Request for Production No. 1.

Response:

      In addition to the general objections, Request No. 4 is overbroad and unduly

burdensome to the extent that it seeks documents (a) relating to the actual or

anticipated profitability of aspects of contractual performance that are unrelated to

the claims in this action, and (b) “[a]ll documents reflecting any discussion.”

      Navient Corp. will undertake a reasonable search for and produce year-end

profit and loss analyses related to any contract produced in response to Request

No. 1. In addition, although this request was served only on Navient Corp.,

Navient Corp., Navient Solutions, and Pioneer will further undertake a search of

the documents of the custodians principally responsible for assessing the

profitability of performance under the contracts produced in response to Request

No. 1, and will use reasonable search terms to identify and produce documents

related to the claims in this lawsuit. Navient Corp. also will produce the impact

analyses for any change request or modification to any contract produced in

response to Request No. 1.

DOCUMENT REQUEST NO. 5: All documents reflecting the provision,
issuance, or communication of any instruction, requirement, command,
directive, advice, guidance, suggestion, recommendation, or critique from
Navient Corporation (including any business plans, strategic plans, policies,

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or procedures created or issued by Navient Corporation) relating to the
servicing or collection of student loans.

Response:

      In addition to the general objections, Request No. 5 is overbroad and unduly

burdensome to the extent that it seeks documents unrelated to the claims in this

action and/or the types of loans at issue.

      Navient Corp. will produce any non-privileged Board minutes reflecting the

approval of policies and procedures related to the claims in this action in response

to Request No. 7. Navient Corp. also will apply reasonable search terms to the

files of relevant persons who served on Navient Corp. committees that may have

discussed policies and procedures related to the claims in this action. Navient

Corp. will also produce documents sufficient to show the discussion of such

policies and procedures, to the extent any exist.

 DOCUMENT REQUEST NO. 6: All documents relating to any evaluation,
auditing, monitoring, oversight, due diligence, quality assurance, or
compliance review relating to any aspect of the servicing or collection of
student loans, including any audit or compliance reports, any risk
management analyses, all communications relating to any such audit or




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compliance reports or risk management analyses, and any action plans in
response to any audit or compliance reports or risk management analyses.

Response:

      In addition to the general objections, Request No. 6 is overbroad and unduly

burdensome to the extent that it seeks documents (a) unrelated to the claims in this

action and/or the types of loans at issue, and (b) “all documents relating to any

evaluation, auditing, monitoring, oversight, due diligence, quality assurance, or

compliance review.” Navient Corp. further objects to the extent this Request is

duplicative of Request Nos. 1 and 4 to Pioneer and Request No. 6 to Navient

Solutions, and directs CFPB to the responses to those Requests.

      To the extent this Request calls for communications with regulators during

the course of a supervisory exam, Navient Corp. objects on privilege grounds.

Navient Corp. will not undertake a search of the files of in-house counsel or

employees involved in those examinations, or produce a log, because it would be

unduly burdensome and not likely to lead to relevant non-privileged materials.

      Navient Corp. also objects that this Request is duplicative of previous

requests for information, and that CFPB is already in possession of documents that

appear to be responsive to this Request. Specifically:

      • On June 13, 2014, Navient Solutions, Inc. produced documents
        responsive to Document Request 1(d) of the April 29, 2014 CID issued
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     by CFPB to Sallie Mae, Inc., which sought “[a]ll policies and procedures
     relating to . . . [q]uality assurance with respect to call center employees
     and customer service employees.” CFPB CID to Sallie Mae, Inc., Apr.
     29, 2014. These documents are located at the Bates Ranges detailed in
     Appendix 1(E) to these responses.

  • On July 11, 2014 and July 30, 2014, Navient Solutions, Inc. produced
    documents responsive to Document Request 5 of the April 29, 2014 CID
    issued by CFPB to Sallie Mae, Inc., which sought “[a]ll unique versions
    of any checklist used by your employees to perform quality assurance or
    conduct a compliance review of your call center employees or customer
    service representatives.” CFPB CID to Sallie Mae, Inc., Apr. 29, 2014.
    These documents are located at the Bates Ranges detailed in Appendix
    1(F) to these responses.

  • On July 11, 2014 and July 30, 2014, Navient Solutions, Inc. produced
    documents responsive to Document Request 6 of the April 29, 2014 CID
    issued by CFPB to Sallie Mae, Inc., which sought “[a] copy of each
    quality assurance report provided to your call center management team.”
    CFPB CID to Sallie Mae, Inc., Apr. 29, 2014. These documents are
    located at the Bates Ranges detailed in Appendix 1(G) to these responses.

  • On July 11, 2014, Navient Solutions, Inc. provided a response to
    Interrogatory 11 of the April 29, 2014 CID issued by CFPB to Sallie
    Mae, Inc., which sought a description of “any quality assurance reviews
    conducted with respect to your customer service representatives or call
    center employees, including the substance of the reviews, the frequency
    of the reviews, how such reviews are conducted, how such reviews are
    memorialized, and any adverse action taken as a result of such reviews.”
    CFPB CID to Sallie Mae, Inc., Apr. 29, 2014. Navient Solutions, Inc.’s
    response is located in its July 11, 2014 letter to CFPB.

  • On July 30, 2014, Navient Solutions, Inc. produced documents
    responsive to Document Request 4 of the April 29, 2014 CID issued by
    CFPB to Sallie Mae, Inc., which sought “[a] copy of all reports and
    presentations documenting complaints received by you about your
    servicing of student loans, including, but not limited to, reports and
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         presentations provided to your executives, vice presidents, and other
         senior staff.” CFPB CID to Sallie Mae, Inc., Apr. 29, 2014. These
         documents are located at the Bates Ranges detailed in Appendix 1(H) to
         these responses.

      • On April 8, 2014, SLM Corporation produced documents to the Attorney
        General of Illinois documents responsive to a request for “all documents,
        including without limitation all policies and procedures, concerning how
        Sallie Mae ensures compliance with the Fair Debt Collection Practices
        Act . . . and any other state or federal law that governs Collection
        Activity . . . [or] credit reporting . . . .” CID by the Attorney General of
        Illinois to SLM Corporation, Dec. 4, 2013. On May 30, 2014, June 27,
        2014, and August 15, 2014, Navient Solutions, Inc. produced these
        documents to CFPB. These documents are located at the Bates Ranges
        detailed in Appendix 1(I) to these responses.
      Navient Solutions’ internal audit function conducts audits related to the

servicing or collection of student loans, and certain of those reports are shared with

Navient Corp.’s Board of Directors. Navient Corp. will produce internal audit

reports related to the claims in lawsuit and presented to the Board of Directors in

response to Request No. 7.

DOCUMENT REQUEST NO. 7: All documents (including communications,
agendas, minutes, reports, and presentations) sent or received by the board of
directors of Navient Corporation, by any committee or subcommittee of the
board of directors, or by any member of the board of directors in his or her




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capacity as a member of the board, relating to the servicing or collection of
student loans.

Response:

      In addition to the general objections, Request No. 7 is overbroad and unduly

burdensome to the extent that it seeks documents (a) unrelated to the claims in this

action and/or the types of loans at issue, and (b) every communication sent or

received by any past or present member of the board of directors relating to the

servicing or collection of student loans.

      Navient Corp. will undertake a reasonable search for and produce documents

presented to or approved by the Board, including agendas, minutes, reports, and

presentations that are related to the claims in this lawsuit.

DOCUMENT REQUEST NO. 8: All documents drafted, created, or
generated in whole or in part by Navient Corporation relating to any aspect of
forbearance or income-driven repayment plans (including any type of income-
driven repayment plan, such as income-based repayment or “pay as you
earn”).

Response:

      Navient Corp. is not aware of any documents “drafted, created, or generated

in whole or in part by Navient Corporation relating to any aspect of forbearance or

income-driven repayment plans (including any type of income-driven repayment

plan, such as income-based repayment or ‘pay as you earn’).”


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DOCUMENT REQUEST NO. 9: All documents drafted, created, or
generated in whole or in part by Navient Corporation relating to errors in the
processing of payments for student loans that were happening on a repeated,
recurring, or non-isolated basis or that had been the subject of complaints
from more than one consumer.

Response:

      Navient Corp. is not aware of any documents “drafted, created, or generated

in whole or in part by Navient Corporation relating to errors in the processing of

payments for student loans that were happening on a repeated, recurring, or non-

isolated basis or that had been the subject of complaints from more than one

consumer.”

DOCUMENT REQUEST NO. 10: All documents drafted, created, or
generated in whole or in part by Navient Corporation relating to any
requirement that a borrower demonstrate a certain payment history (such as
making a certain number of consecutive, on-time payments) to become eligible
for cosigner release for student loans.

Response:

      Navient Corp. is not aware of any documents “drafted, created, or generated

in whole or in part by Navient Corporation relating to any requirement that a

borrower demonstrate a certain payment history (such as making a certain number

of consecutive, on time payments) to become eligible for cosigner release for

student loans.”



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DOCUMENT REQUEST NO. 11: All documents drafted, created, or
generated in whole or in part by Navient Corporation relating to credit
reporting (i.e., the furnishing of information to credit reporting agencies) for
disabled borrowers with student loans.

Response:

      Navient Corp. is not aware of any documents “drafted, created, or generated

in whole or in part by Navient Corporation relating to credit reporting (i.e., the

furnishing of information to credit reporting agencies) for disabled borrowers with

student loans.”

DOCUMENT REQUEST NO. 12: All documents drafted, created, or
generated in whole or in part by Navient Corporation relating to
communications with borrowers about the federal loan rehabilitation
program.

Response:

      Navient Corp. is not aware of any documents “drafted, created, or generated

in whole or in part by Navient Corporation relating to communications with

borrowers about the federal loan rehabilitation program.”

DOCUMENT REQUEST NO. 13: All documents on which you rely to
support any defense that you are asserting or will assert in this lawsuit.
Response:

      Navient Corp. objects to Request No. 13 as premature because it has not yet

answered the Complaint or pled affirmative defenses. Navient Corp. will produce

documents on which it intends to rely for summary judgment or trial.
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Dated: August 21, 2017      Respectfully submitted,

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                          CERTIFICATE OF SERVICE

      I hereby certify that on August 21, 2017, I served the foregoing Objections

and Responses to Plaintiff’s First Set of Requests for Production to CFPB by email

to the following counsel for Plaintiff:

      Nicholas Jabbour: Nicholas.Jabbour@cfpb.gov
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Mr. Jabbour, on behalf of Plaintiff, previously consented to electronic service.




                                  /s/ Karin Dryhurst
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                            Appendix 1

                                 (A)

                 Bates Begin             Bates End
                 PCR0000033             PCR0001233
                 PCR0001267             PCR0001279

                                 (B)

                 Bates Begin              Bates End
               NSI-001-0005876         NSI-001-0006394
               NSI-004-0000001         NSI-004-0054022
               NSI-016-0000001         NSI-016-0000066
               NSI-016-0000753         NSI-016-0001302

                                 (C)

                 Bates Begin              Bates End
               NSI-016-0000779         NSI-016-0000791
               NSI-016-0004383         NSI-016-0004397

                                 (D)

                 Bates Begin              Bates End
               NSI-004-0000001         NSI-004-0054022

                                 (E)

                 Bates Begin              Bates End
               NSI-002-0000001         NSI-002-0179951

                                 (F)

                 Bates Begin              Bates End
               NSI-007-0062298         NSI-007-0062321
               NSI-010-0010016         NSI-010-0013012




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                                 (G)

                 Bates Begin              Bates End
               NSI-007-0062322         NSI-007-0071458
               NSI-014-0002728         NSI-014-0003399
               NSI-010-0010016         NSI-010-0013012

                                 (H)

                 Bates Begin              Bates End
               NSI-014-0001631         NSI-014-0003399

                                 (I)

                 Bates Begin              Bates End
               NSI-001-0004140         NSI-001-0004298
               NSI-001-0004407         NSI-001-0004418
               NSI-001-0004520         NSI-001-0004535
               NSI-001-0004540         NSI-001-0004552
               NSI-001-0004556         NSI-001-0004671
               NSI-001-0004674         NSI-001-0004675
               NSI-001-0004680         NSI-001-0004684
               NSI-001-0004690         NSI-001-0004692
               NSI-001-0004700         NSI-001-0004701
               NSI-001-0004711         NSI-001-0004716
               NSI-001-0004719         NSI-001-0004720
               NSI-001-0004724         NSI-001-0004737
               NSI-001-0004787         NSI-001-0004788
               NSI-001-0004795         NSI-001-0004797
               NSI-001-0004803         NSI-001-0004809
               NSI-001-0004814         NSI-001-0004814
               NSI-001-0004821         NSI-001-0004828
               NSI-001-0004853         NSI-001-0004857
               NSI-001-0004862         NSI-001-0004863
               NSI-001-0004866         NSI-001-0004873
               NSI-001-0004878         NSI-001-0004881
               NSI-001-0004891         NSI-001-0004902
               NSI-001-0004904         NSI-001-0004907




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               NSI-001-0004923      NSI-001-0004930
               NSI-001-0004948      NSI-001-0004954
               NSI-001-0004970      NSI-001-0004988
               NSI-001-0004992      NSI-001-0005015
               NSI-001-0005021      NSI-001-0005031
               NSI-001-0005046      NSI-001-0005048
               NSI-001-0005054      NSI-001-0005057
               NSI-001-0005067      NSI-001-0005072
               NSI-001-0005075      NSI-001-0005080
               NSI-001-0005089      NSI-001-0005100
               NSI-001-0005129      NSI-001-0005367
               NSI-001-0005407      NSI-001-0005869
               NSI-001-0006415      NSI-001-0006510
               NSI-001-0006525      NSI-001-0006575
               NSI-001-0006582      NSI-001-0006584
               NSI-001-0006590      NSI-001-0006592
               NSI-001-0006634      NSI-001-0006663
               NSI-001-0006673      NSI-001-0006710
               NSI-001-0006714      NSI-001-0006848
               NSI-001-0007504      NSI-001-0007516
               NSI-001-0007575      NSI-001-0007772
               NSI-001-0007777      NSI-001-0007814
               NSI-001-0007876      NSI-001-0007877
               NSI-001-0007898      NSI-001-0007928
               NSI-001-0007949      NSI-001-0007950
               NSI-001-0007968      NSI-001-0007991
               NSI-001-0008009      NSI-001-0008169
               NSI-001-0008337      NSI-001-0008347
               NSI-001-0008376      NSI-001-0008376
               NSI-001-0008378      NSI-001-0008395
               NSI-001-0008400      NSI-001-0008403
               NSI-001-0008410      NSI-001-0008496
               NSI-001-0008500      NSI-001-0008519
               NSI-001-0008525      NSI-001-0008574
               NSI-001-0008600      NSI-001-0008914
               NSI-001-0008918      NSI-001-0009305
               NSI-001-0009334      NSI-001-0009350




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               NSI-001-0009355      NSI-001-0009470
               NSI-001-0009589      NSI-001-0010077
               NSI-001-0010159      NSI-001-0010174
               NSI-001-0010686      NSI-001-0010687
               NSI-001-0011070      NSI-001-0011085
               NSI-001-0011241      NSI-001-0012132
               NSI-001-0012158      NSI-001-0012212
               NSI-001-0012242      NSI-001-0012243
               NSI-001-0012273      NSI-001-0014070
               NSI-001-0014073      NSI-001-0014976
               NSI-001-0014980      NSI-001-0016069
               NSI-001-0016075      NSI-001-0016132
               NSI-001-0016141      NSI-001-0016153
               NSI-001-0016166      NSI-001-0016184
               NSI-001-0016188      NSI-001-0016196
               NSI-001-0016200      NSI-001-0016228
               NSI-001-0016231      NSI-001-0016232
               NSI-001-0016236      NSI-001-0016246
               NSI-001-0016286      NSI-001-0016315
               NSI-001-0016487      NSI-001-0016494
               NSI-001-0016502      NSI-001-0016505
               NSI-001-0016566      NSI-001-0016568
               NSI-001-0016605      NSI-001-0016615
               NSI-001-0016630      NSI-001-0017063
               NSI-001-0017164      NSI-001-0018023
               NSI-001-0018072      NSI-001-0018084
               NSI-001-0018102      NSI-001-0018115
               NSI-001-0018129      NSI-001-0018132
               NSI-001-0018168      NSI-001-0018170
               NSI-001-0018224      NSI-001-0018228
               NSI-001-0018533      NSI-001-0018560
               NSI-001-0018594      NSI-001-0018597
               NSI-001-0018622      NSI-001-0018708
               NSI-001-0018783      NSI-001-0018792
               NSI-001-0018826      NSI-001-0018832
               NSI-001-0018836      NSI-001-0018848
               NSI-016-0001423      NSI-016-0001424




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               NSI-016-0008312      NSI-016-0008330
               NSI-016-0009573      NSI-016-0009864
               NSI-016-0009915      NSI-016-0011116
               NSI-016-0011123      NSI-016-0011219
               NSI-016-0011361      NSI-016-0011365
               NSI-016-0011367      NSI-016-0011368
               NSI-016-0011370      NSI-016-0012095
               NSI-016-0012255      NSI-016-0012294
               NSI-016-0012400      NSI-016-0012504
               NSI-016-0012776      NSI-016-0012778
               NSI-016-0012843      NSI-016-0012846
               NSI-016-0012909      NSI-016-0012910
               NSI-016-0012915      NSI-016-0012920
               NSI-016-0012925      NSI-016-0013042
               NSI-016-0013047      NSI-016-0013055
               NSI-016-0013081      NSI-016-0013083
               NSI-016-0013960      NSI-016-0014076
               NSI-016-0014192      NSI-016-0014321
               NSI-016-0014784      NSI-016-0014898
               NSI-016-0014940      NSI-016-0015054
               NSI-016-0015186      NSI-016-0015192
               NSI-016-0015202      NSI-016-0015207
               NSI-016-0015224      NSI-016-0015235
               NSI-016-0016309      NSI-016-0016538
               NSI-016-0017055      NSI-016-0017503
               NSI-016-0017519      NSI-016-0017574
               NSI-016-0017635      NSI-016-0017665
               NSI-016-0017668      NSI-016-0017668
               NSI-016-0017720      NSI-016-0017734
               NSI-016-0017736      NSI-016-0017743
               NSI-016-0017747      NSI-016-0017819
               NSI-016-0017833      NSI-016-0017898
               NSI-016-0017921      NSI-016-0017941
               NSI-016-0018159      NSI-016-0018163
               NSI-016-0018592      NSI-016-0018592
               NSI-016-0018600      NSI-016-0018633
               NSI-016-0019067      NSI-016-0022797




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               NSI-016-0023017      NSI-016-0025358
               NSI-016-0025455      NSI-016-0025972
               NSI-016-0026073      NSI-016-0026451
               NSI-016-0026524      NSI-016-0026798
               NSI-016-0026846      NSI-016-0027135
               NSI-016-0027166      NSI-016-0027451
               NSI-016-0027524      NSI-016-0027878
               NSI-016-0028085      NSI-016-0034224
               NSI-016-0034233      NSI-016-0050050
               NSI-016-0050763      NSI-016-0051032
               NSI-016-0051787      NSI-016-0052026
               NSI-016-0052883      NSI-016-0052907
               NSI-016-0053311      NSI-016-0053513
               NSI-016-0053708      NSI-016-0055312
               NSI-016-0058326      NSI-016-0058327
               NSI-016-0058337      NSI-016-0058337
               NSI-016-0063051      NSI-016-0063053
               NSI-016-0063056      NSI-016-0063060
               NSI-016-0063068      NSI-016-0063069
               NSI-016-0063080      NSI-016-0063083
               NSI-016-0063193      NSI-016-0063194
               NSI-016-0064290      NSI-016-0064295
               NSI-016-0064413      NSI-016-0064418
               NSI-016-0064424      NSI-016-0064426
               NSI-016-0064440      NSI-016-0064445
               NSI-016-0064459      NSI-016-0064466
               NSI-016-0064490      NSI-016-0064491
               NSI-016-0064706      NSI-016-0064709




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                   Exhibit 6




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                  THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

Consumer Financial Protection Bureau,        )
                                             )
                       Plaintiff,            )
                                             )
         v.                                  )     Civil Action No. 3:CV-17-00101
                                             )     (Hon. Robert D. Mariani)
Navient Corporation, et al.,                 )
                                             )
                       Defendants            )

    DEFENDANT NAVIENT SOLUTIONS, LLC’S OBJECTIONS AND
     RESPONSES TO PLAINTIFF’S FIRST SET OF REQUESTS FOR
                       PRODUCTION

      Pursuant to Rule 34 of the Federal Rules of Civil Procedure (“FRCP”),

Defendant Navient Solutions, LLC (“Navient Solutions”), through its undersigned

counsel, responds and objects to Plaintiff the Consumer Financial Protection

Bureau (“CFPB”)’s First Set of Requests for Production, dated June 5, 2017,

including the instructions and definitions therein (the “Requests”).

      Navient Solutions further states that the vast majority of documents

responsive to these Requests are maintained on its computer systems in electronic

format. The process for identifying, gathering, uploading, reviewing, and

producing responsive documents is underway, but as of the date of these responses

is not completed. Navient Solutions states that it will produce its documents on a

rolling basis at a mutually agreeable date and location.
                                          1




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                            GENERAL OBJECTIONS

      The general objections apply to each specific Request, whether or not they

are specifically referenced in response to a particular Request. By making any

general or specific objection, Navient Solutions expressly does not waive or

prejudice any further objections it may later assert in response to a specific Request

or any other discovery.

      1.     Navient Solutions objects to the extent a Request seeks documents

that are unreasonably cumulative or duplicative with those already in the

possession of CFPB. In response to multiple administrative subpoenas and

informal requests during the investigation preceding this lawsuit, Defendants

collectively provided more than 450,000 pages of documents, answered dozens of

interrogatories, prepared over 30 written reports containing complex analyses of

borrower data and information, and produced nine witnesses for testimony.

Navient Solutions has identified Bates numbers for responsive materials previously

produced where it is reasonably able to do so.

      2.     Navient Solutions also objects on burden grounds to the extraordinary

number of Requests, including subparts, served by CFPB on Defendants, both in

its numerous administrative subpoenas and the discovery served in this action.



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CFPB has served 26 Requests on Navient Solutions alone, each with multiple and

distinct (49 total) sub-parts.

      3.     Navient Solutions objects to each of the Requests to the extent it

purports to impose on Navient Solutions a duty to search for documents beyond a

reasonable search of the locations and files where potentially responsive materials

would reasonably be found. To the extent electronically stored information is

necessary to answer a Request, Navient Solutions will search for responsive

electronically stored documents in a manner that balances the desire to identify

responsive documents with the avoidance of undue burden or expense. Navient

Solutions objects to the extent that each Request requires it to search for

electronically stored information on back-up or legacy systems or to the extent that

the Request calls for the restoration of any systems, programs, or media. Navient

Solutions further objects to the extent that a Request seeks voluminous information

which can be located and copied only at tremendous expense of money and/or

personnel resources and/or that will create a significant delay that would be

disproportionate to the probative value or relevance of the material sought.

      4.     Navient Solutions objects to the extent a Request purports to seek

discovery of documents that are not in its immediate and present possession,

including documents that are maintained in the files of subsidiaries and/or
                                          3




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affiliates. CFPB sought permission to serve specific discovery on each separate

Defendant, and it has served such discovery. Thus, unless otherwise stated,

Navient Solutions interprets the discovery directed to a particular Defendant to be

seeking documents and information that is in the immediate possession of that

particular Defendant (and not its subsidiaries and/or affiliates that are also

Defendants).

      5.     Navient Solutions will produce confidential, proprietary, or personal

information subject to the terms of a mutually agreeable protective order. Navient

Solutions notes that the U.S. Department of Education (“Education Department”)

mandates that Navient Solutions seek approval for the production of protected

borrower information accompanied by a letter from the requesting party, here,

CFPB. To the extent any of the Requests seek documents for which the Education

Department requires such approval, Navient Solutions will produce responsive

documents, should any exist, consistent with those requirements and pursuant to a

process agreed upon with CFPB.

      6.     Navient Solutions objects to the extent a Request seeks documents

protected under the attorney-client privilege, the work product doctrine,

examination, or other applicable privileges. If any protected information or

material is produced, such disclosure is not intentional and shall not be deemed a
                                           4




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waiver of any privilege or protection. To the extent Navient Solutions identifies

privileged materials responsive to a Request, it will produce a log of those

documents in a format consistent with the requirements of FRCP 26(b)(5).

Navient Solutions will not undertake a search of the files of in-house counsel (or

produce a log) unless it has reason to believe that non-duplicative, non-privileged

materials can be located in those files.

      7.     Navient Solutions objects to the extent a Request is vague,

ambiguous, indefinite, overbroad, or otherwise unclear as to the information

sought. As a general matter, Navient Solutions will interpret the Requests as not

seeking documents unrelated to the practices and statements alleged in the

Complaint. In addition, Navient Solutions does not adopt by responding to these

Requests any definition of words or phrases or any express or implied

characterizations of fact or law contained in the Requests.

      8.     The responses below are made without waiver of, and with

preservation of:

      a.     all objections as to competency, relevancy, materiality, privilege, and
             admissibility of the responses and the subject matter thereof as
             evidence for any purposes in any further proceeding in this action
             (including the trial of this action) and any other action;




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      b.     Navient Solutions’ right to object on any ground and at any time to a
             demand or request for additional documents or other discovery
             procedures related to the subject matter of this case; and
      c.     Navient Solutions’ right, at any time, to revise, correct, add to or
             clarify any of the documents produced by Navient Solutions.

                      OBJECTIONS TO INSTRUCTIONS

      1.     Navient Solutions objects to Instruction No. 3(b) to the extent it

requires Navient Solutions to produce a log other than for documents withheld on

the basis that they are “privileged or subject to protection as trial-preparation

material.” FRCP 26(b)(5). Navient Solutions will produce a log at a mutually

agreeable date and time after a production is made from which privileged

documents were withheld.

      2.     Navient Solutions objects to Instruction No. 6 on the grounds that the

timeframe specified for all of the Requests (January 1, 2009 to the present) seeks

information beyond the scope of the Complaint, which alleges conduct occurring

no earlier than January 1, 2010. See Compl. ¶¶ 50–61, 67–69, 86. Unless

otherwise specified, Navient Solutions will provide documents responsive to each

request from January 1, 2010 to the present.

      3.     Navient Solutions objects to Instruction No. 9 to the extent it purports

to require Navient Solutions to call CFPB should any materials responsive to the

Requests contain the sensitive personally identifiable information of any
                                         6




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individual. As noted above in General Objection No. 2, Navient Solutions will

produce such documents pursuant to a mutually agreeable protective order and

consistent with applicable Education Department requirements.

            SPECIFIC OBJECTIONS AND RESPONSES
    TO PLAINTIFF’S FIRST SET OF REQUESTS FOR PRODUCTION

DOCUMENT REQUEST NO. 1: All documents reflecting the provision,
issuance, or communication of any instruction, requirement, command,
directive, advice, guidance, suggestion, recommendation, or critique from
Navient Corporation (including any business plans, strategic plans, policies,
or procedures created or issued by Navient Corporation) relating to the
servicing of student loans.

Response:

      In addition to the general objections, Request No. 1 is overbroad and unduly

burdensome to the extent that it seeks documents unrelated to the claims in this

action and/or the types of loans at issue. Navient Solutions further objects to

Request No. 1 to the extent it is duplicative of Request No. 5 to Navient Corp., and

directs the CFPB to Navient Corp.’s response to that Request and the documents

produced in response thereto. Navient Solutions is not aware of additional

responsive documents beyond those identified by Navient Corp.

DOCUMENT REQUEST NO. 2: For each type of notice or disclosure
referenced on pages 9-10 of Defendants’ brief in support of their motion to
dismiss (docket entry #29), and any other written communication with
borrowers about forbearance or income-driven repayment plans: (a) one
example of every version of the notice, disclosure, or written communication

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in the format as it was sent to a consumer (including any attachments to the
notice, disclosure, or written communication), (b) all drafts of each version of
the notice, disclosure, or written communication, and (c) all documents
reflecting any testing or evaluation (such as through a focus group) of the
notice, disclosure, or written communication, including any drafts. For part
(a) of this Request, a notice, disclosure, or written communication that is
identical to another notice, disclosure, or written communication but for
information that is specific to the borrower shall not be considered a separate
version of the document.

Response:

      In addition to the general objections, Request No. 2 is overbroad and unduly

burdensome to the extent that it seeks (a) documents unrelated to the claims in this

action and/or the types of loans at issue, and (b) “all drafts” of “each version” of

every written communication with borrowers about forbearance or income-driven

repayment plans. Navient Solutions further objects that this Request is duplicative

of previous requests for information, and that CFPB is already in possession of

documents that appear to be responsive to this Request. Specifically:

      • On October 25, 2013, Sallie Mae, Inc. produced documents responsive to
        Document Request 5 of the September 5, 2013 CID issued by CFPB to
        Sallie Mae, Inc., which sought “Exemplars of all forms of billing
        statements for borrowers with multiple loans in repayment.” CFPB CID
        to Sallie Mae, Inc., Sep. 5, 2013. These documents are located at the
        Bates Range detailed in Appendix 1(A) to these responses.

      • On June 27, 2014 and July 30, 2014, Navient Solutions, Inc. produced
        documents responsive to Document Request 11 of the April 29, 2014
        CID issued by CFPB to Sallie Mae, Inc., which sought “Each unique
        version of form or template documents and advertisements used to
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         communicate information to a student loan borrower or cosigner about
         repayment plans for Federal Student Loans and Private Student Loans.”
         CFPB CID to Sallie Mae, Inc., Apr. 29, 2014. These documents are
         located at the Bates Ranges detailed in Appendix 1(B) to these
         responses..

      • On April 8, 2014, SLM Corporation produced to the Attorney General of
        Illinois documents responsive to a request for “all . . . scripts, form
        letters, policies, and training manuals related to advising borrowers of
        their repayment rights, including but not limited to any type of Loss
        Mitigation program including the ability for their loans to be placed into
        forbearance.” CID by the Attorney General of Illinois to SLM
        Corporation, Dec. 4, 2013. On May 30, 2014 and August 15, 2014,
        Navient Solutions produced these documents to CFPB. These documents
        are located at the Bates Ranges detailed in Appendix 1(C) to these
        responses

      • On August 8, 2014, SLM Corporation produced to the Attorney General
        of Illinois documents responsive to a request for “all . . . educational,
        promotional, and other material provided by Sallie Mae and Third Parties
        to borrowers who are in default or have indicated an inability to pay on
        their (a) Government Education and (b) Private Education Loans.” CID
        by the Attorney General of Illinois to SLM Corporation, Dec. 4, 2013.
        On May 30, 2014 and August 15, 2014, Navient Solutions, Inc. produced
        these documents to CFPB. These documents are located at the Bates
        Ranges detailed in Appendix 1(D) to these responses.

      Navient Solutions will identify the employees principally responsible for

drafting or creating written communications with borrowers about forbearance or

income-driven repayment plans. Navient Solutions will use reasonable search

terms to identify and produce final versions of templates used for written

communications with borrowers that are related to the claims in this action and

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were created after April 1, 2014, so as to capture materials, if any, created after the

prior productions. In the regular course of business, Navient Solutions contracts

with Siegel and Gale, a brand strategy firm, to evaluate certain written

communications to borrowers. Navient Solutions will produce evaluations

conducted by Siegel & Gale from July 1, 2011 to the present of written

communications with borrowers about forbearance or income-driven repayment

plans.

DOCUMENT REQUEST NO. 3: All documents containing, discussing, or
reflecting any requirements, instructions, policies, procedures, guidance, or
training provided to employees, agents, or subcontractors of Navient Solutions
relating to the handling of, or communications with, borrowers who indicate
that they are having difficulty paying their student loans, would like to reduce
payments on their student loans (including paying zero), or would like to
enroll in forbearance or an income-driven repayment plan, including all
scripts, flowcharts, and decision trees relating to such interactions or
communications.

Response:

         In addition to the general objections, Request No. 3 is overbroad and unduly

burdensome to the extent that it seeks (a) documents unrelated to the types of loans

at issue, and (b) “[a]ll” documents, even those “discussing” instructions, policies,

procedures, guidance, or training relating to communications with borrowers who

indicate they are having difficulty paying their student loans, would like to their

reduce payments, or would like to enroll in forbearance or an income-driven
                                          10




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repayment plan. Navient Solutions further objects that this Request is duplicative

of previous requests for information, and that CFPB is already in possession of

documents that appear to be responsive to this Request. Specifically:

      • On June 13, 2014, Navient Solutions, Inc. produced documents
        responsive to Document Request 1(a) of the April 29, 2014 CID issued
        by CFPB to Sallie Mae, Inc., which sought “All policies and procedures
        relating to . . . a. Communications to borrowers regarding repayment
        plans for Federal Student Loans and Private Student Loans; b. Cosigner
        release; c. Consequences resulting from the death or bankruptcy of a
        cosigner; d. Quality assurance with respect to call center employees and
        customer service employees; and e. Collections for delinquent or
        defaulted student loans.” CFPB CID to Sallie Mae, Inc., Apr. 29, 2014.
        These documents are located at the Bates Range detailed in Appendix
        1(E) to these responses.

      • On July 11, 2014 and July 30, 2014, Navient Solutions, Inc. produced
        documents responsive to Document Request 3 of the April 29, 2014 CID
        issued by CFPB to Sallie Mae, Inc., which sought “[a]ll unique versions
        of any training materials provided to your call center employees and
        customer service representatives.” CFPB CID to Sallie Mae, Inc., Apr.
        29, 2014. These documents are located at the Bates Ranges detailed in
        Appendix 1(F) to these responses.

      • On April 8, 2014, SLM Corporation produced to the Attorney General of
        Illinois its response to a request for a description of “all policies and
        procedures . . . concerning placing borrowers in forbearance.” CID by
        the Attorney General of Illinois to SLM Corporation, Dec. 4, 2013. On
        May 30, 2014 and August 15, 2014, Navient Solutions, Inc. produced this
        response to CFPB. These documents are located at the Bates Ranges
        detailed in Appendix 1(G) to these responses.

      • On April 8, 2014, SLM Corporation produced to the Attorney General of
        Illinois its response to a request for a description of “all policies and
        procedures . . . regarding communications with a borrower who is
                                        11




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     delinquent.” CID by the Attorney General of Illinois to SLM
     Corporation, Dec. 4, 2013. On May 30, 2014 and August 15, 2014,
     Navient Solutions, Inc. produced this response to CFPB. These
     documents are located at the Bates Ranges detailed in Appendix 1(H) to
     these responses.

  • On April 8, 2014, SLM Corporation produced to the Attorney General of
    Illinois its response to a request for a description of “all policies and
    procedures . . . for dealing with a borrower who has indicated a current
    inability to make payments in connection with a (a) Government
    Education Loan or (b) Private Education Loan.” CID by the Attorney
    General of Illinois to SLM Corporation, Dec. 4, 2013. On May 30, 2014
    and August 15, 2014, Navient Solutions, Inc. produced this response to
    CFPB. These documents are located at the Bates Ranges detailed in
    Appendix 1(I) to these responses.

  • On April 8, 2014, SLM Corporation produced to the Attorney General of
    Illinois documents responsive to a request for “all . . . scripts, form
    letters, policies, and training manuals related to advising borrowers of
    their repayment rights, including but not limited to any type of Loss
    Mitigation program including the ability for their loans to be placed into
    forbearance.” CID by the Attorney General of Illinois to SLM
    Corporation, Dec. 4, 2013. On May 30, 2014 and August 15, 2014,
    Navient Solutions, Inc. produced these documents to CFPB. These
    documents are located at the Bates Ranges detailed in Appendix 1(J) to
    these responses.

  • On August 8, 2014, SLM Corporation produced to the Attorney General
    of Illinois documents responsive to a request for “all training materials
    Sallie Mae provides to its employees regarding servicing or Collection of
    (a) Government Education and (b) Private Education Loans.” CID by the
    Attorney General of Illinois to SLM Corporation, Dec. 4, 2013. On May
    30, 2014 and August 15, 2014, Navient Solutions, Inc. produced these
    documents to CFPB. These documents are located at the Bates Ranges
    detailed in Appendix 1(K) to these responses.



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      Navient Solutions will identify the employees principally responsible for

drafting or creating policies and procedures, call scripts, and training materials

related to communications with borrowers who indicate they are having difficulty

paying their student loans, would like to reduce their payments, or would like to

enroll in forbearance or an income-driven repayment plan. Navient Solutions will

use reasonable search terms to identify and produce such policies and procedures,

call scripts, and training materials created after April 1, 2014, so as to capture

materials, if any, created after the prior productions.

DOCUMENT REQUEST NO. 4: All documents containing, discussing, or
reflecting any requirements, instructions, policies, procedures, guidance, or
training provided to employees, agents, or subcontractors of Navient Solutions
relating to communications with borrowers about forbearance or income-
driven repayment plans, including: (a) communications about the potential or
actual suitability, unsuitability, appropriateness, inappropriateness,
advantages, disadvantages, benefits, or costs of forbearance or any type of
income-driven repayment plan for any type, category, or group of borrowers
(including borrowers with a particular characteristic such as a temporary or
long-term financial hardship), and (b) communications in which Navient
Solutions recommends, advises, or suggests that the borrower consider or
enroll in forbearance or any type of income-driven repayment plan, including
all scripts, flowcharts, and decision trees relating to such communications.

Response:

      In addition to the general objections, Request No. 4 is overbroad and unduly

burdensome to the extent that it seeks (a) documents unrelated to the types of loans

at issue, and (b) “[a]ll” documents, even those “discussing” requirements,
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instructions, policies, procedures, guidance, or training relating to communications

with borrowers about forbearance or income-driven repayment plans. Navient

Solutions further objects to the extent that this Request seeks documents already

encompassed by the response to Request No. 3, and directs CFPB to its response to

that Request.

DOCUMENT REQUEST NO. 5: All documents reflecting any discussion,
evaluation, or analysis of the adequacy, inadequacy, effectiveness,
ineffectiveness, appropriateness, or inappropriateness of any requirements,
instructions, policies, procedures, guidance, or training relating to the
communications described in subparts (a) and (b) of Request for Documents
No. 4, including: (a) all communications or analyses regarding any
deficiencies or problems in such requirements, instructions, policies,
procedures, guidance, or training, (b) any analysis of the impact on borrowers
of such requirements, instructions, policies, procedures, guidance, or training,
and (c) all communications or analyses regarding potential improvements in
such requirements, instructions, policies, procedures, guidance, or training.

Response:

         In addition to the general objections, Request No. 5 is overbroad and unduly

burdensome to the extent that it seeks (a) documents unrelated to the types of loans

at issue, and (b) “[a]ll documents reflecting any discussion” of the adequacy of any

requirements, instructions, policies, procedures, guidance, or training relating to

communications with borrowers about forbearance or income-driven repayment

plans.


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      Navient Solutions will identify the employees principally responsible for

evaluating the effectiveness of policies governing communications with borrowers

regarding forbearance or income-driven repayment plans. Navient Solutions will

use reasonable search terms to identify and produce analyses of policies,

procedures, guidance, call scripts, or training materials regarding forbearance or

income-driven repayment plans that were conducted after July 1, 2011.

DOCUMENT REQUEST NO. 6: All documents relating to any evaluation,
auditing, monitoring, oversight, due diligence, quality assurance, or
compliance review (including those conducted by or on behalf of an investor
or trustee of a loan securitization trust) relating to communications with or
enrollment of borrowers in forbearance or any type of income-driven
repayment plan, including any audit or compliance reports, any risk
management analyses, all communications relating to any such audit or
compliance reports or risk management analyses, and any action plans in
response to any audit or compliance reports or risk management analyses.

Response:

      In addition to the general objections, Request No. 6 is overbroad and unduly

burdensome to the extent that it seeks (a) documents unrelated to the types of loans

at issue, and (b) “[a]ll documents relating to any evaluation” relating to

communications with or enrollment of borrowers in forbearance or income-driven

repayment plans.

      To the extent this Request calls for communications with regulators during

the course of a supervisory exam, Navient Solutions objects on privilege grounds.
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Navient Solutions will not undertake a search of the files of in-house counsel or

employees involved in those examinations, or produce a log, because it would be

unduly burdensome and not likely to lead to relevant non-privileged materials.

      Navient Solutions further objects that this Request is duplicative of previous

requests for information, and that CFPB is already in possession of documents that

appear to be responsive to this Request. Specifically:

      • On June 13, 2014, Navient Solutions, Inc. produced documents
        responsive to Document Request 1(d) of the April 29, 2014 CID issued
        by CFPB to Sallie Mae, Inc., which sought “[a]ll policies and procedures
        relating to . . . Quality assurance with respect to call center employees
        and customer service employees.” CFPB CID to Sallie Mae, Inc., Apr.
        29, 2014. These documents are located at the Bates Range detailed in
        Appendix 1(L) of these responses.

      • On July 11, 2014 and July 30, 2014, Navient Solutions, Inc. produced
        documents responsive to Document Request 5 of the April 29, 2014 CID
        issued by CFPB to Sallie Mae, Inc., which sought “[a]ll unique versions
        of any checklist used by your employees to perform quality assurance or
        conduct a compliance review of your call center employees or customer
        service representatives.” CFPB CID to Sallie Mae, Inc., Apr. 29, 2014.
        These documents are located at the Bates Ranges detailed in Appendix
        1(M) of these responses.

      • On July 11, 2014 and July 30, 2014, Navient Solutions, Inc. produced
        documents responsive to Document Request 6 of the April 29, 2014 CID
        issued by CFPB to Sallie Mae, Inc., which sought “[a] copy of each
        quality assurance report provided to your call center management team.”
        CFPB CID to Sallie Mae, Inc., Apr. 29, 2014. These documents are
        located at the Bates Ranges detailed in Appendix 1(N) of these responses.


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      • On July 11, 2014, Navient Solutions, Inc. produced its response to
        Interrogatory 11 of the April 29, 2014 CID issued by CFPB to Sallie
        Mae, Inc., which sought a description of “any quality assurance reviews
        conducted with respect to . . . customer service representatives or call
        center employees.” CFPB CID to Sallie Mae, Inc., Apr. 29, 2014.

      Navient Solutions will identify the employees principally responsible for

conducting audits, compliance reviews, or quality assurance reviews of

communications with borrowers regarding forbearance or income-driven

repayment plans. Navient Solutions will use reasonable search terms to identify

and produce audits or compliance reviews conducted after July 1, 2011, and

quality assurance reviews conducted after April 30, 2014, so as to capture

materials, if any, created after the prior productions.

DOCUMENT REQUEST NO. 7: All documents reflecting any discussion,
evaluation, or analysis of the potential or actual suitability, unsuitability,
appropriateness, inappropriateness, advantages, disadvantages, benefits, or
costs of forbearance or any type of income-driven repayment plan for any
type, category, or group of borrowers (including borrowers with a particular
characteristic such as a temporary or long-term financial hardship), including
any quantification or assessment of the costs of forbearance or any type of
income-driven repayment plan for any type, category, or group of borrowers
(whether on an absolute or relative basis). Communications with individual
borrowers are not responsive to this Request.

Response:

      In addition to the general objections, Request No. 7 is overbroad and unduly

burdensome to the extent that it seeks (a) documents unrelated to the types of loans

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at issue, and (b) “[a]ll documents reflecting any discussion” of the costs to

borrowers of forbearance and income-driven repayment plans.

         Navient Solutions will identify the employees principally responsible for

evaluating the costs and benefits to borrowers of forbearance as compared to

income-driven repayment plans as well as the employees likely to receive such

analyses. Navient Solutions will use reasonable search terms to identify and

produce evaluations—to the extent they exist—undertaken after July 1, 2011.

DOCUMENT REQUEST NO. 8: All documents reflecting any discussion,
evaluation, analysis, quantification, or calculation of the time, expense, or
burden incurred by Navient Solutions or any affiliate of Navient Solutions in
enrolling borrowers in or communicating with borrowers about forbearance
or income-driven repayment plans, including any cost savings resulting from
enrolling borrowers in or communicating with borrowers about any
particular type of repayment option (such as forbearance).

Response:

         In addition to the general objections, Request No. 8 is overbroad and unduly

burdensome to the extent that it seeks (a) documents unrelated to the claims in this

action and/or the types of loans at issue, and (b) “[a]ll documents reflecting any

discussion” of the time, expense, or burden incurred by enrolling borrowers in or

communicating with borrowers about forbearance or income-driven repayment

plans.


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      To the extent this Request calls for internal analyses conducted at the

direction of counsel regarding the costs of any settlement demands by CFPB or

certain state Attorneys General, Navient Solutions objects on privilege grounds.

Navient Solutions will not undertake a search of the files of in-house counsel or

those directed by counsel, or produce a log, because it would be unduly

burdensome and not likely to lead to relevant non-duplicative, non-privileged

materials.

      Navient Solutions will produce year-end profit and loss reports from July 1,

2011 to the present for specific activities related to enrolling borrowers in

forbearance and income-driven repayment plans.

DOCUMENT REQUEST NO. 9: All documents reflecting complaints,
disputes, notices of error, or requests for escalation relating to any
communication of the type described in subpart (a) or subpart (b) of Request
for Documents No. 4.

Response:

      In addition to the general objections, Request No. 9 is overbroad and unduly

burdensome to the extent that it seeks (a) documents unrelated to the types of loans

at issue, and (b) “[a]ll documents reflecting complaints” that relate to “any”

communication. Navient Solutions further objects that this Request is duplicative




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of previous requests for information, and that CFPB is already in possession of

documents that appear to be responsive to this Request. Specifically:

         • On July 30, 2014, Navient Solutions, Inc. produced documents
           responsive to Document Request 4 of the April 29, 2014 CID issued
           by CFPB to Sallie Mae, Inc., which sought “[a] copy of all reports and
           presentations documenting complaints received by you about your
           servicing of student loans.” CFPB CID to Sallie Mae, Inc., Apr. 29,
           2014. These documents are located at the Bates Range detailed in
           Appendix 1(O) to these responses.

         • On July 30, 2014, Navient Solutions, Inc. produced documents
           responsive to Document Request 7 of the April 29, 2014 CID issued
           by CFPB to Sallie Mae, Inc., which sought “[a]ll documents
           referencing complaints about your customer service representatives or
           call center employees.” CFPB CID to Sallie Mae, Inc., Apr. 29, 2014.
           These documents are located at the Bates Ranges detailed in
           Appendix 1(P) to these responses.

      Navient Solutions states that it maintains a computer database in which

customer complaints are logged. Navient Solutions will generate a report from that

system that describes complaints related to forbearance and income-driven

repayment plans that were received after July 1, 2011.

DOCUMENT REQUEST NO. 10: An image of each page of any consumer-
facing website of Navient Solutions or Navient Corporation that contains any
information about repayment options such as forbearance and income-driven
repayment plans, including all versions of each such page during the time
period set forth in Instruction No. 6, and documents sufficient to show how




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each such page is connected (directly or indirectly) to each other page and to
the homepage of the Navient website.

Response:

      In addition to the general objections, Request No. 10 is overbroad and

unduly burdensome to the extent it seeks historical webpages that are located on

legacy systems and no longer in the possession, custody, or control of Navient

Solutions. Navient Solutions will produce current versions and historical

screenshots of each page of its consumer-facing public website and pages

accessible by borrower log-in that contain information about forbearance and

income-driven repayment plans. To the extent they are available, Navient

Solutions will produce webpage organizational charts that depict how webpages

are connected.

DOCUMENT REQUEST NO. 11: Documents sufficient to show all
compensation metrics or policies for any employee, agent, or subcontractor of
Navient Solutions responsible for communications with or enrollment of
borrowers in forbearance or income-driven repayment plans, including any
incentive compensation structure applicable to any such employees, agents, or
subcontractors.

Response:

      In addition to the general objections, Request No. 11 is overbroad and

unduly burdensome to the extent that it seeks documents unrelated to the types of

loans at issue. Navient Solutions further states that Request No. 11 is duplicative
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of previous requests for information, and that CFPB is already in possession of

documents that appear to be responsive to this Request. Specifically:

      • On April 8, 2014, SLM Corporation produced to the Attorney General of
        Illinois documents responsive to a request for “all . . . policies regarding
        compensation of employees, supervisors, and managers charged with
        servicing and/or Collecting (a) Government Education and (b) Private
        Education Loans.” CID by the Attorney General of Illinois to SLM
        Corporation, Dec. 4, 2013. On May 30, 2014 and August 15, 2014,
        Navient Solutions, Inc. produced these documents to CFPB. These
        documents are located at the Bates Ranges detailed in Appendix 1(Q) to
        these responses.

      • On August 8, 2014, SLM Corporation produced to the Attorney General
        of Illinois its response to a request for a description of “any and all
        remuneration or compensation . . . provide[d] to . . . employees in
        connection with servicing (a) Government Education Loan products and
        (b) Private Education Loan products.” CID by the Attorney General of
        Illinois to SLM Corporation, Dec. 4, 2013. On May 30, 2014 and August
        15, 2014, Navient Solutions, Inc. produced these documents to CFPB.
        These documents are located at Bates Ranges detailed in Appendix 1(R)
        to these responses.

      Navient Solutions will use reasonable search terms to identify and produce

compensation policies and metrics created after April 1, 2014 for Navient

Solutions employees, agents, and subcontractors responsible for communicating

with or enrolling borrowers in forbearance or income-driven repayment plans, so

as to capture materials, if any, created after the prior productions.

DOCUMENT REQUEST NO. 12: All documents discussing, describing, or
recording any infraction, error, non-compliance, or violation by any
employee, agent, or subcontractor of Navient Solutions relating to
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communications with borrowers about, or enrollment of borrowers in,
forbearance or any income-driven repayment plan, including any disciplinary
records.

Response:

       In addition to the general objections, Request No. 12 is overbroad and

unduly burdensome to the extent that it seeks documents unrelated to the types of

loans at issue, and because its use of the undefined terms “error” and “non-

compliance” fails to identify with reasonable particularity the type of documents

sought. Navient Solutions will construe the request to seek records of violations

contained in the official disciplinary files of employees, agents, and subcontractors.

Navient Solutions will undertake a reasonable search of documents in those files

and produce: (1) disciplinary records related to communications with borrowers

about, or enrollment of borrowers in, forbearance or any income-driven repayment

plan, and (2) the audit and compliance reports produced in response to Request No.

6.

DOCUMENT REQUEST NO. 13: For every version of every notice,
disclosure, or other written communication used by Navient Solutions relating
to a borrower’s need to renew or recertify enrollment in any income-driven
repayment plan: (a) one example of the notice, disclosure, or written
communication in the format as it was sent to a consumer (including any
attachments to the notice, disclosure, or written communication), (b) all drafts
of the notice, disclosure, or written communication, and (c) all
communications concerning the drafting of the notice, disclosure, or written
communication, and (d) all documents reflecting any testing or evaluation
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(such as through a focus group) of the notice, disclosure, or written
communication, including any drafts. For part (a) of this Request, a notice,
disclosure, or written communication that is identical to another notice,
disclosure, or written communication but for information that is specific to
the borrower shall not be considered a separate version of the document.

Response:

      In addition to the general objections, Request No. 13 is overbroad and

unduly burdensome to the extent that it seeks (a) documents unrelated to the claims

in this action, which concern only “pre-December 2012 notices” that included

specific language, see Compl. ¶ 64, and “electronic communications” sent between

mid-2010 and March 2015, see Compl. ¶¶ 66-68, (b) “all drafts of [each] notice,

disclosure, or written communication,” and (c) “all communications concerning the

drafting of [each] notice, disclosure, or written communication.” Navient

Solutions further objects that this Request is duplicative of previous requests for

information, and that CFPB is already in possession of documents that appear to be

responsive to this Request. Specifically:

      • On June 27, 2014 and July 30, 2014, Navient Solutions, Inc. produced
        documents responsive to Document Request 11 of the April 29, 2014
        CID issued by CFPB to Sallie Mae, Inc., which sought “Each unique
        version of form or template documents and advertisements used to
        communicate information to a student loan borrower or cosigner about
        repayment plans for Federal Student Loans and Private Student Loans.”
        CFPB CID to Sallie Mae, Inc., Apr. 29, 2014. These documents are
        located at the Bates Ranges detailed in Appendix 1(S) to these responses.

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      • On September 25, 2015, Navient Solutions, Inc. responded to the CFPB’s
        September 18, 2015 email asking Navient Solutions, Inc. to identify the
        subject lines of its income-driven repayment plan renewal emails sent to
        borrowers. In addition to its response, Navient Solutions, Inc. produced
        two examples of income-driven repayment plan renewal emails. These
        documents are located at the Bates Range detailed in Appendix 1(T) to
        these responses.

      Navient Solutions will produce one example of each notice referred to in

paragraph 64 of the Complaint, created between June 1, 2010 and December 1,

2012, and not previously produced. Navient Solutions also will produce one

example of each electronic communication referred to in paragraphs 66–68 of the

Complaint and created between June 1, 2014 and March 30, 2015, so as to capture

materials, if any, created after the prior productions. Navient Solutions will

produce analyses of notices and/or disclosures regarding renewal and/or

recertification that were conducted between June 1, 2010 and March 30, 2015.

DOCUMENT REQUEST NO. 14: All documents reflecting any discussion,
evaluation, or analysis of the adequacy, inadequacy, effectiveness,
ineffectiveness, appropriateness, or inappropriateness of any notice,
disclosure, or written communication produced in response to Request for
Documents No. 13.

Response:

      In addition to the general objections, Request No. 14 is overbroad and

unduly burdensome to the extent that it seeks (a) documents unrelated to the claims

in this action, which concern only “pre-December 2012 notices” that included
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specific language, see Compl. ¶ 64, and “electronic communications” sent between

mid-2010 and March 2015, see Compl. ¶¶ 66-68, and (b) “[a]ll documents

reflecting any discussion” of the adequacy of the notices and written

communications. Navient Solutions further objects to the extent that this Request

seeks documents already encompassed by the response to Request No. 13, and

directs CFPB to its response to that Request.

DOCUMENT REQUEST NO. 15: All documents relating to the number,
percentage, or rate of borrowers with federal loans serviced by Navient
Solutions who were (or were not) opening, clicking links within, or otherwise
responding to any email concerning renewal or recertification of a borrower’s
enrollment in any income-driven repayment plan, including any analysis,
discussion, explanation, or evaluation of this data.

Response:

      In addition to the general objections, Request No. 15 is vague, overbroad,

and unduly burdensome to the extent that it seeks (a) documents unrelated to the

claims in this action and/or the types of loans at issue, and (b) does not define with

reasonable particularity how borrowers could have “otherwise respond[ed]” to an

email concerning renewal or recertification. Navient Solutions will identify the

custodians principally responsible for analyzing the rates at which borrowers

opened and clicked links within emails concerning the renewal of income-driven

repayment plans during the relevant timeframe. Navient Solutions will conduct a

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reasonable search for and produce analyses of the number or percentage of

borrowers opening and/or clicking links within such emails that were conducted

between June 1, 2010 and March 30, 2015.

DOCUMENT REQUEST NO. 16: All documents reflecting the number,
percentage, or rate of borrowers with federal loans serviced by Navient
Solutions who timely renewed or recertified their enrollment in any income-
driven repayment plan or who did not timely renew or recertify their
enrollment in any income-driven repayment plan, including any analysis,
discussion, explanation, or evaluation of this data.

Response:

      In addition to the general objections, Request No. 16 is overbroad and

unduly burdensome to the extent that it seeks (a) documents unrelated to the claims

in this action and/or the types of loans at issue, and (b) “[a]ll documents reflecting”

the number or percentage of borrowers who did or did not timely renew their

enrollment in any income-driven repayment plan. Navient Solutions further

objects that this Request is duplicative of previous requests for information, and

that CFPB is already in possession of documents that appear to be responsive to

this Request. Specifically:

          • On August 7, 2015 and September 10, 2015, Navient Solutions, Inc.
            produced documents responsive to Written Report Request 11 of the
            July 7, 2015 CID issued by CFPB to Navient Solutions, Inc., which
            sought, “[f]or the time period between January 1, 2010 and March 31,
            2015, in an Excel spreadsheet . . . a. The total number of borrowers
            with at least one subsidized Federal Student Loan that is within the
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            first three years of enrollment in IBR or PAYE who meet all of the
            following criteria: i. Had a $0 monthly payment amount for the
            subsidized Federal Student Loan(s) enrolled in IBR or PAYE; ii.
            Failed to recertify income information under IBR or PAYE for at least
            one billing period, causing the payment amount for the enrolled
            loan(s) to change from $0 to the permanent standard payment for at
            least one billing period; iii. Either enrolled in voluntary forbearance or
            had their delinquency cured by retroactive application of
            administrative forbearance following the failure to recertify income
            information under IBR or PAYE; and iv. Subsequently recertified
            income information under IBR, and returned to a $0 monthly payment
            amount for the loan(s) enrolled in IBR or PAYE.” Navient Solutions,
            Inc., July 7, 2015. These documents are located at the Bates Ranges
            detailed in Appendix 1(U) to these responses.

         Navient Solutions will identify the custodians principally responsible for

analyzing or receiving data related to whether borrowers renew their enrollment in

income-driven repayment plans during the relevant timeframe. Navient Solutions

will conduct a reasonable search for and produce analyses of the number or

percentage of borrowers who renewed or failed to renew their enrollment in such

plans between June 1, 2010 and March 30, 2015, to the extent any exist.

DOCUMENT REQUEST NO. 17: All documents reflecting the number,
percentage, or rate of borrowers with federal loans serviced by Navient
Solutions enrolled in any income-driven repayment plan who submitted an
application to renew or recertify their enrollment in any income-driven
repayment plan that was initially deemed incomplete or inaccurate but was
subsequently made complete and accurate before the renewal deadline, who
submitted an application to renew or recertify their enrollment in any income-
driven repayment plan that was initially deemed incomplete or inaccurate but
was not subsequently made complete and accurate before the renewal
deadline, or who submitted an application to renew or recertify their
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enrollment in any income-driven repayment plan that was initially deemed
complete and accurate, including any analysis, discussion, explanation, or
evaluation of this data.

Response:

      In addition to the general objections, Request No. 17 is overbroad and

unduly burdensome to the extent that it seeks (a) documents unrelated to the claims

in this action and/or the types of loans at issue, and (b) “[a]ll documents reflecting”

the number or percentage of borrowers who “did or did not” submit renewal forms.

Navient Solutions further objects to the extent that this Request seeks documents

already encompassed by the response to Request No. 16, and directs CFPB to its

response to that Request.

DOCUMENT REQUEST NO. 18: All documents reflecting any discussion,
evaluation, or analysis of errors or problems in the processing, application, or
allocation of payments for student loans that were happening on a repeated,
recurring, or non-isolated basis or that had been the subject of complaints
from more than one consumer, including any discussion, evaluation, or
analysis of the adequacy, inadequacy, effectiveness, ineffectiveness,
appropriateness, or inappropriateness of any policies, procedures, practices of
Navient Solutions to prevent or reduce such errors or problems.

Response:

      In addition to the general objections, Request No. 18 is overbroad and

unduly burdensome to the extent that it seeks documents unrelated to the claims in

this action and/or the types of loans at issue. CFPB has failed to identify any

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specific payment processing errors underlying its claim that such errors were unfair

to borrowers. See Compl. ¶¶ 97-112. Navient Solutions receives complaints

regarding payment processing errors on a range of topics. CFPB’s request that

Navient Solutions search for and produce documents related to payment processing

errors without identifying the errors at issue is unreasonable. Navient Solutions

further objects that this Request is overbroad and unduly burdensome because it

seeks “[a]ll documents reflecting” discussion, evaluation, and analysis of

undefined payment processing errors. Finally, Navient Solutions objects that this

Request is duplicative of previous requests for information, and that CFPB is

already in possession of documents that appear to be responsive to this Request.

Specifically:

      • On October 25, 2013 and December 20, 2013, Sallie Mae, Inc. produced
        documents responsive to Document Request 6 of the September 5, 2013
        CID issued by CFPB to Sallie Mae, Inc., which sought “All customer
        complaints, whether received directly from the customer or through an
        intermediary, relating to your student loan payment processing,
        including, but not limited to, how overpayments, partial payments, and
        underpayments were applied to loans.” These documents are located at
        the Bates Ranges detailed in Appendix 1(V) to these responses.

      • On July 30, 2014, Navient Solutions, Inc. produced documents
        responsive to Document Request 4 of the April 29, 2014 CID issued by
        CFPB to Sallie Mae, Inc., which sought “[a] copy of all reports and
        presentations documenting complaints received by you about your
        servicing of student loans.” CFPB CID to Sallie Mae, Inc., Apr. 29,

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          2014. These documents are located at the Bates Range detailed in
          Appendix 1(W) of these responses.

DOCUMENT REQUEST NO. 19: All documents containing, discussing, or
reflecting any requirements, instructions, policies, procedures, guidance, or
training provided to employees, agents, or subcontractors of Navient Solutions
relating to any requirement that a borrower demonstrate a certain payment
history (such as making a certain number of consecutive, on-time payments)
to become eligible for cosigner release for student loans.

Response:

      In addition to the general objections, Request No. 19 is unduly burdensome

to the extent that it seeks (a) documents unrelated to the claims in this action and/or

the types of loans at issue; and (b) “[a]ll documents,” even those “discussing”

requirements, instructions, policies, procedures, guidance, or training relating to

communications regarding the payment history a borrower must demonstrate to be

eligible for cosigner release. Navient Solutions further objects that this Request is

duplicative of previous requests for information, and that CFPB is already in

possession of documents that appear to be responsive to this Request. Specifically:

      • On June 13, 2014, Navient Solutions, Inc. produced documents
        responsive to Document Request 1 of the April 29, 2014 CID issued by
        CFPB to Sallie Mae, Inc., which sought “All policies and procedures
        relating to . . . a. Communications to borrowers regarding repayment
        plans for Federal Student Loans and Private Student Loans; b. Cosigner
        release; c. Consequences resulting from the death or bankruptcy of a
        cosigner; d. Quality assurance with respect to call center employees and
        customer service employees; and e. Collections for delinquent or
        defaulted student loans.” CFPB CID to Sallie Mae, Inc., Apr. 29, 2014.
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          These documents are located at the Bates Range detailed in Appendix
          1(X) to these responses.

      • On July 11, 2014 and July 30, 2014, Navient Solutions, Inc. produced
        documents responsive to Document Request 3 of the April 29, 2014 CID
        issued by CFPB to Sallie Mae, Inc., which sought “[a]ll unique versions
        of any training materials provided to your call center employees and
        customer service representatives.” CFPB CID to Sallie Mae, Inc., Apr.
        29, 2014. These documents are located at the Bates Range detailed in
        Appendix 1(Y) to these responses.


      Navient Solutions will identify the custodians principally responsible for

drafting or creating policies and procedures, call scripts, and training materials

related to the payment history a borrower must demonstrate to be eligible for

cosigner release. Navient Solutions will undertake a reasonable search for and

produce any such policies and procedures, call scripts, and training materials

created between June 1, 2014 and July 1, 2015 so as to capture materials, if any,

created after the prior productions.

DOCUMENT REQUEST NO. 20: All documents reflecting complaints,
disputes, notices of error, or requests for escalation relating to any
requirement that a borrower demonstrate a certain payment history (such as
making a certain number of consecutive, on-time payments) to become eligible
for cosigner release for student loans.

Response:

      In addition to the general objections, Request No. 20 is overbroad and

unduly burdensome to the extent that it seeks (a) documents unrelated to the claims
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in this action and/or the types of loans at issue, and (b) “[a]ll documents reflecting”

borrower complaints and disputes relating to any requirement that a borrower

demonstrate a certain payment history to become eligible for cosigner release.

Navient Solutions further objects that this Request is duplicative of previous

requests for information, and that CFPB is already in possession of documents that

appear to be responsive to this Request. Specifically:

      • On July 30, 2014, Navient Solutions, Inc. produced documents
        responsive to Document Request 7 of the April 29, 2014 CID issued by
        CFPB to Sallie Mae, Inc., which sought “[a]ll documents referencing
        complaints about your customer service representatives or call center
        employees.” CFPB CID to Sallie Mae, Inc., Apr. 29, 2014. These
        documents are located at the Bates Ranges detailed in Appendix 1(Z) to
        these responses.

      • On July 30, 2014, Navient Solutions, Inc. produced documents
        responsive to Document Request 4 of the April 29, 2014 CID issued by
        CFPB to Sallie Mae, Inc., which sought “[a] copy of all reports and
        presentations documenting complaints received by you about your
        servicing of student loans.” CFPB CID to Sallie Mae, Inc., Apr. 29,
        2014. These documents are located at the Bates Range detailed in
        Appendix 1(AA) of these responses.

      • On July 11, 2014 and July 30, 2014, Navient Solutions, Inc. produced
        documents responsive to Document Request 6 of the April 29, 2014 CID
        issued by CFPB to Sallie Mae, Inc., which sought “[a] copy of each
        quality assurance report provided to your call center management team.”
        CFPB CID to Sallie Mae, Inc., Apr. 29, 2014. These documents are
        located at the Bates Ranges detailed in Appendix 1(BB) of these
        responses.


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      • On July 30, 2014, Navient Solutions, Inc. produced documents
        responsive to Document Request 8 of the April 29, 2014 CID issued by
        CFPB to Sallie Mae, Inc., which sought “[c]opies of all customer
        complaints, including, but not limited to, complaints received directly
        from a customer, indirectly through a governmental or other regulatory
        authority or the Better Business Bureau, or addressed to a Company
        executive, related to . . . [a] request to release the cosigner from
        obligations under the student loan borrower’s loan.” CFPB CID to Sallie
        Mae, Inc., Apr. 29, 2014. These documents are located at the Bates
        Range detailed in Appendix 1(CC) of these responses.

      Navient Solutions states that it maintains a computer database in which

customer complaints are logged. Navient Solutions will generate a report from that

system that describes complaints related to eligibility for cosigner release that were

received between July 1, 2014 and July 1, 2015, so as to capture customer

complaints received after the prior productions.

DOCUMENT REQUEST NO. 21: All documents containing any discussion
or analysis of the meaning or interpretation of any requirement that a
borrower make a certain number of consecutive, on-time payments to become
eligible for cosigner release for student loans.

Response:

      In addition to the general objections, Request No. 21 is unduly burdensome

to the extent that it seeks (a) documents unrelated to the claims in this action and/or

the types of loans at issue, and (b) “all” documents, even those “containing any

discussion” of the number of consecutive, on-time payments a borrower must

make to become eligible for cosigner release. Navient Solutions further objects to
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the extent that this Request seeks documents already encompassed by the response

to Request No. 19, and directs CFPB to its response to that Request.

DOCUMENT REQUEST NO. 22: All documents describing or referring to
two or more on-time principal and interest payments that were not made in
consecutive months as constituting “consecutive” payments (regardless of
whether the document specifically relates to any cosigner release
requirement).

Response:

      In addition to the general objections, Request No. 22 is overbroad and

unduly burdensome to the extent that it seeks (a) documents unrelated to the claims

in this action and/or the types of loans at issue, and (b) “[a]ll documents describing

or referring to” two or more on-time principal and interest payments that were not

made in consecutive months as constituting “consecutive payments,” regardless of

whether such documents reflect any actual policy maintained by Navient Solutions.

      Navient Solutions will identify the custodians principally responsible for

drafting or creating requirements, instructions, policies, procedures, guidance, or

training materials relating to borrower benefits during the relevant timeframe.

Navient Solutions will conduct a reasonable search for and produce any such

instructions, policies, procedures, guidance, or training materials created between

January 1, 2010 and July 1, 2015, to the extent they define as “consecutive” two or


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more on-time principal and interest payments, even if the payments are not made

in consecutive months.

DOCUMENT REQUEST NO. 23: All documents containing, discussing, or
reflecting any requirements, instructions, policies, procedures, guidance, or
training provided to employees, agents, or subcontractors of Navient Solutions
relating to credit reporting (i.e., the furnishing of information to credit
reporting agencies) for borrowers whose federal student loans are discharged
due to disability.

Response:

      In addition to the general objections, Request No. 23 is overbroad and

unduly burdensome to the extent that it seeks (a) documents unrelated to the claims

in this action and/or the types of loans at issue, including documents unrelated to

use of the AL (“Assigned to Government”) code for borrowers whose federal

student loans are discharged due to disability, and (b) “[a]ll documents,” even

those “discussing” requirements, instructions, policies, procedures, guidance, or

training materials.

      Navient Solutions states that on or about May 17, 2013, Navient Solutions

discovered an issue regarding its use of the AL code to report a loan that had been

discharged due to the borrower’s total and permanent disability. Navient Solutions

will identify the custodians principally involved in discussions regarding Navient




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Solutions’ use of the AL Code after May 17, 2013 and will produce related

documents.

DOCUMENT REQUEST NO. 24: All documents relating to the use of the
“AL—Assigned to Government” code (or any variation thereof, including
“AL” or “Assigned to Government”) in furnishing information to credit
reporting agencies, including (a) all documents containing, discussing, or
reflecting any requirements, instructions, policies, procedures, guidance, or
training relating to the use of the code in furnishing information to credit
reporting agencies, (b) all documents reflecting any awareness, discussion, or
analysis of the circumstances in which it is appropriate or inappropriate to
use the code in furnishing information to credit reporting agencies, and (c) all
documents reflecting any discussion, analysis, or quantification of the impact
on borrowers of the use of the code in furnishing information to credit
reporting agencies.

Response:

      In addition to the general objections, Request No. 24 is overbroad and

unduly burdensome to the extent that it seeks documents unrelated to the claims in

this action and/or the types of loans at issue. Navient Solutions further objects to

the extent that this Request seeks documents already encompassed by the response

to Request No. 23, and directs CFPB to its response to that Request.

DOCUMENT REQUEST NO. 25: All documents reflecting complaints,
disputes, notices of error, or requests for escalation relating to credit
reporting for borrowers whose federal loans are discharged due to disability,
including any record of how such complaints or disputes were resolved and




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any communications with any credit reporting agency about any such
complaints or disputes.

Response:

      In addition to the general objections, Request No. 25 is overbroad and

unduly burdensome to the extent that it seeks (a) documents unrelated to the claims

in this action and/or the types of loans at issue, and (b) “[a]ll documents reflecting”

borrower complaints, disputes, error notices, or escalation requests relating to

credit reporting for borrowers whose federal loans are discharged due to disability,

including documents not related to use of the AL code.

      Navient Solutions states that it maintains a computer database in which

customer complaints are logged. Navient Solutions will generate a report from that

system that describes substantiated complaints related to use of the AL code.

DOCUMENT REQUEST NO. 26: All documents on which you rely to
support any defense that you are asserting or will assert in this lawsuit.

Response:

      Navient Solutions objects to Request No. 26 as premature because it has not

yet answered the Complaint or pled affirmative defenses. Navient Solutions will

produce documents on which it intends to rely for summary judgment or trial.




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Dated: August 21, 2017      Respectfully submitted,

                            /s/ Matthew T. Martens
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                            Jonathan E. Paikin (DC 466445) (pro hac vice)
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                            Counsel for Navient Corporation, Navient
                            Solutions, LLC, and Navient Solutions Credit
                            Recovery, Inc.




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                          CERTIFICATE OF SERVICE

      I hereby certify that on August 21, 2017, I served the foregoing Objections

and Responses to Plaintiff’s First Set of Requests for Production to CFPB by email

to the following counsel for Plaintiff:

      Nicholas Jabbour: Nicholas.Jabbour@cfpb.gov
      Ebony Sunala Johnson: Ebony.Johnson@cfpb.gov
      Lawrence DeMille-Wagman: Lawrence.Wagman@cfpb.gov
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Mr. Jabbour, on behalf of Plaintiff, previously consented to electronic service.




                                  /s/ Karin Dryhurst
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                                 Solutions, LLC, and Navient Solutions Credit
                                 Recovery, Inc.




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                            Appendix 1

                                 (A)

                Bates Begin      Bates End
             SLMA-005-0000001 SLMA-005-0000100

                                 (B)

                 Bates Begin              Bates End
               NSI-005-0000754         NSI-005-0009511
               NSI-010-0013393         NSI-010-0013437
               NSI-011-0000001         NSI-011-0004193

                                 (C)

                 Bates Begin              Bates End
               NSI-001-0004407         NSI-001-0018519
               NSI-016-0018154         NSI-016-0064412

                                 (D)

                 Bates Begin              Bates End
               NSI-001-0018849         NSI-001-0018849
               NSI-016-0055313         NSI-016-0055314
               NSI-016-0063674         NSI-016-0063675

                                 (E)

                 Bates Begin              Bates End
               NSI-002-0000001         NSI-002-0179951

                                 (F)

                 Bates Begin              Bates End
               NSI-007-0000001         NSI-007-0062297
               NSI-008-0000001         NSI-008-0005969
               NSI-010-0000001         NSI-010-0007870




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               NSI-014-0000001         NSI-014-0001630


                                 (G)

                 Bates Begin              Bates End
               NSI-001-0014644         NSI-001-0014648
               NSI-001-0015569         NSI-001-0015576
               NSI-001-0015577         NSI-001-0015584
               NSI-001-0015942         NSI-001-0015943

                                 (H)

                 Bates Begin              Bates End
               NSI-001-0004558         NSI-001-0004560
               NSI-001-0006490         NSI-001-0006491
               NSI-001-0006497         NSI-001-0006499
               NSI-001-0006617         NSI-001-0006622
               NSI-001-0006664         NSI-001-0006668
               NSI-001-0013592         NSI-001-0013593
               NSI-001-0013596         NSI-001-0013599
               NSI-001-0013600         NSI-001-0013604
               NSI-001-0014542         NSI-001-0014546
               NSI-001-0015530         NSI-001-0015536
               NSI-001-0017164         NSI-001-0018023

                                 (I)

                 Bates Begin              Bates End
               NSI-001-0011222         NSI-001-0011225
               NSI-001-0014817         NSI-001-0014818
               NSI-001-0015926         NSI-001-0015929
               NSI-001-0015942         NSI-001-0015943
               NSI-001-0017164         NSI-001-0018023

                                 (J)

                 Bates Begin              Bates End




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               NSI-001-0004407         NSI-001-0018519
               NSI-016-0018154         NSI-016-0064412

                                 (K)

                 Bates Begin              Bates End
               NSI-016-0000426         NSI-016-0000427
               NSI-016-0005083         NSI-016-0005122
               NSI-016-0005126         NSI-016-0005126
               NSI-016-0005129         NSI-016-0005129
               NSI-016-0008336         NSI-016-0008336
               NSI-016-0008399         NSI-016-0011122
               NSI-016-0011124         NSI-016-0011125
               NSI-016-0011129         NSI-016-0011218
               NSI-016-0011220         NSI-016-0011394
               NSI-016-0011400         NSI-016-0012399
               NSI-016-0012505         NSI-016-0012775
               NSI-016-0012779         NSI-016-0012842
               NSI-016-0012847         NSI-016-0013040
               NSI-016-0013043         NSI-016-0013046
               NSI-016-0013056         NSI-016-0013080
               NSI-016-0013086         NSI-016-0014783
               NSI-016-0014791         NSI-016-0015054
               NSI-016-0015057         NSI-016-0015185
               NSI-016-0015193         NSI-016-0016698
               NSI-016-0016700         NSI-016-0016958
               NSI-016-0016960         NSI-016-0017033
               NSI-016-0017055         NSI-016-0017400
               NSI-016-0017403         NSI-016-0017500
               NSI-016-0017504         NSI-016-0017518
               NSI-016-0017576         NSI-016-0017667
               NSI-016-0017669         NSI-016-0017685
               NSI-016-0017689         NSI-016-0017718
               NSI-016-0017732         NSI-016-0017737
               NSI-016-0017739         NSI-016-0017742
               NSI-016-0017744         NSI-016-0017746
               NSI-016-0017820         NSI-016-0017832




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               NSI-016-0017899         NSI-016-0017920
               NSI-016-0017942         NSI-016-0018158
               NSI-016-0018163         NSI-016-0018599
               NSI-016-0018634         NSI-016-0055312
               NSI-016-0062919         NSI-016-0062954
               NSI-016-0063107         NSI-016-0063139

                                 (L)

                 Bates Begin              Bates End
               NSI-002-0000001         NSI-002-0179951

                                 (M)

                 Bates Begin              Bates End
               NSI-007-0062298         NSI-007-0062321
               NSI-010-0010016         NSI-010-0013012

                                 (N)

                 Bates Begin              Bates End
               NSI-007-0062322         NSI-007-0071458
               NSI-010-0010016         NSI-010-0013012
               NSI-014-0002728         NSI-014-0003399

                                 (O)

                 Bates Begin              Bates End
               NSI-014-0001631         NSI-014-0003399

                                 (P)

                 Bates Begin              Bates End
               NSI-012-0000001         NSI-012-0007982
               NSI-013-0000001         NSI-013-0038459

                                 (Q)




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                 Bates Begin              Bates End
               NSI-001-0000786         NSI-001-0002205
               NSI-001-0002267         NSI-001-0004082
               NSI-001-0005166         NSI-001-0005190
               NSI-001-0005388         NSI-001-0005390
               NSI-001-0006395         NSI-001-0006414
               NSI-001-0006711         NSI-001-0006713
               NSI-001-0012213         NSI-001-0012241
               NSI-001-0012244         NSI-001-0012288
               NSI-001-0012297         NSI-001-0012310
               NSI-001-0012626         NSI-001-0012631
               NSI-001-0013346         NSI-001-0013370
               NSI-001-0013554         NSI-001-0013591
               NSI-001-0013600         NSI-001-0013616
               NSI-001-0013837         NSI-001-0013855
               NSI-001-0014324         NSI-001-0014349
               NSI-001-0014537         NSI-001-0014551
               NSI-001-0014562         NSI-001-0014594
               NSI-016-0016699         NSI-016-0016699
               NSI-016-0017034         NSI-016-0017043
               NSI-016-0063195         NSI-016-0063224
               NSI-016-0063907         NSI-016-0063916

                                 (R)

                 Bates Begin              Bates End
               NSI-001-0000786         NSI-001-0000794
               NSI-001-0000943         NSI-001-0000954
               NSI-001-0000990         NSI-001-0001003
               NSI-001-0001866         NSI-001-0001877
               NSI-001-0001878         NSI-001-0001879
               NSI-001-0003014         NSI-001-0003030
               NSI-001-0004021         NSI-001-0004032

                                 (S)

                 Bates Begin              Bates End




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               NSI-005-0000754         NSI-005-0009511
               NSI-010-0013393         NSI-010-0013437
               NSI-011-0000001          NSI-0004193

                                 (T)

                 Bates Begin              Bates End
               NSI-030-0000001         NSI-030-0000003

                                 (U)

                 Bates Begin              Bates End
               NSI-029-0000001         NSI-029-0000002
               NSI-026-0000001         NSI-026-0000002

                                 (V)

                Bates Begin      Bates End
             SLMA-005-0000101 SLMA-005-0000101
             SLMA-012-0000001 SLMA-012-0000822

                                 (W)

                 Bates Begin              Bates End
               NSI-014-0001631         NSI-014-0003399

                                 (X)

                 Bates Begin              Bates End
               NSI-002-0000001         NSI-002-0179951

                                 (Y)

                 Bates Begin              Bates End
               NSI-010-0002973         NSI-010-0007870

                                 (Z)




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                 Bates Begin               Bates End
               NSI-012-0000001          NSI-012-0007982
               NSI-013-0000001          NSI-013-0038459

                               (AA)

                 Bates Begin               Bates End
               NSI-014-0001631          NSI-014-0003399

                                 (BB)

                 Bates Begin               Bates End
               NSI-007-0062322          NSI-007-0071458
               NSI-010-0010016          NSI-010-0013012
               NSI-014-0002728          NSI-014-0003399

                               (CC)

                 Bates Begin               Bates End
               NSI-013-0000001          NSI-013-0003845




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                   Exhibit 7




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1700 G Street NW,
Washington, DC 20552


May 16, 2018

Via E-mail to Defendants’ Counsel

       Re:     Consumer Financial Protection Bureau v. Navient
               Corp., et al., Case No. 3:17-CV-00101

Counsel:

         In advance of our call tomorrow, we write in response to your May 11, 2018 email as it
relates to the Court’s May 4 Order.

        First, thank you for providing search reports in connection with four of the five
categories of documents at issue. 1 Setting aside the issue of Email Xtender, we understand that
your updated search reports reflect the hits that result from (1) changing the applicable time
period for discovery to comply with the Court’s May 4 Order and (2) reducing proximity limiters
as proposed by the Bureau. Because the applicable time period has changed, the parties cannot,
without more information, conduct an apples-to-apples comparison of the volume of potentially
responsive documents using Defendants’ original, larger proximity limiters and the narrower
proximity limiters the Bureau has proposed. Accordingly, we request that you provide search
term reports for the same categories and time period reflected in the reports you provided on
May 11, but using your original, larger proximity limiters. This would eliminate the changing
time period as a variable, leaving only the Bureau’s proposed reduction in proximity limiters to
account for any change in the universe of documents. We remain hopeful that by working further
with the already developed search terms and proximity limiters, we will be able to eliminate
additional emails unlikely to contain relevant information.

        Second, we are concerned that the 1.1. million total that you have cited may double-count
documents that are returned as “hits” for multiple categories (i.e., certain documents are counted
as hits on multiple reports, even though they only need to be reviewed once). We would like to
understand what steps, if any, you have taken to avoid such double-counting, as well as to
remove documents that have already been reviewed in connection with prior productions. To the
extent that no such filtering has occurred, we request that a report be run to show the volume of
unique documents that would need to be reviewed under the parties’ respective proposals.

        I want to reiterate the Bureau’s willingness to engage with you in a productive
conversation about whether the Bureau’s proposal effectively eliminates emails that are unlikely
to be relevant to this case, as the Court directed. The above-requested information is critical to
this endeavor. If the Bureau’s initial proposal proves ineffective, we are willing to revise it or
consider other options.

      Third, as to documents pre-dating 2012 that are electronically stored on Defendants’
Email Xtender system, we respectfully disagree with your statement “that this issue was
1
  We note the absence of both custodians and a search term report for category 3. We understand
this to mean that you did not previously run independent email searches for this category of
emails. Accordingly, we will craft search terms and identify categories of custodians.




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resolved.” And we also do not understand your statement that Defendants “understood from our
conversations that we had reached agreement,” as the parties did not confer orally on this issue
after Defendants never provided the Bureau with information about the burden associated with
porting electronically stored information from one database to another, as we requested on
January 18, 2018. In our February 22 letter to the Court (Doc. 74) and appendix (Doc. 74-1), we
also made clear that we were seeking email from 2009 forward. Certain pre-2012 email is housed
exclusively on Email Xtender. As we noted last Wednesday, it was not the Bureau’s burden to
identify the specific databases on which the information was electronically stored, much less
provide information about the burden associated with data retrieval from those databases.
Though you noted in a January 26 letter that if the Bureau identifies particular “custodians or
issues of interest for pre-2012 emails, [Defendants] will consider further efforts” to search the
data,” we cannot evaluate the reasonableness of the substantially more limited searches you
appear to be proposing without the specific details regarding the burden that you have yet to
provide. As we also mentioned last Wednesday, we reiterate our January 18 request for
information regarding why you believe documents on the Email Xtender system are not readily
accessible.

        In the interest of trying to move forward while we await this information from you, we
would like to discuss your request for an identification of “custodians or issues of interest.” First,
we do not understand how we can identify the relevant custodians, as that information is within
Defendants’ control. Second, we do not understand your request for an identification of “issues
of interest.” The “issues of interest” are identified in the document requests we served. If you can
provide us with an understanding of why the burden of accessing information on the Email
Xtender system would depend on identification of “issues of interest,” perhaps we can find a way
to alleviate the burden.

        Relatedly, we note that the Washington and Pennsylvania Attorneys General have alleged
loan origination violations dating back well before 2009, and thus we would like to understand
whether data from Email Xtender is already being restored to provide documents responsive to
requests from those Attorneys General.

         Fourth, in addition to our initial proposal, we are interested in your feedback on a second
proposal that could result in a global compromise. Because this proposal would result in a
massive reduction of the documents to be reviewed, it is contingent on Defendants agreeing to all
three of the components described below. First, the Bureau would agree that Defendants need not
review for responsiveness the 685,737 documents that your search reports indicate do not have
hits (i.e., family members without hits). This would remove approximately 62 percent of the 1.1
million documents that you indicated must be reviewed as a result of the Bureau’s initial
proposal. Should documents from that group be family members of documents that your
reviewers determine are responsive, they would only need to be reviewed for privilege. Second,
Defendants would agree to search emails on Email Xtender, and the Bureau would agree that
Defendants could apply the search protocol outlined above to the emails housed on Email
Xtender. Because Defendants have not provided information on the volume of email on Email
Xtender associated with the applicable custodians, we do not know how many documents this
proposal will exclude from the review, but we suspect that the 62 percent reduction outlined
above is a fair estimate. Third, the parties would need to agree on custodians and searches to be
applied to category 3. As noted above, the Bureau will craft searches and identify categories of

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custodians. The parties would further agree that the same protocol outlined above for reviewing
documents will apply here too. Given that Defendants have argued that there is much overlap
between the first, second, and third categories of documents, we are hopeful that our searches
will not result in a significant increase in the volume of unique documents to be reviewed.

        Fifth, the Bureau is willing to agree that only “inclusive emails” (as defined by
Relativity) need to be reviewed. This should also reduce the volume of documents that you have
to review by obviating the need to review earlier communications in an email chain that are
completely subsumed within a later version of the chain. We are happy to discuss this further to
ensure that the parties have a consistent definition of “inclusive emails.”

       We look forward to receiving the information requested above and continuing to meet
and confer to reach an agreement on these and other issues.

                                                    Regards,

                                                    /s/ Nicholas Lee




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